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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                           JASPER DIVISION

JAMIE MILLS,                             )
                                         )
      Petitioner,                        )
                                         )
vs.                                      )         6:17-cv-00789-LSC
                                         )
                                         )
JEFFERSON S. DUNN,                       )
Commissioner, Alabama                    )
Department of Corrections,               )
                                         )
      Respondent.                        )

                         MEMORANDUM OF OPINION

      This is a petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2254

filed by Petitioner Jamie Mills (“Mills”), a death row inmate at Holman

Correctional Facility in Atmore, Alabama. Mills challenges the validity of his 2007

conviction on three counts of capital murder and sentence of death in the Circuit

Court of Marion County, Alabama. Upon thorough consideration of the entire

record and the briefs submitted by the parties, the Court finds that Mills’ petition

for habeas relief is due to be denied.

I.    FACTS OF THE CRIME




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      The Alabama Court of Criminal Appeals (“ACCA”) quoted the trial court’s

lengthy description of the details of the killings and the surrounding circumstances

as follows:

      During the late afternoon of June 24, 2004, the defendant, 30 year old
      Jamie Ray Mills, and his common-law wife, JoAnn Mills, went to the
      home of Floyd and Vera Hill on County Road 54 in Guin, Marion
      County, Alabama, for the purpose of robbing them. . . . Mrs. Hill, 72
      years old, was diabetic and in poor health and was cared for by her
      husband of 55 years, Floyd Hill, a spry gentleman 15 years her senior.
      At 87 years old, Mr. Hill cared for the needs of his ailing wife, to
      include administering her prescription drugs which he kept in a locked
      tackle box on the kitchen table. To ensure that her prescription drugs
      were administered properly and timely, he set his alarm clock to alarm
      every four hours. Although the Hills lived alone, their adult
      grandchildren who resided in the area frequently checked on their
      grandparents. Although both Hills were retired, they frequently held
      yard sales, no doubt more so to keep themselves occupied and working
      than to augment their Social Security income. Mr. Hill was known by
      the employees of the local Amoco service station (where defendant
      Mills was last employed prior to the murders) to carry large sums of
      cash in his pocket, always paying for his gas in cash.

      Though Mills denied knowing either of the Hills, there was evidence
      from which the jury could have concluded that Mills, out of work at
      the time, certainly did know the Hills and preconceived a plot to rid
      them of their cash . . . and, then brutally executed them with a
      machete, tire tool and ball-peen hammer. A detailed factual account of
      this horrendous, gutless and cowardly act follows.

      Shortly after dark on June 24, 2004, following repeated failed attempts
      by Angela Jones to check on her grandparents by phone, Jones went to
      the residence of her grandparents, Floyd and Vera Hill. It appeared as
      if the Hills were home; however, the door was locked and knocks on
      the door resulted in no response. Angela summoned the Guin Police
      Department for a welfare check. Officer Larry Webb arrived at the

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residence in approximately three or four minutes. Upon Webb’s
arrival, he was informed by Angela Jones that her family had spoken to
the Hills shortly after 2:00 p.m., at which time they were fine. Officer
Webb and Mrs. Jones then knocked on the doors and windows with no
response from the Hills. Webb called the Hills’ home from his cell
phone. It was detected that the phone was ringing on his cell phone,
but there was no noticeable ring coming from inside the Hills’ home.
Officer Webb then shined his flashlight into the house from the front
porch, and Angela noticed that Vera Hill’s bed was empty and made,
and her walker was in the living room. Mr. Hill’s alarm was sounding
for Mrs. Hill’s medication, but no one stirred in the home. Mrs. Jones
became fearful that something was terribly wrong. Webb then moved
to the pre-fabricated building on the property (enclosed with x-type
lattice and polyethylene type plastic) where the Hills had yard sale
items stored. Because the door was padlocked, Webb pulled a small
bench to the door and climbed up on the bench to look over the door.

Officer Webb saw Floyd Hill lying on his back at the rear of the
building in a pool of blood with a bloody towel thrown over his face.
Mr. Hill’s walking cane was across his lower legs. Webb then saw Vera
Hill lying on her right side just inside the door. She was in a pool of
blood and her head and face were bloody. Vera Hill moved her left
arm.

At approximately 8:42 p.m., Webb notified 911 to send an ambulance,
and then called for additional backup (Guin Police Chief Bryan
McCraw and District Attorney Jack Bostick). Webb cut the plastic
wall and tore away the lattice to gain entrance into the building where
he checked Vera Hill’s condition. She was still breathing. Webb
moved to Floyd Hill and found him to be cold to the touch with no
pulse. Webb then noticed several long bloody gashes on Mrs. Hill’s
head. When asked what happened, Vera Hill repeatedly stated, ‘Let
me out of here.’ Once medical assistance had arrived, Vera Hill was
transported by ambulance to the Winfield hospital. Floyd Hill was
pronounced dead at the scene.

The scene was secured and a joint investigation was initiated by the
Guin Police Department, the Marion County District Attorney’s

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Office, and the Alabama Department of Forensic Science. The crime
scene was processed, photos were taken, blood samples were
collected, and Vera Hill’s clothing and fingernail clippings were
obtained.

During the processing of the victims’ home and belongings, it was
discovered that Floyd Hill’s wallet, Vera Hill’s purse, and a green
padlocked tackle box containing Vera Hill’s medication had been
taken from the residence along with a police scanner, and the Hills’
phone, which had been cut from the phone line.

. . . Upon completion of the autopsy of Floyd Hill, the cause of death
was determined to be blunt and sharp force injury to the head and
neck.

Vera Hill later died on September 12, 2004 at the home of her
daughter, Brenda Barger, while under the care of Hospice, two and a
half months after having been transferred from the Winfield hospital
to UAB Hospital in Birmingham, Alabama, where she was treated
for brain injuries, a depressed skull fracture on the back of the head,
fractures around her left eye, fractures to the nasal cavity,
broken/fractured neck, and crushed hands . . . . Upon completion of
the autopsy of Vera Hill, the cause of death in her case was
determined to be complications of blunt head trauma.

At approximately 11:15 p.m. on June 24, 2004, Marion County District
Attorney Investigators Tommy Moore and Ken Mays interviewed the
Hills’ next door neighbor, Jennifer Yaden, at which time they were
informed that Yaden had noticed a white late model four-door sedan
going by her house several times earlier that day. She also observed
this same vehicle parked in the Hills’ drive. At approximately 12:05
a.m. on June 25, 2004, Investigators Moore and Mays returned to the
crime scene and discussed with Guin Police Chief Bryan McCraw and
Officer Larry Webb the information they had obtained from Yaden.
Both McCraw and Webb advised the investigators of a local man
named Jamie Mills who drove a white car matching that described by
Yaden. At this point, a patrol unit was sent to the residence of Jamie
and wife, JoAnn Mills, but it appeared as if no one was home.

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Investigator Moore asked Chief McCraw to send a car to the Mills’
residence on a regular basis to see if the Mills were home for
questioning.

At 9:45 a.m. on June 25, 2004, Guin Police Department Officers G.B.
Blaylock and Stanley Webb arrived at the Mills’ residence to find
Jamie and JoAnn Mills attempting to leave their residence in a small
white 1990 two-door Nissan Infiniti M30. The officers pulled
crossways of the drive, blocking the Mills’ attempted exit. Officer
Blaylock then asked Jamie Mills to back the car up in the drive so that
Blaylock could talk to him. After doing so, Jamie Mills was then
transported to the Guin City Hall for questioning about his
whereabouts on June 24, 2004. At this time, Jamie Mills denied any
knowledge of the Hills and stated that he and JoAnn were in Brilliant
on June 24, 2004 looking at houses prior to going to his father’s
home . . . where he and JoAnn spent the night.

Marion County District Attorney Investigator Ted Smith and District
Attorney Jack Bostick arrived at the Mills’ residence to question
JoAnn Mills, who was on probation at the time, regarding her
whereabouts at the time the Hills’ attack occurred. While being
questioned by Investigator Ted Smith, JoAnn Mills gave consent for
the search of the Mills’ home, white two-door sedan, and the trunk of
the vehicle. In plain view in the car trunk was a green tackle box with a
cut padlock matching the description of the tackle box in which Vera
Hill’s medication was kept. Also in plain view was a large blue duffel
bag that appeared to be splattered with blood. At this time, JoAnn
Mills was read her Miranda rights, but she waived her rights and gave
a statement. Guin Police Chief Brian McCraw and Officer Webb were
then called to the residence and a search warrant was obtained. The
search was conducted by officers from the Marion County Drug Task
Force, the A.B.I. and the Guin Police Department. During this time,
Jamie Mills was transported back to his residence where he was later
placed under arrest for capital murder and transported to the Marion
County Jail.

The search of the items contained in the vehicle’s trunk revealed that
the green tackle box contained numerous pill bottles with

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prescriptions belonging to Vera Hill. The duffel bag contained an
assortment of items including one large concrete block, one pair of size
12 tennis shoes with blood stains on them, one blood-stained pair of
work pants with Jamie Mills’ name on the inside tab, one black t-shirt
with blood stains, one pair of size 5 ½ tennis shoes with blood stains,
one telephone with cut cord attached, one man’s wallet containing the
driver’s license of James Floyd Hill, one ladies’ purse with papers
identifying it as Vera Hill’s, one machete with blood and hair on it,
one ball-peen hammer with blood on it wrapped in paper, and one lug
nut tire tool. The items from inside the trunk were itemized and
photographed before the car, toolbox, duffel bag and contents were
handed over to forensic science for examination.

DNA analysis was later performed on the machete, hammer, tire tool,
black t-shirt and black pants. Test results revealed that the primary
source of blood found on the machete matched that of Floyd Hill and
the secondary source matched that of Vera Hill. The blood found on
the ball-peen hammer matched that of Vera Hill. The blood found on
the tire tool was a mixture, with Vera Hill being the major contributor
and Floyd Hill being the minor contributor. The blood on the black t-
shirt matched that of Vera Hill. The blood on the pants (containing
the tab with Jamie Mill’s name) matched that of Floyd Hill.

On August 22, 2007 during the trial of defendant Jamie Mills, JoAnn
Mills testified that on June 23, 2004, she and her husband, Jamie
Mills, had stayed up all night smoking methamphetamine at their
residence. On Thursday, June 24, 2004, they stayed at their residence
until around 5:00 p.m. before going to Webster’s Market grocery
(7270 U.S. Highway 43 in Guin, Alabama) to buy cigarettes. After the
cigarettes had been purchased, she and Jamie left Webster’s and
stopped in Fred’s store parking lot to talk to JoAnn’s cousin, Brandy
West. After leaving Fred’s parking lot, Jamie told JoAnn that he was
going to talk to a man about some money and for her to just follow his
lead. Upon reaching the Hills’ residence around 5:15 p.m., the Hills
allowed the Mills into their home where Jamie attempted to make
several phone calls from the Hills’ phone as JoAnn sat and talked with
the Hills. According to JoAnn, Mr. Hill obviously knew Jamie and
referred to him by name. After Jamie had used the phone and both

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couples had talked for awhile, Vera Hill wanted to show JoAnn Mills
some of their yard sale items that were stored in their shed. Due to the
rainy weather, Floyd Hill unlocked the padlocked building and opened
the door while Vera Hill, Jamie Mills and JoAnn waited on the porch.
Floyd Hill then returned and gave the women the umbrella so they
could go on to the building. Floyd Hill went back into the house to get
a light fixture and then returned to the building. After the Hills had
shown the Mills their sale items, Jamie Mills continued to talk to
Floyd Hill in the shed while the two women proceeded to walk back to
the porch.

JoAnn Mills then testified that she heard a loud noise and saw a
silhouette through the building’s plastic siding of what appeared to be
Jamie Mills with something raised over his shoulder ‘with both hands,
as if he was swinging something.’ JoAnn Mills then followed Vera Hill
back into the shed to see what had happened. Upon entering the shed,
JoAnn saw Floyd Hill lying on the ground and saw Jamie Mills hit
Vera Hill in the back of her head with a hammer. When Mrs. Hill
attempted to get up he struck her again with the hammer.

JoAnn further stated that she stood with her eyes closed in the corner
of the building as she listened to the sound of Jamie Mills repeatedly
striking Floyd and Vera Hill. She could hear the sound of Jamie’s feet
scuffling on the ground as he went back and forth between the two
victims. After the sounds of Jamie striking the Hills stopped, JoAnn
Mills was then handed a hammer, a tire tool, and a machete by Jamie
Mills and witnessed Jamie Mills place a white towel over Floyd Hill’s
head to silence the gurgling sounds coming from Mr. Hill. Jamie and
JoAnn Mills then exited the shed. Jamie padlocked the door shut and
the two went back into the Hills’ home. Inside the Hills’ home, Jamie
and JoAnn went through the house and took a padlocked tackle box,
Vera’s purse, the phone, and the police scanner before leaving the
residence and returning to their residence on County Road 83.

Upon reaching the Mills’ residence, Jamie brought all the items from
the Hills’ residence into the kitchen. JoAnn took a shower. Jamie and
JoAnn then went through the items taken from the Hills’ residence
(wallet, purse, medication contained in the green tackle box) and

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      placed them along with the hammer, tire tool and machete in a bag.
      The Mills recovered about $140 cash from the Hills. Jamie then took a
      shower and called Benji Howe, a known drug abuser in the area. Benji
      Howe came over to the Mills’ home and purchased some pain pills.
      After Benji left the Mills’ residence, Jamie and JoAnn placed the bag
      containing the items from the Hills’ residence in the shed on their
      property before going to Jamie’s father’s residence in Hamilton,
      Alabama, to play dominos and spend the night.

      The next morning, June 25, 2004, Jamie and JoAnn Mills returned to
      their residence to find that dogs had torn into the bag containing the
      bloody items from the Hills’ residence. JoAnn retrieved a large blue
      duffel bag and the Mills placed into the bag the machete, hammer, tire
      tool, telephone, wallet, purse, the clothes the Mills had worn at the
      time of the attacks, and one heavy cement block. The Mills then
      placed the duffel bag in the trunk of their car along with the green
      tackle box. As the two were leaving the residence to obviously dispose
      of the duffel bag and tackle box, they were stopped by Guin Police
      Officers G.B. Blaylock and Stanley Webb.

      (C.R. 123–29.)

Mills v. State, 62 So. 3d 553, 557–61 (Ala. Crim. App. 2008).

II.   PROCEDURAL HISTORY

      On December 14, 2004, Mills was indicted by a grand jury in Marion

County, Alabama, on three counts of capital murder for the killings of Floyd Hill

and Vera Hill. Count I charged him with the robbery-murder of Floyd, see § 13A–5–

40(a)(2), Ala. Code 1975; Count II charged him with the robbery-murder of Vera,

see § 13A–5–40(a)(2), Ala. Code 1975; and Count III charged him with murder




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made capital because he killed Floyd and Vera by one act or pursuant to one

scheme or course of conduct, see § 13A–5–40(a)(10), Ala. Code 1975. (C1 32-33.)

      Mills pled not guilty and proceeded to trial. The State’s theory of the case

was that Mills and his wife, JoAnn, were high on methamphetamine and looking for

a way to get money to purchase more drugs when they decided to rob Floyd and

Vera Smith, an elderly couple known to have large amounts of cash at their home.

(R1. 658, 690, 693, 795, 913-14.) The State’s evidence consisted primarily of the

testimony of JoAnn that she and Mills had both been up for over 24 hours using

methamphetamine and that it was Mills who attacked the victims in her presence

(R1. 913-14, 917); evidence that the victims’ belongings and murder weapons were

found in the trunk of the Millses’ car (R1. 548-49, 553-55); and the testimony of

Kenneth Snell, the State’s medical examiner, that Vera Hill’s death due to

bronchopneumonia was caused by the assault. (R1. 511.)

      Mills chose to testify at trial. (C. 16-18, 59-62 ¶¶117-23). He testified that he

was at home with JoAnn at the time of the offense and had nothing to do with the

murders (R1. 785-812); that there was no lock on the trunk to their car so anyone

could have planted the evidence there (R1. 792); that Benji Howe, a friend of Mills’

and JoAnn’s who was another initial suspect in the murders, had access to the

Millses’ home and car; and that Howe had stopped by their house on the evening


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of the offense. (R1. 791-92, 798-801.) The State sought to discredit Mills’

testimony with testimony from Howe and his alibi witnesses, Thomas Green and

Melissa Bishop.

      After closing arguments, the court asked for argument on whether to instruct

the jury on lesser-included offenses. (Vol. 10, Tab #R-23, R. 923.) The parties

raised the possibility of instructions on felony murder based on (1) nullification of

specific intent by methamphetamine-induced intoxication, and (2) assault and

robbery in the case of Vera Hill, based on the possibility that her death (more than

two months after the offense) was caused by pre-existing disease rather than her

wounds. (Id. at 923-25.) The court instructed Mills to discuss the matter with his

lawyers. (Id. at 925.) Mills decided not to instruct the jury on any lesser-included

offenses, and the court instructed the jury on only capital murder. (Vol. 10, Tab

#R-24, R. 941-48)

      On August 23, 2007, Mills was convicted by a jury of all three counts of

capital murder. (R1. 959-60.) The sentencing phase of the trial occurred the next

day. The jury heard from Mills’ sister, Kim Mobley, and his father’s girlfriend,

Sherri Sanchez, in mitigation. The jury recommended the death penalty by an 11 to

1 vote. The trial court sentenced Mills to death on September 14, 2007. The court

found the existence of four aggravating circumstances: 1) Mills committed the


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capital offenses while he was under a sentence of imprisonment, see § 13A–5–49(1),

Ala. Code 1975 (Mills had a 2003 felony conviction for receiving stolen property

and was on probation); 2) Mills committed the capital offenses during the course of

a robbery, see § 13A–5–49(4), Ala. Code 1975; 3) the capital offenses were

especially heinous, atrocious, or cruel compared to other capital offenses, see §

13A–5–49(8), Ala. Code 1975; and 4) Mills intentionally caused the death of two or

more people by one act or pursuant to one scheme or course of conduct, see § 13A–

5–49(9), Ala. Code 1975. The court found that three statutory mitigating

circumstances existed—1) Mills did not have a significant history of prior violent

criminal activity, see § 13A–5–51(1), Ala. Code 1975; 2) Mills committed the capital

offenses while he was under the influence of extreme mental or emotional

disturbance, see § 13A–5–51(2); and 3) Mills’ age at the time of the offenses, see §

13A–5–51(7), Ala. Code 1975. The trial court also made the following findings as to

non-statutory mitigating circumstances:

      “The defendant experienced a failed marriage nine to ten years before
      the murders. This marriage yielded two sons who, at the time of trial,
      were 15 and 14 years old, lived with their mother, and were described
      by the defendant’s sister as ‘good kids.’ Defense counsel suggested to
      the jury that by giving the defendant life without parole, perhaps he
      would have a positive influence on his two boys and could guide them
      away from life’s pitfalls that he had experienced.

      “The pre-sentence report notes and court files confirm that Mills was
      charged in 2001 for nonsupport of his two children. At the time of the

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      murders, he was $10,318.67 in arrears on his child support payments.
      There is little, if any, basis for mitigation that the defendant would be
      any more supportive of his sons than he was been in the past. To argue
      that perhaps if he received life without the possibility of parole he
      could have any positive influence on his children is an extremely weak
      mitigator at best.

      “The defendant grew up in Haleyville, Alabama, in what his sister
      described as a ‘good home.’ After dropping out of high school in the
      eleventh grade, he worked as a truck driver and mechanic at various
      local establishments. His last employment was as a mechanic at
      Hightower’s Amoco in Guin, Alabama, until he quit his job
      complaining of tendonitis shortly before the murders. Ben Hightower,
      the owner of the service station, rented a house to the Mills and
      described Jamie as ‘no trouble’ and ‘a hard worker.’

(C.R. 133.) The court found that the four aggravating circumstances outweighed

the three statutory mitigating circumstances and other non-statutory mitigating

circumstances in sentencing Mills to death. (R1. 1019, 1032; C1 136.)

      On September 24, 2007, JoAnn Mills pleaded guilty to murder and was

sentenced to life imprisonment without the possibility of parole.

      John Wiley and William Mathis, who represented Mills at trial, also

represented him on direct appeal to the ACCA. They raised four arguments on

direct appeal: (1) the trial court should have granted Mills’ motion to suppress

evidence that law enforcement seized from the trunk of his vehicle pursuant to a

warrantless search; (2) the trial court erroneously allowed Dr. Snell to testify about

the causes of death of the victims because his testimony was based on another


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doctor’s notes and findings; (3) the trial court erred when it did not allow Mills to

elicit testimony about JoAnn’s mental illness; and (4) the State did not disclose the

alleged fact that it had a plea agreement with JoAnn. The State also appealed,

arguing that the case should be remanded for the trial court to correct its

sentencing order regarding the existence or nonexistence of aggravating

circumstances. On June 27, 2008, the ACCA remanded the case with instructions

to amend the sentencing order. Mills, 62 So. 3d at 572. On return from remand, the

ACCA affirmed Mills’ convictions and sentence of death. Id. at 573-74.

      Mills’ counsel, joined by new counsel from the Equal Justice Initiative in

Montgomery, Alabama, then petitioned the Alabama Supreme Court for certiorari

review, raising the same four arguments that Mills presented to the ACCA and an

additional 21 issues on which Mills requested plain error review. The Supreme

Court of Alabama granted certiorari to consider the following questions: (1)

whether the trial court committed plain error in not instructing the jury on a lesser-

included offense; (2) whether the admission of testimony from Dr. Snell regarding

the causes of death for Floyd and Vera Hill was plain error; (3) whether the

admission into evidence of the items seized from the trunk of Mills’ vehicle was

plain error; and (4) whether the trial court committed plain error in its instructions

to the jury about weighing the aggravating circumstances and the mitigating


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circumstances. On September 4, 2010, the Alabama Supreme Court affirmed

Mills’ convictions and sentence of death. Ex parte Mills, 62 So. 3d 574, 601 (Ala.

2010).

         Mills filed a petition for certiorari to the United States Supreme Court on

April 22, 2011, which was denied on June 29, 2012. Mills v. Alabama, No. 10-10180

(2012).

         On November 21, 2011, Mills timely filed a petition pursuant to Alabama

Rule of Criminal Procedure 32 (hereinafter, the “Rule 32 petition”) raising (1)

claims of ineffective assistance of counsel, (2) claims that the State committed

violations of Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S.

150 (1972), and Napue v. Illinois, 360 U.S. 264 (1959), (3) claims of juror

misconduct, (4) a claim that Mills is innocent, and (5) claims challenging the death

penalty and Alabama’s method of execution. (C. 15-22, ¶¶ 14-27.)

         On July 19, 2013, in a two-page order, the circuit court summarily dismissed

and denied all the claims in Mills’ petition except the juror misconduct claims, on

which it scheduled an evidentiary hearing. (C. 303-04.) After the hearing, the

circuit court denied those claims as well. (C. 422, 429.)

         On December 11, 2015, the ACCA affirmed the denial of Rule 32 relief in a

nearly 100-page opinion. Mills v. State, No. CR-13-0724 (Ala. Crim. App. Dec. 11,


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2015) (mem. op.). On May 20, 2016, the Alabama Supreme Court affirmed. Ex

parte Mills, No. 1150588 (Ala. May 25, 2016).

       This is Mills’ first and only application for federal habeas corpus relief, and it

is timely filed.

III.   STANDARDS OF FEDERAL HABEAS REVIEW

       This action is governed by 28 U.S.C. § 2254, as amended by the Anti-

Terrorism and Effective Death Penalty Act of 1996 (“AEDPA”). See Guzman v.

Sec’y, Dep’t of Corr., 663 F.3d 1336, 1345 (11th Cir. 2011). Pursuant to § 2254(a), a

federal district court is prohibited from entertaining a petition for writ of habeas

corpus “in behalf of a person in custody pursuant to the judgment of a State court”

unless the petition alleges “he is in custody in violation of the Constitution or laws

or treaties of the United States.” 28 U.S.C. § 2254(a). In other words, this Court’s

review of habeas claims is limited to federal constitutional questions. Claims

pertaining solely to “an alleged defect in a [state] collateral proceeding” or to a

“state’s interpretation of its own laws or rules” do not provide a basis for federal

habeas corpus relief under § 2254. Alston v. Dep’t of Corr., Fla., 610 F.3d 1318,

1325-26 (11th Cir. 2010) (quotation marks and citations omitted).

       A.     Exhaustion of State Remedies and Procedural Default




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      Under § 2254(b) and (c), a federal court must limit its grant of habeas

applications to cases where an applicant has exhausted all state remedies. Cullen v.

Pinholster, 131 S. Ct. 1388, 1398 (2011). This means that “‘[s]tate prisoners must

give the state courts one full opportunity to resolve any constitutional issues by

invoking one complete round of the State’s established appellate review process,’

including review by the state’s last court of last resort, even if review in that court

is discretionary.” Pruitt v. Jones, 348 F.3d 1355, 1358-59 (11th Cir. 2003) (quoting

O’Sullivan v. Boerckel, 526 U.S. 838, 845, 119 S. Ct. 1728, 1732-33 (1999)).

Alabama’s discretionary direct review procedures bring Alabama prisoner habeas

petitions within the scope of the rule. Id. The purpose of this requirement is to

ensure that state courts are afforded the first opportunity to correct federal

questions affecting the validity of state court convictions. See Snowden v. Singletary,

135 F.3d 732, 735 (11th Cir. 1998); see also Smith v. Newsome, 876 F.2d 1461, 1463

(11th Cir. 1989) (“Federal courts are not forums in which to relitigate state trials.”)

(citation omitted)). Moreover, “to exhaust state remedies fully the petitioner must

make the state court aware that the claims asserted present federal constitutional

issues. ‘It is not enough that all the facts necessary to support the federal claim

were before the state courts or that a somewhat similar state-law claim was




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made.’” Snowden, 135 F.3d at 735 (quoting Anderson v. Harless, 459 U.S. 4, 5-6, 103

S. Ct. 276, 277 (1982)).

      “[A]n issue is exhausted if ‘the reasonable reader would understand the

claim’s particular legal basis and specific factual foundation’ to be the same as it

was presented in state court.” Pope v. Sec’y for Dep’t of Corr., 680 F.3d 1271, 1286

(11th Cir. 2012) (quoting Kelley v. Sec’y for Dep’t of Corr., 377 F.3d 1317, 1344–45

(11th Cir. 2004)) (brackets in original omitted). If a petitioner fails to raise his

federal claim to the state court at the time and in the manner dictated by the state’s

procedural rules, the state court can decide the claim is not entitled to a review on

the merits, i.e., “the petitioner will have procedurally defaulted on that claim.”

Mason v. Allen, 605 F.3d 1114, 1119 (11th Cir. 2010). Moreover, a “state court’s

rejection of a petitioner’s constitutional claim on state procedural grounds will

generally preclude any subsequent federal habeas review of that claim.” Ward v.

Hall, 592 F.3d 1144, 1156 (11th Cir. 2010) (quoting Judd v. Haley, 250 F.3d 1308,

1313 (11th Cir. 2001)). “Where there has been one reasoned state judgment

rejecting a federal claim, later unexplained orders upholding that judgment or

rejecting the same claim rest upon the same ground.” Ylst v. Nunnemaker, 501 U.S.

797, 803, 111 S. Ct. 2590, 2594 (1991). Yet as the Eleventh Circuit has noted, a

claim will only be procedurally defaulted in the following circumstance:


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      [A] state court’s rejection of a federal constitutional claim on
      procedural grounds may only preclude federal review if the state
      procedural ruling rests upon “adequate and independent” state
      grounds. Marek v. Singletary, 62 F.3d 1295, 1301 (11th Cir. 1995)
      (citation omitted).

      We have “established a three-part test to enable us to determine when
      a state court’s procedural ruling constitutes an independent and
      adequate state rule of decision.” Judd, 250 F.3d at 1313. “First, the
      last state court rendering a judgment in the case must clearly and
      expressly state that it is relying on state procedural rules to resolve the
      federal claim without reaching the merits of that claim.” Id. Second,
      the state court’s decision must rest entirely on state law grounds and
      not be intertwined with an interpretation of federal law. See id. Third,
      the state procedural rule must be adequate, i.e., firmly established and
      regularly followed and not applied “in an arbitrary or unprecedented
      fashion.” Id.

Ward, 592 F.3d at 1156–57 (footnote omitted).

      There are also instances where the doctrines of procedural default and

exhaustion intertwine. For instance, if a petitioner’s federal claim is unexhausted, a

district court will traditionally dismiss it without prejudice or stay the cause of

action to allow the petitioner to first avail himself of his state remedies. See Rose v.

Lundy, 455 U.S. 509, 519-20, 102 S. Ct. 1198, 1204 (1982). But “if it is clear from

state law that any future attempts at exhaustion [in state court] would be futile”

under the state’s own procedural rules, a court can simply find that the claim is

“procedurally defaulted, even absent a state court determination to that effect.”

Bailey v. Nagle, 172 F.3d 1299, 1305 (11th Cir. 1999) (citation omitted).


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      B.     Overcoming Procedural Default

      “[A]n adequate and independent finding of procedural default will bar

federal habeas review of the federal claim, unless the habeas petitioner can show

cause for the default and prejudice attributable thereto, or demonstrate that failure

to consider the federal claim will result in a fundamental miscarriage of justice.”

Coleman v. Thompson, 501 U.S. 722, 749–50, 111 S. Ct. 2546, 2564-65 (1991)

(citations and internal quotation marks omitted).

      The “cause and prejudice” exception is framed in the conjunctive, and a

petitioner must prove both cause and prejudice. Id. at 750, 111 S. Ct. at 2565. To

show cause, a petitioner must prove that “some objective factor external to the

defense impeded counsel’s efforts” to raise the claim previously. Murray v.

Carrier, 477 U.S. 478, 488, 106 S. Ct. 2639, 2645 (1986). Examples of such

objective factors include:

      . . . interference by officials that makes compliance with the State’s
      procedural rule impracticable, and a showing that the factual or legal
      basis for a claim was not reasonably available to counsel. In addition,
      constitutionally ineffective assistance of counsel . . . is cause. Attorney
      error short of ineffective assistance of counsel, however, does not
      constitute cause and will not excuse a procedural default.

McCleskey v. Zant, 499 U.S. 467, 494, 111 S. Ct. 1454, 1470 (1991) (internal

quotation marks, brackets, and citations omitted). As for prejudice, a habeas

petitioner must show “not merely that the errors . . . created a possibility of

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prejudice, but that they worked to his actual and substantial disadvantage, infecting

his entire trial with error of constitutional dimensions.” United States v. Frady, 456

U.S. 152, 170, 102 S. Ct. 1584, 1596 (1982) (emphasis in original).

      Finally, a petitioner may also escape a procedural default bar if he “can

demonstrate a sufficient probability that [the court’s] failure to review his federal

claim will result in a fundamental miscarriage of justice.” Edwards v. Carpenter, 529

U.S. 446, 451, 120 S. Ct. 1587, 1591 (2000). To make such a showing, a petitioner

must establish that either: (1) “a constitutional violation has probably resulted in

the conviction of one who is actually innocent,” Smith v. Murray, 477 U.S. 527,

537, 106 S. Ct. 2661, 2668 (1986) (quoting Carrier, 477 U.S. at 496, 106 S. Ct. at

2650), or (2) the petitioner shows “by clear and convincing evidence that but for a

constitutional error, no reasonable juror would have found the petitioner eligible

for the death penalty.” Schlup v. Delo, 513 U.S. 298, 323, 115 S. Ct. 851, 865 (1995)

(emphasis in original) (quoting Sawyer v. Whitley, 505 U.S. 333, 336, 112 S. Ct.

2514, 2517 (1992)).

      C.     AEDPA Review of State Court Decisions Under § 2254(d) and (e)

      When a constitutional claim upon which a petitioner seeks relief under §

2254 is not procedurally defaulted but has instead been adjudicated on the merits in

state courts, this Court is still restricted in its ability to grant relief on those claims


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by § 2254(d). The AEDPA “imposes a highly deferential standard for evaluating

state-court rulings” and “demands that state-court decisions be given the benefit

of the doubt.” Guzman, 663 F.3d at 1345 (internal quotation marks and citation

omitted). To grant habeas relief on a claim, this Court must not only find that the

constitutional claims are meritorious, but also that the state court’s resolution of

those claims:

      (1) resulted in a decision that was contrary to, or involved an
      unreasonable application of, clearly established Federal law, as
      determined by the Supreme Court of the United States; or

      (2) resulted in a decision that was based on an unreasonable
      determination of the facts in light of the evidence presented in the
      State court proceeding.

28 U.S.C. § 2254(d)(1)-(2); see also Boyd v. Allen, 592 F.3d 1274, 1292 (11th Cir.

2010) (quoting § 2254(d)). The burden of showing that an issue falls within §

2254(d)(1) or (d)(2) is upon the petitioner. See Woodford v. Visciotti, 537 U.S. 19,

25, 123 S. Ct. 357, 360 (2002). Section 2254(d)(1)’s “contrary to” and

“unreasonable application of” clauses have independent meanings. See Alderman v.

Terry, 468 F.3d 775, 791 (11th Cir. 2006) (“[T]he ‘contrary to’ and ‘unreasonable

application’ clauses are interpreted as independent statutory modes of analysis.”)

(citation omitted). A state court’s decision is contrary to “clearly established

precedents [of the Supreme Court of the United States] if it applies a rule that


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contradicts the governing law set forth in [the Court’s] cases, or if it confronts a set

of facts that is materially indistinguishable from a decision of th[e] Court but

reaches a different result.” Brown v. Payton, 544 U.S. 133, 141, 125 S. Ct. 1432, 1438

(2005) (citation omitted). On the other hand, to determine whether a state court’s

decision is an “unreasonable application” of clearly established federal law, the

Supreme Court has stated:

      The pivotal question is whether the state court’s application of the
      [relevant constitutional] standard was unreasonable . . . For purposes
      of § 2254(d)(1), an unreasonable application of federal law is different
      from an incorrect application of federal law. A state court must be
      granted a deference and latitude that are not in operation when the
      case involves review under the [relevant constitutional] standard itself.

      A state court’s determination that a claim lacks merits precludes
      federal habeas relief so long as fairminded jurists could disagree on the
      correctness of the state court’s decision. And as the [Supreme Court]
      has explained, evaluating whether a rule application was unreasonable
      requires considering the rule’s specificity. The more general the rule,
      the more leeway courts have in reaching outcomes in case-by-case
      determinations.

Harrington v. Richter, 562 U.S. 86, 131 S. Ct. 770, 785-86 (2011) (citation and

quotation marks omitted) (emphasis in original); see also Schriro v. Landrigan, 550

U.S. 465, 473, 127 S. Ct. 1933, 1939 (2007) (“The question under AEDPA is not

whether a federal court believes the state court’s determination was incorrect but

whether that determination was unreasonable—a substantially higher threshold.”);

Guzman, 663 F.3d at 1346 (“Ultimately, before a federal court may grant habeas

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relief under § 2254(d), ‘a state prisoner must show that the state court’s ruling on

the claim being presented in federal court was so lacking in justification that there

was an error well understood and comprehended in existing law beyond any

possibility for fairminded disagreement.’”) (quoting Harrington, 131 S. Ct. at 786-

87). As the Supreme Court has stated, “If this standard is difficult to meet, that is

because it was meant to be. As amended by AEDPA, § 2254(d) stops short of

imposing a complete bar on federal-court relitigation of claims already rejected in

state proceedings.” Harrington, 562 U.S. at 102, 131 S. Ct. at 786.

       Moreover, a state court’s factual determination is entitled to a presumption

of correctness under § 2254(e)(1)). And commensurate with the deference

accorded to a state court’s factual findings, “the petitioner must rebut ‘the

presumption of correctness [of a state court’s factual findings] by clear and

convincing evidence.’” Ward, 592 F.3d at 1155-56 (alterations in original) (quoting

§ 2254(e)(1)).

      D.     The Burden of Proof and Heightened Pleading Requirements for
             Habeas Petitions

      Additionally, because habeas corpus review is limited to review of errors of

constitutional dimension, a habeas corpus petition “must meet [the] heightened

pleading requirements [of] 28 U.S.C. § 2254 Rule 2(c).” McFarland v. Scott, 512

U.S. 849, 856, 114 S. Ct. 2568, 2572 (1994) (citation omitted). “[T]he petition

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must ‘specify all the grounds for relief available to the petitioner’ and ‘state the

facts supporting each ground.’” Mayle v. Felix, 545 U.S. 644, 655, 125 S. Ct. 2562,

2570 (2005) (quoting Rule 2(c) of the Rules Governing § 2254 Cases in the U.S.

District Courts). The burden of proof is on the habeas petitioner “to establish his

right to habeas relief and he must prove all facts necessary to show a constitutional

violation.” Blankenship v. Hall, 542 F.3d 1253, 1270 (11th Cir. 2008) (citation

omitted); see also Smith v. Wainwright, 777 F.2d 609, 616 (11th Cir. 1985) (holding

that a general allegation of ineffective assistance of counsel is insufficient; a petition

must allege specific errors in counsel’s performance and facts showing prejudice).

      E.     The General Standard for Ineffective Assistance of Counsel
             Claims

      In Strickland v. Washington, 466 U.S. 668, 104 S. Ct. 2052 (1984), the

Supreme Court established the following two-pronged standard for judging, under

the Sixth Amendment, the effectiveness of attorneys who represent criminal

defendants at trial or on direct appeal:

      A convicted defendant’s claim that counsel’s assistance was so
      defective as to require reversal of a conviction or death sentence has
      two components. First, the defendant must show that counsel’s
      performance was deficient. This requires showing that counsel made
      errors so serious that counsel was not functioning as the “counsel”
      guaranteed the defendant by the Sixth Amendment. Second, the
      defendant must show that the deficient performance prejudiced the
      defense. This requires showing that counsel’s errors were so serious
      as to deprive the defendant of a fair trial, a trial whose result is reliable.

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      Unless a defendant makes both showings, it cannot be said that the
      conviction or death sentence resulted from a breakdown in the
      adversary process that renders the result unreliable.

Id. at 687, 104 S. Ct. at 2064 .

      Because Strickland’s preceding two-part test is clearly framed in the

conjunctive, a petitioner bears the burden of proving both “deficient performance”

and “prejudice” by “a preponderance of competent evidence.” Chandler v. United

States, 218 F.3d 1305, 1313 (11th Cir. 2000) (en banc); see also Holladay v. Haley,

209 F.3d 1243, 1248 (11th Cir. 2000) (“Because both parts of the test must be

satisfied in order to show a violation of the Sixth Amendment, the court need not

address the performance prong if the defendant cannot meet the prejudice prong, [

] or vice versa.”). Further, when assessing ineffective assistance of counsel claims:

      [I]t is important to keep in mind that in addition to the deference to
      counsel’s performance mandated by Strickland, the AEDPA adds
      another layer of deference—this one to a State court’s decision—
      when we are considering whether to grant federal habeas relief from a
      State court’s decision. Thus, [a petitioner] not only has to satisfy the
      elements of the Strickland standard, but he must also show that the
      State court applied Strickland to the facts of his case in an objectively
      unreasonable manner.

Williams v. Allen, 598 F.3d 778, 789 (11th Cir. 2010) (brackets in original omitted)

(citations and quotation marks omitted) (emphasis in original).

      In order to establish deficient performance, a habeas petitioner “must show

that counsel’s representation fell below an objective standard of reasonableness.”

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Strickland, 466 U.S. at 688, 104 S. Ct. at 2064. That reasonableness is judged

against “prevailing professional norms.” Id., 104 S. Ct. at 2065. Moreover, under

Strickland, lower federal courts must be “highly deferential” in their scrutiny of

counsel’s performance. Id. at 689, 104 S. Ct. at 2065. As the Strickland Court

outlined:

      Judicial scrutiny of counsel’s performance must be highly deferential.
      It is all too tempting for a defendant to second-guess counsel’s
      assistance after conviction or adverse sentence, and it is all too easy for
      a court, examining counsel’s defense after it has proved unsuccessful,
      to conclude that a particular act or omission of counsel was
      unreasonable. A fair assessment of attorney performance requires that
      every effort be made to eliminate the distorting effects of hindsight, to
      reconstruct the circumstances of counsel’s challenged conduct, and to
      evaluate the conduct from counsel’s perspective at the time. Because
      of the difficulties inherent in making the evaluation, a court must
      indulge a strong presumption that counsel’s conduct falls within the
      wide range of reasonable professional assistance; that is, the defendant
      must overcome the presumption that, under the circumstances, the
      challenged action might be considered sound trial strategy. There are
      countless ways to provide effective assistance in any given case. Even
      the best criminal defense attorneys would not defend a particular
      client in the same way.

Id., 104 S. Ct. at 2065 (citations and quotation marks omitted).

      Simply put, a habeas petitioner “must establish that no competent counsel

would have taken the action that his counsel did take” to overcome the

presumption that counsel’s conduct fell within the wide range of reasonable

professional assistance. Chandler, 218 F.3d at 1315. The reasonableness of


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counsel’s performance is judged from the perspective of the attorney, at the time of

the alleged error, and in light of all the circumstances. See, e.g., Newland v. Hall,

527 F.3d 1162, 1184 (11th Cir. 2008) (“We review counsel’s performance ‘from

counsel’s perspective at the time,’ to avoid ‘the distorting effects of hindsight.’”)

(quoting Strickland, 466 U.S. at 689).

      To satisfy the prejudice prong, a habeas petition “must show that there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different. A reasonable probability is a probability

sufficient to undermine confidence in the outcome.” Strickland, 466 U.S. at 694,

104 S. Ct. at 2068. Stated differently, “[a] finding of prejudice requires proof of

unprofessional errors so egregious that the trial was rendered unfair and the verdict

rendered suspect.” Johnson v. Alabama, 256 F.3d 1156, 1177 (11th Cir. 2001)

(citations and quotation marks omitted). Further, the fact that counsel’s “errors

had some conceivable effect on the outcome of the proceeding” is insufficient to

show prejudice. Strickland, 466 U.S. at 693, 104 S. Ct. at 2067. Therefore, “when a

petitioner challenges a death sentence, ‘the question is whether there is a

reasonable probability that, absent the errors, the sentencer . . . would have

concluded that the balance of aggravating and mitigating circumstances did not




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warrant death.’” Stewart v. Sec’y, Dep’t of Corr., 476 F.3d 1193, 1209 (11th Cir.

2007) (quoting Strickland, 466 U.S. at 695, 104 S. Ct. at 2069).

      Because Strickland and § 2254(d) both mandate standards that are “‘highly

deferential’”, “when the two apply in tandem, review is ‘doubly’ so.” Harrington,

131 S. Ct. at 788 (citations omitted). The inquiry is not then “whether counsel’s

actions were reasonable,” but is instead “whether there is any reasonable argument

that counsel satisfied Strickland’s deferential standard.” Id. The court must

determine “whether the state court’s application of the Strickland standard was

unreasonable. This is different from asking whether defense counsel’s performance

fell below Strickland’s standard.” Id. at 785. This “[d]ouble deference is doubly

difficult for a petitioner to overcome, and it will be a rare case in which an

ineffective assistance of counsel claim that was denied on the merits in state court

is found to merit relief in a federal habeas proceeding.” Evans v. Sec’y, Fla. Dep’t of

Corr., 699 F.3d 1249, 1268 (11th Cir. 2012).

         Finally, “[s]tate court findings of historical facts made in the course of

evaluating an ineffectiveness claim are subject to a presumption of correctness

under 28 U.S.C. § 2254(d).” Thompson v. Haley, 255 F.3d 1292, 1297 (11th Cir.

2001).

               1.    The Martinez v. Ryan Rule


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       In Martinez v. Ryan, the Supreme Court announced a “narrow exception” to

the procedural default rule of Coleman, 501 U.S. at 755, 111 S. Ct. at 2546, in the

limited circumstances where a state law “requires a prisoner to raise an ineffective-

assistance-of-trial-counsel claim in a collateral proceeding.” 566 U.S. 1, 9, 14, 132

S. Ct. 1309, 1315, 1319 (2012). The exception applies only when four conditions are

met:

       (1) a state requires a prisoner to raise ineffective-trial-counsel claims at
       the initial-review stage of a state collateral proceeding and precludes
       those claims during direct appeal; (2) the prisoner did not comply with
       state rules and failed properly to raise ineffective-trial-counsel claims
       in his state initial-review collateral proceeding; (3) the prisoner did not
       have counsel (or his appointed counsel was ineffective by not raising
       ineffective-trial-counsel claims) in that initial-review collateral
       proceeding; and (4) failing to excuse the prisoner’s procedural default
       would cause the prisoner to lose a “substantial” ineffective-trial-
       counsel claim.

Arthur v. Thomas, 739 F.3d 611, 629 (11th Cir. 2014) (citing Martinez, 566 U.S. at

14, 132 S. Ct. at 1319). A following case, Trevino v. Thaler, 569 U.S. 413, 429, 133 S.

Ct. 1911, 1921 (2013), extended the Martinez rule to state systems in which it was

“virtually impossible” for ineffective assistance claims to be raised on direct

appeal.

       In other words, to prevail under Martinez, a petitioner must demonstrate

that his trial counsel were ineffective under Strickland in their treatment of a

particular issue and that his initial-review collateral appeal counsel were also

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ineffective under Strickland for failing to raise a claim of ineffective assistance of

trial counsel concerning that issue. As the Eleventh Circuit has explained, the

petitioner must show “more than the mere fact [collateral counsel] failed to raise

potentially meritorious claims; he must show that no competent counsel, in the

exercise of reasonable professional judgment, would have omitted those claims.”

Hittson v. GDCP Warden, 759 F.3d 1210, 1263 (11th Cir. 2014). In this limited case,

“a procedural default will not bar a federal habeas court from hearing a substantial

claim of ineffective assistance at trial.” Martinez, 566 U.S. at 17, 132 S. Ct. at 1320.

      The Martinez rule applies only in initial-review collateral proceedings; it

“does not concern attorney errors in other kinds of proceedings, including appeals

from initial-review collateral proceedings, second or successive collateral

proceedings, and petitions for discretionary review in a State’s appellate courts.”

Id. The Eleventh Circuit has held that Martinez does not serve as a vehicle to allege

a freestanding claim of ineffective assistance of state post-conviction counsel.

Lambrix v. Sec’y, Fla. Dept. of Corrs., 756 F.3d 1246, 1262-63 (11th Cir. 2014), see

also 28 U.S.C. § 2261(e) (“The ineffectiveness or incompetence of counsel during

State or Federal post-conviction proceedings in a capital case shall not be a ground

for relief in a proceeding arising under section 2254.”).

IV.   DISCUSSION OF MILLS’ CLAIMS


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      A.    Mills’ two-fold claim that the State’s forensic expert’s testimony
            was inadmissible under Crawford v. Washington, 541 U.S. 36
            (2004), and that his defense counsel was constitutionally
            ineffective for failing to object to the testimony

            1.     Substantive Claim

      Mills’ first claim is that the admission of the State’s forensic expert’s

testimony violated his right to confront witnesses against him pursuant to

Crawford, 541 U.S. at 68 (“Where testimonial evidence is at issue . . . the Sixth

Amendment demands . . . unavailability and a prior opportunity for cross-

examination.”).

      By way of background, the State called several forensic experts who had

participated in the investigation of the murders. The State’s Department of

Forensic Sciences (“DFS”) lab director Rodger Morrison (“Morrison”) testified,

among other things, that he obtained DNA samples from Mills and JoAnn. (Vol. 8

at R. 594.) DNA analyst and crime scene investigator Robert Bass (“Bass”) then

testified that he was given DNA samples from Floyd and Vera Hill; that he

conducted a DNA analysis of blood and fiber samples taken from the following

items recovered from Mills’ trunk the day after the murders: a black shirt and pair

of blue work pants (with Mills’ name on them), the blade of the machete, the ball-

peen hammer, and the tire tool; and that Floyd and Vera Hill’s DNA was found on

these items. (Vol. 8, Tab #R-18, R. 624.) Bass also testified that he had obtained

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some other unidentified DNA samples from the handles of the machete and the tire

tool, which he ran against the Combined DNA Index System (“CODIS”) database,

a State-maintained database containing DNA profiles of all offenders convicted of a

felony in Alabama since 1994—an estimated 157,000 profiles at the time of Mills’

trial—and that the DNA on those unidentified samples did not match anybody in

the CODIS database. (Id. at 626.) Bass testified that no DNA he found on any of

the items involved in this case matched Mills’ DNA. (Id.) When asked whether it

was uncommon for a DNA sample taken from a murder weapon to not match

anyone involved in a case, Bass attempted to answer by explaining that the murder

weapons had been Floyd Hill’s yard sale items; “they were laying out there for who

knows who to pick up;” that Floyd Hill may have been wearing gloves when he

handled them because there were gloves found in Floyd Hill’s pockets; and that it

is “very possible” for some people simply not to transfer DNA when they touch an

item. (Id. at 618.)

       Mills’ defense at trial was that he was innocent; that JoAnn Mills, who

testified against him, was lying, and that Benji Howe, who was a friend of Mills and

JoAnn and also a suspect initially, could have committed the murders and framed

Mills. (Vol. 10, Tab #R-30, R. 903-05.) However, Morrison also testified, among

other things, that the investigators had not found Howe’s DNA on the murder


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weapons found in the trunk of Mills’ car the day after the murders. Morrison

explained that because Howe was a convicted felon, Howe’s DNA profile was in

the CODIS database, and that when Morrison sent in blood samples from the

handles of the murder weapons to be searched against that database, there were no

matches, indicating that Howe’s DNA did not match that found on the murder

weapons either. (Vol. 8, Tab #R-18, R. 636-37.)

      Mills argues that Morrison’s testimony violated his constitutional right to

directly confront the analyst who actually collected Howe’s DNA (at some point in

the past) and entered it into the CODIS database. More specifically, Mills contends

that, through Morrison’s testimony, the State impermissibly introduced the

statement of an out-of-court forensic analyst asserting that (1) a sample of Howe’s

DNA was at some point taken; (2) Howe’s DNA profile was at some point entered

into the database; (3) Howe’s DNA profile was in the database and accurate at the

time the search was conducted; and (4) the lack of a match in the database

excluded Howe as a donor of the DNA found on the murder weapons. Mills argues

that if Howe’s DNA sample was corrupted, switched, or otherwise botched during

the process of being added to the database in the past, Morrison’s testimony that

the database search “excluded” Howe would be unreliable. Mills argues that

because the State made no showing of the analyst’s unavailability, and he had no


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opportunity to cross-examine him or her, introduction of the out-of-court analyst’s

conclusions violated the Confrontation Clause.

      This claim is procedurally defaulted from federal habeas review because

Mills failed to present it to the ACCA on direct appeal, and thus, failed to “give the

state courts one full opportunity to resolve any constitutional issues by invoking

one complete round of the State’s appellate review process.” O’Sullivan, 526 U.S.

at 845. The Eleventh Circuit has held that “[i]t is well established that when a

petitioner has failed to exhaust his claim by failing to fairly present it to the state

courts and the state court remedy is no longer available, the failure . . . constitutes a

procedural bar.” McNair v. Campbell, 416 F.3d 1291, 1305 (11th Cir. 2005) (citing

Coleman, 501 U.S. at 735 n.1).

      Although Mills attempted to raise this claim in his petition for writ of

certiorari to the Alabama Supreme Court, see Vol. 11, #R-42 at 16-31, the Alabama

Supreme Court did not grant certiorari on this issue. Thus, this belated action does

not change the fact that Mills failed to fairly present this claim to the state courts.

The Supreme Court has held that the exhaustion requirement is not met “where

the claim has been presented for the first and only time in a procedural context in

which its merits will not be considered unless ‘there are special and important

reasons therefor[.]’ Raising the claim in such a fashion does not . . . constitute ‘fair


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presentation.’” Castille v. Peoples, 489 U.S. 346, 351 (1989); see also Mauk v. Lanier,

484 F.3d 1352, 1357–58 (11th Cir. 2007) (holding that “the Supreme Court in

Castille explicitly rejected the argument that ‘the submission of a new claim to a

State’s highest court on discretionary review constitutes a fair presentation.’”).

Similarly, Alabama procedural rules require that a “petition for writ of certiorari

will be granted only when there are special and important reasons for the issuance

of the writ.” Ala. R. App. P. 39(a). Thus, there is no state-court decision for this

Court to review on this issue because Mills failed to properly present this claim.

Thus, Mills’ substantive Crawford violation claim is now procedurally defaulted

from this Court’s review.

             2.      Ineffective Assistance of Counsel Claim

      Recognizing this procedural hurdle, 1 Mills also contends that his trial

counsel was constitutionally ineffective for failing to object to the introduction of

Morrison’s testimony on Confrontation Clause grounds. Mills asserts that his

counsel’s alleged ignorance of Crawford, a case decided more than three years

before trial, constituted deficient performance, especially since his defense strategy

centered around Howe as a possible suspect. He further contends that his

counsel’s failure to object prejudiced Mills, as the State emphasized in closing that

1     See Petitioner’s Reply Brief, Doc. 16 at 12 n.2.


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Howe’s DNA was not found on the murder weapons. (See Vol. 10, Tab #R-23, R.

917.) Mills argues that if his counsel had objected on Confrontation Clause grounds

to Morrison’s testimony about Howe’s DNA being in the CODIS database, the

trial court would have excluded the testimony, the jury would have been left with

the possibility that the DNA on the handles of the murder weapons could have

belonged to Howe, and, given the evidence that Howe had the same purported

motive and opportunity to murder the Hills that Mills did,2 there is a reasonable

probability that the jury would have been left with a reasonable doubt and Mills

would not have been convicted of capital murder or sentenced to death.


2
         Mills points to the following evidence in support of his claim that Howe had the same
motive and opportunity to murder the Hills that Mills did. Officer Larry Webb described Howe
at trial as a “known [drug] user/dealer” (R1. 419), and Howe admitted at trial to having two
felony convictions (R1. 870). Howe also admitted that he was an addicted methamphetamine
user in June 2004 and that methamphetamine was expensive. (R1. 882.) When he was initially
arrested as a suspect in the murders, he had one of Vera Hill’s prescription pill bottles and
$2,500 in cash on his person. Howe admitted that he knew the Hills from working at his father’s
grocery store and carrying their groceries. (R1. 875.) From this, Mills surmises that Howe would
have been aware of Floyd Hill’s purported habit of carrying large sums of cash. (See R1. 658–59.)
Howe also admitted that he had driven Mills’ car before (R1. 881), which, according to Mills,
allowed the jury to infer that he would have known that the car’s trunk could be opened easily
without a key (see R1. 538, 792). Howe also admitted to being familiar with Millses’ house. (R1.
884; see also R1. 790–91 (Mills’ testimony that Howe stayed overnight at his house and had key).

        Mills also argues that the testimony of the two State witnesses who were called to
establish an alibi for Howe on the evening of the murders, Thomas Green and Melissa Bishop,
contradicted Howe’s testimony on several points. (R1. 864-66, 868-870.) Green testified that
Howe was with him most of the day but left with Melissa Bishop for several hours around the
time it got dark. (R1. 864-66.) Melissa Bishop testified that she picked Howe up from Green’s
house sometime between noon and 3 p.m. that day and that they were only gone for a few
minutes. (R1. 868-69.)


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       Mills raised this ineffective assistance of counsel claim for the first time in

his Rule 32 proceedings, 3 and the ACCA rejected it on the merits in its review of

the circuit court’s denial of Mills’ Rule 32 petition. (Vol. 21, Tab #R-64 at 45-47;

Mills v. State, CR13-0724, Mem. Op. at 45-47 (Ala. Crim. App. Dec. 11, 2015)).

The ACCA stated:

       Summary dismissal of these claims was appropriate. . . . As to the
       claim related to Morrison’s testimony, the record indicates that both
       Morrison and Bass testified about the database at issue. Further,
       Morrison’s testimony did not violate Mills’ right to confrontation
       because Bass—who testified—conducted the testing of the DNA
       samples and entered the resulting profiles into the CODIS database.
       As to the suggestion that the comparison of the submitted evidence
       against the CODIS database and the profile of Howe was unreliable,
       Mills pleaded no facts that actually question the reliability of those
       matters.

(Id. at 47.)

       Because the state courts addressed Mills’ claim on the merits, Mills must

demonstrate not only that the claim is meritorious but also that the ACCA’s

rejection of the claim was either an unreasonable determination of the facts in light

of the evidence presented to the ACCA or was contrary to, or involved an


3        Alabama Rule of Criminal Procedure 32.2(d) mandates that all claims of ineffective
assistance of counsel “must be raised as soon as practicable, either at trial, on direct appeal, or in
the first Rule 32 petition, whichever is applicable.” In his direct appeal, Mills was represented by
the same lawyers who represented him at trial. Thus, he presented his ineffective assistance of
trial counsel claims at the first opportunity where he was not represented by those lawyers. The
State does not argue that Mills should have raised his ineffective assistance of trial counsel claims
earlier.
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unreasonable application of, clearly established Supreme Court precedent. See 28

U.S.C. § 2254(d)(1)-(2); Boyd, 592 F.3d at 1292.

      Mills argues that it was an unreasonable determination of the facts and

contrary to law for the ACCA to conclude that his right to confront witnesses was

not violated because Bass, who testified, conducted the DNA testing and entered

the samples into the CODIS database. Indeed, prior to Morrison’s testimony, Bass

identified the name of the national database as “CODIS” and testified that he

entered the DNA profiles found on the murder weapons into the database. (Vol. 8,

Tab #R-18, R. 624.) Thus, there was a certain amount of identifying testimony

presented about the databases at issue. However, Mills is correct that the analyst

who obtained a sample of Howe’s DNA, prepared his DNA profile, and entered it

into the database (sometime in the past), was not available to testify, such that

Mills could not question that particular analyst to make sure that he had the

training or skills necessary and did not make a mistake in entering Howe’s DNA.

Although the ACCA dispensed with this argument by finding that Mills did not

plead any facts that “actually question[ed] the reliability” of Howe’s DNA profile

in the database, Mills asserts that this finding was contrary to Crawford, which

holds that a Confrontation Clause claim may still be maintained despite a finding of

the “reliability” of the evidence:


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      Where testimonial statements are involved, we do not think the
      Framers meant to leave the Sixth Amendment’s protection to the
      vagaries of the rules of evidence, much less to amorphous notions of
      “reliability.” Certainly none of the authorities discussed above
      acknowledges any general reliability exception to the common-law
      rule. Admitting statements deemed reliable by a judge is
      fundamentally at odds with the right of confrontation. To be sure, the
      Clause’s ultimate goal is to ensure reliability of evidence, but it is a
      procedural rather than a substantive guarantee. It commands, not that
      evidence be reliable, but that reliability be assessed in a particular
      manner: by testing in the crucible of cross-examination.

Crawford, 541 U.S. at 61.

      Nonetheless, Mills’ Confrontation Clause claim (which is procedurally

barred) must be viewed through the lens of his ineffective assistance of counsel

claim and viewed “doubly deferentially” in the context of this federal habeas

proceeding. See Harrington, 131 S. Ct. at 788. This standard of review leads the

Court to conclude that the ACCA’s decision was not contrary to, nor did it involve

an unreasonable application of, clearly established Supreme Court precedent, i.e.,

Strickland, because Mills cannot demonstrate that he was prejudiced by his

counsel’s failure to object to Morrison’s testimony on Confrontation Clause

grounds. In other words, the Court is convinced that Mills would still have been

convicted of capital murder and sentenced to death had the jury not heard that

Howe’s DNA did not match any DNA samples taken from the murder weapons.

This is because, even though Mills’ DNA was also not a match for any of the items


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in his trunk, Bass explained that it is not uncommon for some people’s DNA not to

transfer. And even without any DNA evidence in this case incriminating Mills, the

other evidence against Mills was overwhelming. JoAnn gave eyewitness testimony

inculpating Mills, both four days after the murders to law enforcement, and again at

trial, and her testimony both times was consistent. A second eyewitness recalled a

car resembling Mills’ at the scene of the crime. Clothing labeled with Mills’ name

and the murder weapons were found in the trunk of his car the day after the

murders, all of which contained the victims’ DNA. A concrete block was also

found with these items, which the State argued Mills and JoAnn were going to use

to sink the evidence. (Vol. 10 at R. 920.) Mills also testified in his own defense,

denying that he had committed the murders, and the jury was entitled to disbelieve

him. Even if there was a question as to whether Howe’s DNA would match that

found on the murder weapons, Howe denied participation in the murders and had

two alibis. Although Howe was found with one of Vera Hill’s prescription pill

bottles, he testified that Mills sold him some of her pills on the evening of the

murders. Given the overwhelming evidence of guilt, the admission of the CODIS

testimony did not affect the outcome of the trial, Mills is not entitled to relief.

      B.     Mills’ three-fold claim that (1) the trial court violated his due
             process, Eighth Amendment, and Fourteenth Amendment rights
             when it failed to instruct the jury on lesser-included offenses of
             assault and robbery and felony murder, in violation of Beck v.

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             Alabama, 447 U.S. 625 (1980); (2) the trial court violated his Sixth
             Amendment right to counsel when it asked Mills himself to decide
             whether to give the lesser-included offenses instructions; and (3)
             defense counsel was constitutionally ineffective in failing to
             adequately assert Mills’ right to have his counsel make this
             decision

             1.    The Substantive Claims

      Next, Mills argues that the trial court erred by not instructing the jury on two

lesser-included offenses: (1) assault and robbery in the case of Vera Hill, based on

the possibility that her death (more than two months after the offense) was caused

by pre-existing disease rather than her wounds, and (2) felony murder as to both

victims based on nullification of specific intent to kill by methamphetamine-

induced intoxication. Mills also claims that the trial court deprived him of his right

to counsel guaranteed by the Sixth Amendment by requiring Mills himself to

consent to his defense counsels’ decision on whether to give the lesser-included-

offenses instructions, because such a decision is a strategic, tactical decision

reserved only for counsel, not the defendant.

      Mills raised both claims for the first time in his petition for certiorari to the

Alabama Supreme Court, and that Court, in a thorough discussion, rejected the

claims on the merits, utilizing a plain error review because Mills had not raised

them on direct appeal to the ACCA. See Ex parte Mills, 62 So. 3d 574, 581-90 (Ala.

2010). The Alabama Supreme Court’s analysis is as follows:

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Mills argues first that “the trial court violated Mr. Mills’ rights to
counsel and due process when it ignored counsel’s request for lesser-
included-offense instructions that were supported by the evidence.”
(Mills’ brief, p. 13.) Mills contends that the evidence at trial could
have supported guilty verdicts on lesser offenses than capital murder.
Specifically, Mills contends that the jury could have concluded (1) that
he committed the murders but was so intoxicated that he could not
have formed the intent necessary for a finding that he was guilty of
capital murder5 or, (2) as to counts two and three, that he did not
cause Vera’s death. He further maintains that his counsel “wanted the
court to give such instructions.” (Mills’ brief, p. 14.)

             [Footnote] 5: Mills bases this contention on
             JoAnn’s testimony during the State’s case-
             in-chief that she and Mills had stayed up all
             night on June 23 using methamphetamine
             and     that    they    both     had    used
             methamphetamine before driving to the
             Hills’ residence on June 24.

Following the closing arguments at trial, the trial court held a
conference with Mills and the attorneys regarding the jury
instructions. The entirety of the discussions in the record regarding
jury instructions as to lesser-included offenses is as follows:

      THE COURT: . . . Lesser-included offenses?

      MR. WILEY [co-counsel for Mills]: The only one that we
      could, you know, possibly fit in that we could come up
      with was, you know, like murder during the course of a,
      you know, felony murder. I don’t know what y’all think
      about that or even what we think about it actually; that is
      to say, whether we want you to give it even if you would. I
      don’t know. What do you think, Jack [Bostick, the district
      attorney]? Do you think there’s a possible lesser-included
      offense?



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     MR. BOSTICK: Probably the only one would be robbery,
     1st and assault, 1st on Vera if they believe she died from
     COPD [chronic obstructive pulmonary disease] and not
     from her wounds.

     MR. WILEY: You’re right about that. I probably should
     ask you to give that one. He is right about that.

     MR. MATHIS [co-counsel for Mills]: Yes.

     MR. WILEY: And that was quite an oversight on our—
     thank you, Jack.

     THE COURT: Robbery, 1st?

     MR. WILEY: And assault.

     THE COURT: Well, it’s perplexing to me too in a—I
     guess in a case like this you want to—if you have any
     question about it, you want to give as much—as far as the
     evidence will provide as far as lesser-included offenses for
     the defendant. I think the only way that a felony-murder
     charge would be appropriate is if there was evidence that
     [Mills] did not have the capacity because of
     methamphetamines to have a specific intent to commit
     capital murder. [Mills] testified he didn’t use drugs. The
     accomplice testified they did use drugs. So I guess I’m
     going to put the monkey on [ Mills’] back, and I think it’s
     clear that if I don’t give a felony-murder charge, I want
     [Mills] himself to say that he waives any—and of course,
     if I do that, I’m going to have to give the charge dealing
     with the lack of mental capacity due to intoxication and
     drugs, and there’s two sides to that coin too. If I do that, I
     don’t want the jury to infer from that that I’m saying,
     ‘Well, [Mills] lied on the stand about drug usage,’ but if I
     don’t give it and the jury—it’s either going to be capital
     murder, or he walks, one of the two. So I want [Mills] on
     the record—and I want y’all to confer with him and tell

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     him what we’re faced with here. If I don’t give that
     felony-murder charge, you know, I want him to waive it
     on the record, and the only charge I will give will be
     capital murder, and then in the case of Mrs. Hill robbery,
     1st and assault, 1st.

     MR. WILEY: We’ve already talked about it briefly this
     morning as we were trying to come up with whether the,
     you know, the drug-induced intoxication or whatever
     would satisfy. We were just, you know, thinking if that
     would work, would we do it, but we need to confer some
     more.

     THE COURT: Well, you need to confer with him
     because I think it’s clear in the caselaw I’ve looked at that
     even you can’t waive that; it has to be the defendant
     himself that would waive that. And you know, that’s—I
     want him to recognize, and I’m sure y’all will tell him,
     the disadvantages and benefits of me giving that felony-
     murder charge.

     MR. WILEY: Yes, sir. Well, we’ll do that right now if
     that’s all right.

     THE COURT: Please do.

     (Noon recess.)

     (12:55 p.m. The following took place outside the presence
     of the jury.)

     THE COURT: Okay. The jury is in the jury room now,
     and I wanted to take up a couple things before I charge
     the jury. Mr. Mills, I had a conversation with your
     attorneys prior to the lunch break discussing in my charge
     giving lesser-included offenses of capital murder,
     particularly with Ms. Vera Hill, the lesser-included
     offense of assault in the 1st degree and robbery in the 1st

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     degree if the jury believed that she died as a result of
     complications from her lung condition, heart and lung
     condition, rather than from blunt-force trauma. Also
     there were discussions regarding lesser-included offenses
     of capital murder being felony murder and possibly with
     an intoxication charge of manslaughter. Now, they
     informed me that it’s your desire, over their objection,
     but it’s your desire for me to only charge the jury as to
     the capital murder in Count 1 of Floyd Hill, Count 2 of
     Vera Hill, and then in Count 3 the capital murder of two
     or more people and not to give any lesser-included
     charges. Is that your desire?

     [MILLS]: Yes, sir.

     THE COURT: And you understand that that’s over your
     attorneys’ objection?

     [MILLS]: Yes, sir.

     THE COURT: And I’m not going to delve into your
     rationale behind that, but I know your attorneys have
     talked to you at length before and after the lunch break
     about waiving on your part any charge of any lesser-
     included offense. Am I right about that?

     [MILLS]: Yes, sir.

     THE COURT: Are you satisfied with the representation
     your lawyers have given you in advising you about the
     advantages, disadvantages and the ramifications
     associated with the Court not charging the jury as to any
     lesser-included offenses?

     [MILLS]: Yes, sir.

     THE COURT: Okay. And you waive those voluntarily—


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     [MILLS]: Yes, sir.

     THE COURT: —and freely of your own free will?

     [MILLS]: Yes, sir.

     THE COURT: And you’ve talked to your—you’ve got
     three lawyers sitting over there, and it’s my
     understanding they advised you for the Court to give
     lesser-included offenses, charges on lesser-included
     offenses, and you of your own free will and volition have
     instructed them to instruct the Court not to give lesser-
     included charges—

     [MILLS]: Yes, sir.

     THE COURT: —is that right?

     [MILLS]: Yes, sir.

     THE COURT: Okay. That’s what I will do. I’m going to
     do what you have requested with full understanding of
     the ramifications of not giving those lesser-included
     charges. I do want to ask your attorneys to discuss with
     you one more item. In the charge on the three capital-
     murder charges one of the elements the State of Alabama
     has to prove beyond a reasonable doubt is a specific intent
     to kill. Now, it is the law of Alabama that voluntary
     intoxication, although it’s not a complete defense to
     murder, or in this case capital murder, it can negate a
     specific intent to kill. But in order to do that, it’s got to be
     so compelling and so strong as far as the intoxication—
     when I say intoxication, I’m talking about either induced
     by alcohol or drugs—that you don’t know what you’re
     doing, the person, in essence, is drunk out of their gourd
     and doesn’t realize what they’re doing. And I know
     there’s been conflicting testimony about that, but I am
     prepared and I will give, if you desire, a charge on specific

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     intent, and certainly I’ll give the charge on that being one
     of the elements that have to be established beyond a
     reasonable doubt by the State, but also when I give them
     that charge, I’m prepared to give them the law in
     Alabama as it relates to voluntary intoxication and how it
     can negate that, specifically, ‘For it to negate—for
     voluntary intoxication to negate specific intent—it has to
     be such that the person is totally devoid of judgment and
     would be unable to form a specific intent. While
     voluntary intoxication does not excuse crime or justify
     crime, its excessiveness may produce such a mental
     condition as to render the intoxicated person incapable of
     forming specific intent.’ Now, that goes toward the intent
     element of all three of the capital-murder charges that the
     [district attorney] has to prove beyond a reasonable
     doubt. In other words, the person intoxicated literally
     does not know what they’re doing in order to negate
     specific intent. I’m prepared to give that charge, but I
     want you to discuss with your attorneys the fact that you
     have testified, I believe, that you weren’t under the
     influence of drugs on this particular day, June the 24th of
     ‘04, that you weren’t doing drugs, and I don’t want to
     plant in the jury’s mind any—to discredit your testimony
     in that regard by giving that charge.

     So if y’all would, I want y’all to discuss that with him and
     let me know what his desire is with regard to any charge
     regarding voluntary intoxication.

     MR. WILEY: Yes, sir.

     THE COURT: Or maybe y’all have already done that.

     MR. WILEY: Well, just one second.

     THE COURT: Sure.



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     (Discussion off the record between defendant and
     counsel.)

     MR. WILEY: Your Honor, we’ve decided to ask you not to
     give the charge on voluntary intoxication.

     THE COURT: Okay. And that’s your desire, Mr.
     Mills—

     [MILLS]: Yes, sir.

     THE COURT: —after consulting with your three
     attorneys?

     [MILLS]: Yes, sir.

     THE COURT: Okay. And you’ve had an opportunity to
     think through that and talk to your attorneys about that?
     And I’m not trying to delve into y’all’s trial tactics or
     anything like that, but did y’all advise him for me to give
     it, and he independently decided he didn’t want that, or
     did y’all—I guess I’m delving into attorney/client
     privilege, but—

     MR. WILEY: No. That’s fine. We don’t mind that at all,
     Your Honor, because we understand we’re all trying to
     do the right thing in an important case. He was of the
     opinion that it shouldn’t be given, and we were of the
     opinion that it probably—buried in the charge with
     everything else that you’re going to say over a period of
     20 minutes, it probably wouldn’t be anything that the
     jury would latch onto in a detrimental way to
     him. However, when we looked at it the other way, how
     can it be helpful to him? You know, what’s the
     likelihood—I mean, versus the possible detrimental
     effect, what’s the possibility that the jury is going to find
     him not guilty—if they find that he committed these
     murders, what’s the possibility they’re going to find him

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      not guilty because he was so intoxicated he didn’t know
      what he was doing? Almost none was what we came to, so
      there you have it.

      THE COURT: Okay. Do you understand that, Mr.
      Mills?

      [MILLS]: Yes, sir.

      THE COURT: And it’s your decision, having been
      advised by your attorneys, for the Court not to give any
      charge regarding voluntary intoxication?

      [MILLS]: Yes, sir.

      THE COURT: Okay.”

Thus, the record indicates that Mills’ defense counsel was initially
unsure whether to request instructions regarding lesser-included
offenses or voluntary intoxication. Possible lesser-included offenses
identified in the transcript above were (1) felony murder as to the
deaths of both Floyd and Vera, which would have been based on an
instruction regarding voluntary intoxication, and (2) robbery and
assault as to Vera, which would have required the jury to conclude
that Mills was involved in the crimes against Vera but that he did not
cause her death.

For the jury to have found that Mills was guilty of a lesser-included
offense such as felony murder, robbery, or assault, the jury would have
had to disregard Mills’ testimony that he was not involved in the
crimes. As recognized in the discussions quoted above, both the trial
court and Mills’ attorneys recognized that instructions as to lesser-
included offenses would have been inconsistent with Mills’ testimony
and could have prompted the jury to infer that Mills’ testimony was
false. Indeed, Mills’ counsel discussed that dilemma on the record:
defense counsel stated that because of the likelihood the instructions
would cast serious doubts on the credibility of Mills’ testimony,


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defense counsel ultimately advised Mills not to request instructions as
to voluntary intoxication.

As to instructions regarding the lesser-included offenses of robbery
and assault as to the count charging Mills with the capital murder of
Vera, the record indicates that after he had conferred extensively with
his counsel, Mills requested the trial court not to give the jury those
lesser-included-offense instructions. The trial court noted that Mills’
attorneys had advised him to request lesser-included-offense
instructions but that Mills did not want those instructions. Mills
responded in the affirmative when the trial court asked if he was
satisfied with the advice of his attorneys and whether he had a “full
understanding of the ramifications of not giving those lesser-included
charges.”

Mills contends that his defense counsel, and not Mills himself, had the
responsibility for making the decision whether to request instructions
on possible lesser-included offenses. He argues that the decision to
request lesser-included-offense instructions is “strategic” and
“tactical” in nature and, he says, is therefore reserved exclusively for
defense counsel. Consequently, he argues that the trial court erred in
following Mills’ wishes regarding lesser-included-offense instructions
rather than permitting his attorneys to decide whether to request
those instructions.

As an initial matter, it is not clear from the record that Mills’ attorneys
would      have     requested        instructions    on    lesser-included
         6
offenses. Although the trial court noted that Mills’ “all-or-nothing”
strategy was “over [his] attorneys’ objection,” defense counsel later
advised Mills not to seek the voluntary-intoxication instruction.
Furthermore, at the completion of the trial court’s instructions to the
jury, Mills’ attorneys stated that they had no objections to the charges.
Finally, as noted above, a lesser-included-offense instruction would
have been inconsistent with Mills’ testimony that he did not commit
the murders and could have implicitly suggested that Mills’ trial
testimony was false. Thus, we are not persuaded by Mills’ contentions
that his attorneys necessarily would have requested any lesser-


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included-offense instructions if the trial court had recognized his
attorneys as having the ultimate authority to do so.

             [Footnote] 6: The record does not support
             Mills’ contention that his counsel actually
             requested             lesser-included-offense
             instructions. See, e.g., Mills’ brief, p. 32
             (“[T]he trial court failed to honor trial
             counsel’s request for lesser-included
             offenses . . . .”).

The State cites Rule 1.2, Ala. R. Prof. Conduct, and Burton v.
State, 651 So. 2d 641 (Ala. Crim. App. 1993), aff’d, 651 So. 2d 659
(Ala. 1994), for the proposition that a trial court does not interfere
with the attorney-client relationship by following the defendant’s
wishes regarding trial strategy. Rule 1.2 states that an attorney is to
“abide by [his] client’s decisions concerning the objectives of
representation.” In Burton, the appellant argued that the trial court
had interfered with his attorney-client relationship during the penalty
phase by calling two of his codefendants as witnesses “after his
attorney had told the court that [the witnesses] could add nothing that
would help the appellant in mitigation.” 651 So. 2d at 656. The record
revealed, however, that the appellant clearly had wanted the two
witnesses to testify; indeed, the trial court had conducted “a lengthy
colloquy with the appellant concerning his desire to have his two
codefendants testify at the penalty phase of the proceedings.” 651 So.
2d at 656. Citing Rule 1.2, Ala. R. Prof. Conduct, the Court of
Criminal Appeals held that “[t]here was no interference with the
attorney-client relationship here, when the trial court was honoring
the appellant’s wishes.” 651 So. 2d at 656.

The State also cites Scott v. State, 937 So. 2d 1065 (Ala. Crim. App.
2005), in which the appellant, Scott, argued that the trial court had
“‘interfered’ with defense counsel’s trial strategy and ordered
counsel to call to the stand three witnesses Scott wanted to testify and
who defense counsel believed would be harmful to the case.” 937 So.
2d at 1071–72. The Court of Criminal Appeals rejected Scott’s
argument. Among other things, the court noted that the trial court, as

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the trial court had done in Burton, supra, conducted an extensive
colloquy with Scott on the issue. Additionally, the trial court allowed
defense counsel several hours to discuss the matter with Scott.
Moreover, defense counsel formally objected to the trial court’s
allowing Scott to decide which witnesses to call, and defense counsel
moved for a mistrial, arguing that the trial court erroneously allowed
Scott to decide matters of trial strategy. Finally, the Court of Criminal
Appeals, quoting Burton, 651 So.2d at 656, held that there was no
error because “‘there was no interference with the attorney-client
relationship.’” 937 So. 2d at 1074.

The State argues that Burton and Scott support the trial court’s failure
to give lesser-included-offense instructions in the present case. The
State contends that

       “the holdings of Burton and Scott do not suggest that a
       trial court must always submit to the desires of a
       defendant over the decisions of trial counsel regarding
       matters of trial strategy. Instead, each case simply holds
       that a trial court does not commit error for following what
       a defendant requests.”

(State’s brief, p. 29.)

Mills argues, however, that Burton and Scott, decisions of the Court of
Criminal Appeals, are not binding on this Court and that we should
reject those cases because, Mills argues, those decisions “fl[y] in the
face of” certain decisions of the United States Supreme Court that
Mills contends stand for the proposition that defense counsel has
exclusive control over all matters of trial strategy. (Mills’ brief, p. 29
n. 8.)

Among the United States Supreme Court decisions Mills cites
is Florida v. Nixon, 543 U.S. 175, 187, 125 S. Ct. 551, 160 L.Ed.2d 565
(2004), in which the Supreme Court stated:

       “An attorney undoubtedly has a duty to consult with the
       client regarding ‘important decisions,’ including

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      questions of overarching defense strategy . . . . That
      obligation, however, does not require counsel to obtain
      the defendant’s consent to ‘every tactical decision.’ . . .
      But certain decisions regarding the exercise or waiver of
      basic trial rights are of such moment that they cannot be
      made for the defendant by a surrogate. A defendant, this
      Court affirmed, has ‘the ultimate authority’ to determine
      ‘whether to plead guilty, waive a jury, testify in his or her
      own behalf, or take an appeal.’ . . . Concerning those
      decisions, an attorney must both consult with the
      defendant and obtain consent to the recommended
      course of action.”7

             [Footnote] 7: In Nixon, the defendant
             challenged his “counsel’s strategic decision
             to concede, at the guilt phase of the trial, the
             defendant’s commission of murder, and to
             concentrate the defense on establishing, at
             the penalty phase, cause for sparing the
             defendant’s life.” 543 U.S. at 178. The
             Florida Supreme Court had held that
             counsel’s concession, because it was made
             without the express consent of the
             defendant, “automatically rank[ed] as
             prejudicial ineffective assistance of counsel
             necessitating a new trial.” 543 U.S. at 178.
             The United States Supreme Court reversed
             the judgment of the Florida Supreme Court
             and held that the performance of the
             defendant’s counsel was not automatically
             deficient merely because counsel had not
             obtained the defendant’s express consent to
             the strategy of conceding guilt. 543 U.S. at
             187–92.

Mills also cites, for example, Taylor v. Illinois, 484 U.S. 400, 418–19,
108 S. Ct. 646, 98 L.Ed.2d 798 (1988), in which the United States
Supreme Court stated:

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      “Although there are basic rights that the attorney cannot
      waive without the fully informed and publicly
      acknowledged consent of the client, the lawyer has—and
      must have—full authority to manage the conduct of the
      trial. The adversary process could not function effectively
      if every tactical decision required client approval.”8

             [Footnote] 8:        The     United     States
             Supreme Court made the above-quoted
             statement in Taylor in response to the
             defendant’s argument that he “should not
             be held responsible for his lawyer’s
             misconduct.” 484 U.S. at 417. The
             defendant’s lawyer had failed to identify a
             defense witness in response to a pretrial
             discovery request, and the trial court, as a
             sanction for that failure to disclose the
             witness, refused to allow the witness to
             testify. The United States Supreme Court
             upheld the lower court’s refusal to permit
             the witness to testify. 484 U.S. at 401–02.

([Taylor] footnote omitted [by Alabama Supreme Court].) The gist of
Mills’ arguments in this regard is that the decision whether to request
a lesser-included-offense instruction is not one over which a defendant
has “ultimate authority”; therefore, he says, the trial court errs if it
allows the defendant to make the decision whether to request a lesser-
included-offense instruction.

In support of his position, Mills cites the decision of the Colorado
Supreme Court in Arko v. People, 183 P.3d 555 (Colo. 2008). In Arko,
the defendant was convicted of attempted reckless manslaughter. On
appeal, he argued “that the trial court erroneously refused his trial
counsel’s request to instruct the jury on the lesser non- included
offense of third-degree assault,” and he contended “that the trial
court was obligated to submit this instruction to the jury, even though


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he himself objected to the submission of this instruction.” 183 P.3d at
557.

The Colorado Supreme Court ultimately held that “the decision to
request a lesser offense instruction is strategic and tactical in nature,
and is therefore reserved for defense counsel.” 183 P.3d at 558. In
reaching that conclusion, the Colorado Supreme Court relied in part
on the commentary to Standard 4–5.2 in the third edition of the
American Bar Association’s Standards for Criminal Justice. The court
noted:

      “The commentary to the American Bar Association’s
      Standards for Criminal Justice also supports the
      conclusion that the decision whether to request lesser
      offense instructions rests with defense counsel. The
      current third edition overrules the previous edition that
      allocated the decision to request lesser offense
      instructions to the defendant. The commentary to the
      third edition states only that defense counsel must confer
      with the defendant regarding lesser offense instructions:
      ‘It is also important in a jury trial for defense counsel to
      consult fully with the accused about any lesser included
      offenses the trial court may be willing to submit to the
      jury.’ ABA Standards for Criminal Justice: Prosecution
      Function and Defense Function, Standard 4–5.2,
      Commentary (3d ed. 1993).

      “The second edition stated that ‘the defendant should be
      the one to decide whether to seek submission to the jury
      of lesser included offenses.’ ABA Standards for Criminal
      Justice:     Prosecution     Function      and     Defense
      Function, Standard 4–5.2, Commentary (2d ed. 1980).
      The omission of this language from the third edition
      indicates that under the current standards, the decision
      whether to submit lesser offense instructions is not a
      decision for the defendant, but rather for defense counsel
      after consultation with the defendant.


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      “Recent cases analyzing the effect of this change have
      concluded that under the current ABA standards, the
      decision whether to request lesser offense instructions is
      for defense counsel. See Cannon v. Mullin, 383 F.3d 1152,
      1167 (10th Cir. 2004) (based on change in third edition,
      ‘[w]hether to argue a lesser-included offense is a matter
      to be decided by counsel after consultation with the
      defendant’); Simeon [v. State], 90 P.3d [181,] at 184 [
      (Alaska Ct. App. 2004) ] (relying in part on the change in
      the ABA standards to hold that the decision to request
      lesser offense instructions rests with counsel); Mathre v.
      State, 619 N.W.2d 627, 629–31 (N.D. 2000) (holding that
      defense counsel was not ineffective for failing to consult
      with defendant about seeking lesser offense instructions,
      because under current ABA standards, the decision is not
      one that must be made by defendant).

      “Additionally, we note that several jurisdictions that give
      the defendant ultimate authority over the decision to seek
      lesser offense instructions rely at least in part on the
      second, outdated edition of the ABA standards. See People
      v. Brocksmith, 162 Ill.2d 224, 205 Ill. Dec. 113, 642
      N.E.2d 1230, 1232 (1994) (relying on second edition of
      ABA standards to conclude that the decision to request
      lesser offense instructions should be treated as the
      decision to plead guilty); State v. Boeglin, 105 N.M. 247,
      731 P.2d 943, 945 (1987) (same); In re Trombly, 160 Vt.
      215, 627 A.2d 855, 857 (1993) (same). The change in the
      third edition undermines such reliance.”

183 P.3d at 559-60.

Initially, we note that the facts in Arko are distinguishable from those
in the present case in these significant respects: (1) Mills’ counsel
consulted extensively with him about whether to request lesser-
included-offense instructions or instructions about voluntary
intoxication, see ABA Standards for Criminal Justice: Prosecution
Function and Defense Function, Standard 4–5.2, Commentary (3d ed.

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1993) (“the ABA Standards ”) (“It is also important in a jury trial for
defense counsel to consult fully with the accused about any lesser
included offenses the trial court may be willing to submit to the
jury.”); (2) Mills’ counsel ultimately decided not to request an
instruction regarding voluntary intoxication; and (3) at no point did
Mills’ counsel clearly ask the trial court to give instructions on lesser-
included offenses.

More than that, however, we are not persuaded by the reasoning of the
Colorado Supreme Court in Arko. The Arko court cites several cases
as standing for the proposition that “the decision whether to request a
lesser offense instruction is a decision for defense counsel.” Arko, 183
P.3d at 559 n.2. However, those cases involve claims alleging
ineffective assistance of counsel in which the appellants challenged the
decisions of their defense counsel regarding lesser-included-offense
instructions.9 From the fairly well settled proposition that the decision
whether to request lesser-included-offense instructions is a tactical
decision to be made by counsel and to be evaluated for reasonableness
in a claim alleging ineffective assistance of counsel, the Arko court
concluded that a trial court errs if it permits the defendant to make the
decision regarding lesser-included-offense instructions, even if the
defendant has been extensively advised by his counsel about the
matter.

             [Footnote] 9: The Colorado Supreme Court
             cited United States v. Mays, 466 F.3d 335,
             342 (5th Cir. 2006) (rejecting claim of
             ineffective assistance of counsel regarding
             counsel’s decision to request a manslaughter
             instruction; defendant wanted only self-
             defense argued to the jury); Tinsley v.
             Million, 399 F.3d 796, 808 (6th Cir. 2005)
             (rejecting claim of ineffective assistance of
             counsel regarding counsel’s decision not to
             request a self-defense instruction or lesser-
             included-offense instruction; this was “a
             permissible exercise of trial strategy”
             because the primary line of defense was that

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           defendant was not the shooter); Neal v.
           Acevedo, 114 F.3d 803, 806 (8th Cir. 1997)
           (“[T]rial counsel’s decision not to request
           the lesser-included offense instructions was
           reasonable trial strategy because the
           instructions would have been inconsistent
           with [the defendant’s] alibi defense.”); State
           v. Sheppard, 270 Mont. 122, 130, 890 P.2d
           754, 757 (1995) (“This Court has previously
           held that when defense counsel makes a
           tactical decision to forgo an instruction that
           is inconsistent with the defense, we will not
           find error supporting an ineffective
           assistance of counsel claim.”); State v.
           Edwards, 119 Ohio App. 3d 106, 111–12, 694
           N.E.2d 534, 538 (1997) (“[T]his court finds
           that appellant’s trial counsel had the
           authority to make the decision to forgo a jury
           instruction[ ] on the lesser included offenses
           of voluntary manslaughter or involuntary
           manslaughter, because that decision is not so
           inherently personal to appellant that it could
           be waived only by appellant. Therefore, this
           court finds that the decision not to ask for an
           instruction on lesser included offenses is a
           decision that could be made by trial counsel
           without the express authority of the
           appellant. Thus, based upon a review of the
           record in the present case, this court cannot
           say that the decision of trial counsel to forgo
           a jury instruction on lesser included offenses
           to murder was unreasonable under the
           circumstances. Appellant has not met his
           burden of demonstrating that he was entitled
           to relief based upon his claim of ineffective
           assistance of counsel.”); State v. Eckert, 203
           Wis. 2d 497, 510, 553 N.W.2d 539, 544 (Ct.
           App. 1996) (“[W]e conclude that a

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             defendant does not receive ineffective
             assistance where defense counsel has
             discussed with the client the general theory
             of defense, and when based on that general
             theory, trial counsel makes a strategic
             decision not to request a lesser-included
             instruction because it would be inconsistent
             with, or harmful to, the general theory of
             defense.”).

As set forth above, the Arko court cited the commentary to the ABA
Standards as “support[ing] the conclusion that the decision whether
to request lesser offense instructions rests with defense counsel.”
That commentary indeed supports that conclusion for the limited
purpose of evaluating a claim alleging that counsel has been ineffective
in regard to requesting lesser-included-offense instructions. But we do
not think it supports the conclusion that the defendant may never
make the ultimate decision regarding a matter of trial strategy such as
the one involved here.

Similarly, we do not read the decisions of the United States Supreme
Court in Nixon, supra, or Taylor, supra—which hold that counsel does
not need the client’s approval for every tactical decision—as implying
that a trial court commits reversible error if it permits the defendant to
make a tactical decision after the defendant has been advised by
counsel regarding that decision. Simply because defense counsel may
make the tactical decision whether to request certain jury instructions,
it does not follow that the trial court is required to follow the wishes of
defense counsel as to every decision regarding trial strategy under any
circumstance, even over the objection of the defendant.10

             [Footnote] 10: In this regard, the State
             argues:

             “In Mills’ view, anytime there is a
             disagreement between counsel and the
             defendant on any matter of trial strategy,
             and if the trial court follows any decision

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                    other than that of defense counsel, it would
                    result in reversible error. Such a result is
                    simply ridiculous. It strains logic to suggest
                    that defense counsel could totally and under
                    any circumstance deprive his client of the
                    opportunity to pursue a strategy of complete
                    innocence rather than seek a compromise
                    verdict based on lesser-included offenses.”

                    (State’s brief, p. 41.)

      Based on the foregoing, we conclude that under these
      circumstances—i.e., Mills received extensive time to discuss the
      matter with his attorneys and his attorneys did not clearly object to
      Mills’ decision not to request lesser-included-offense instructions—
      the trial court did not commit plain error in permitting Mills to decide
      whether to request instructions as to lesser-included offenses.


Id.

      Pursuant to 28 U.S.C. § 2254(d)(1)-(2) and Boyd, 592 F.3d at 1292, Mills’

task is to establish not only that his claims are meritorious but also that the Alabama

Supreme Court’s rejection of the claims was either an unreasonable determination

of the facts in light of the evidence presented or was contrary to, or involved an

unreasonable application of, clearly established Supreme Court precedent. Each of

the two claims is addressed separately.

                    i.     The Beck Substantive Claim

      Mills contends that the Alabama Supreme Court’s decision was contrary to

Beck v. Alabama, 447 U.S. 625 (1980), which he contends stands for the proposition

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that a trial court cannot refuse to give a requested lesser-included-offense

instruction in a capital murder case where the instruction is supported by the

evidence. Under Alabama’s capital murder statute at the time Beck was decided,

the trial judge was “specifically prohibited from giving the jury the option of

convicting the defendant of a lesser included offense.” Id. at 627. The concern with

Alabama’s statute was that a capital conviction will be unreliably obtained if the

jury is only provided with the extreme choices of death or acquittal. The Supreme

Court explained that the jury’s natural reticence to let a defendant it believes has

committed a homicide walk free creates an unacceptable risk that the jury will fail

to “accord the defendant the full benefit of the reasonable-doubt standard” with

regard to the elements of capital murder. Id. at 634. Instead, the jury, faced with a

difficult choice between returning a legally unjustified capital murder conviction

and a morally unjustified acquittal, will be tempted impermissibly “‘to resolve its

doubts in favor of conviction.’” Id. (quoting Keeble v. United States, 412 U.S. 205,

213 (1973)). Therefore, the Supreme Court held, the Eighth Amendment and due

process require that a court instruct the jury on any applicable lesser-included

offenses requested by a capital defendant if they are supported by the evidence. Id.

at 638.




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      As an initial matter, the trial court in Mills’ case did not violate Beck’s

directive because it did not prohibit Mills from instructing the jury on lesser-

included offenses—rather, it expressly permitted Mills, after time to consult with

his counsel, to decide whether he wanted to give the instructions, but he decided

against giving them. Nor is Beck even implicated in Mills’ case because the

evidence here would not have supported a verdict for the lesser-included offenses

of felony murder by virtue of voluntary intoxication or robbery and assault. Id. at

627. As noted above, Mills testified in his own defense that he did not kill the Hills.

(Vol. 9, Tab #R-19, R. 810-12.) As the Alabama Supreme Court noted, “both the

trial court and Mills’ attorneys recognized that instructions as to lesser-included

offenses would have been inconsistent with Mills’ testimony and could have

prompted the jury to infer that Mills’ testimony was false.” Ex parte Mills, 62 So.

3d at 585.

      Moreover, there was simply no rational basis for giving lesser-included

offense instructions for felony murder by virtue of voluntary intoxication or robbery

and assault in this case. The purpose of the felony murder doctrine is to hold felons

accountable for unintended deaths caused by their dangerous conduct. See Dobyne

v. State, 672 So. 2d 1319, 1345 (Ala. Crim. App. 1994). But there was evidence

presented that Mills killed both Vera and Floyd Hill by repeatedly striking them


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with a machete, ball-peen hammer, and tire tool. The evidence would not have

supported that Mills’ did not intend to cause their deaths.

      Nor would the evidence have supported a mere assault and robbery

instruction. The idea was that the jury might find that Vera Hill died from her

preexisting chronic obstructive pulmonary disease (“C.O.P.D.”) and not from her

blunt force wounds, because she lived for several months after the attack. (Vol. 10,

Tab #R-23, R. 923.) But Dr. Kenneth Snell, the State’s medical examiner, testified

that the cause of Vera Hill’s death was the result of bronchopneumonia as a

complication of blunt force trauma to head. (Id. at 511.) Dr. Snell’s opinion as to

the cause of death of Vera Hill was also consistent with two other medical

examiners. (Id. at 503.) Mills offered nothing at trial, nor does he offer anything in

his habeas petition, to contest this opinion or suggest that Vera Hill died from

anything but the injuries she received from Mills. Indeed, Dr. Sherry Melton, one

the trauma surgeons at UAB who treated Vera Hill, testified that the main injury

the trauma team was concerned with and required surgery was the fracture to Vera

Hill’s skull. (Vol. 8, Tab #R-17, R. 451.) Dr. Melton stated that she and her team

became aware of Vera Hill’s medical history and that she had a history of C.O.P.D.

or bad lungs, but that this “was not the major concern.” (Id. at 452.) Dr. Melton

further stated that C.O.P.D. can be a life-threatening disease over a long period but


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that people can live with it for ten to thirty years. (Id.) In contrast, Dr. Melton

stated that the head injuries that Vera Hill received were life-threatening and that

Vera Hill would have died within hours of receiving the injuries if she had not

received the type of medical attention she did. (Id. at 453.) Finally, Dr. Melton

testified that although Vera Hill was released from the hospital, she did not believe

that Vera Hill would survive for very long because of the trauma to the head. (Id. at

456.) The evidence would not have supported mere robbery and assault

instructions.

       In sum, because the trial court did not refuse to give lesser-included-offense

instructions, and because the lesser-included-offense instructions would not have

been supported by the evidence in this case, the Alabama Supreme Court’s

decision was not contrary to Beck. 4

                      ii.     The Deprivation of Counsel Substantive Claim

       Mills also contends that the trial court denied him his right to counsel in

violation of the Sixth Amendment when it required Mills to personally consent to


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        Mills contends that since the Alabama Supreme Court did not mention Beck, this Court
must review his Beck-violation claim de novo. Mills relies upon Johnson v. Secretary, Department of
Corrections, 643 F.3d 907, 930 (11th Cir. 2011) (de novo review required where state court issued
reasoned opinion but did not complete constitutional analysis). The Alabama Supreme Court did
complete an analysis of whether Mills’ due process and Sixth Amendment rights were violated.
The Court was not required to mention Beck, considering it did not apply. Even assuming the
Alabama Supreme Court should have analyzed Mills’ Beck-violation claim, Mills’ claim fails
under de novo review.
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his defense attorneys’ decision on whether to give the lesser-included-offense

instructions. He argues that the Alabama Supreme Court’s decision rejecting this

claim, as quoted above, was contrary to Powell v. Alabama, 287 U.S. 45, 68–69

(1932) (denial of due process to refuse to let a party be heard through counsel),

United States v. Cronic, 466 U.S. 648, 659 & n.25 (1984) (“[t]he Court has

uniformly found constitutional error without any showing of prejudice when

counsel was . . . prevented from assisting the accused during a critical stage of the

proceeding”); and Strickland, 466 U.S. at 688-89 (“[Any] particular set of detailed

rules for counsel’s conduct . . . would interfere with the constitutionally protected

independence of counsel and restrict the wide latitude counsel must have in making

tactical decisions.”).

      The Alabama Supreme Court conducted an extremely thorough evaluation

of this claim, see Ex Parte Mills, 62 So. 3d at 585–90, supra, analyzing not only

Alabama state court cases and rules of professional conduct but two United States

Supreme Court cases relied upon by Mills, Florida v. Nixon, 543 U.S. 175 (2004),

and Taylor v. Illinois, 484 U.S. 400 (1988), as well as a Colorado Supreme Court

case. The Alabama Supreme Court refused to “read the decisions of the United

States Supreme Court in Nixon, supra, or Taylor, supra—which hold that counsel

does not need the client’s approval for every tactical decision—as implying that a


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trial court commits reversible error if it permits the defendant to make a tactical

decision after the defendant has been advised by counsel regarding that decision.” Ex

Parte Mills, 62 So. 3d at 590 (emphasis added). In other words, the Alabama

Supreme Court reasoned that, merely because the decision whether to request

lesser-included-offenses is a strategic one that defense counsel may make without

the express permission or input from the defendant, that does not mean that the

trial court errs when it allows the defendant to make the decision after having time

to discuss the matter with counsel, which is what happened here. The Court is not

persuaded that this decision is contrary to, or was an unreasonable application of,

the rules espoused in Powell, Chronic, or Strickland, supra, because those rules were

applied to different scenarios. See Harrington, 562 U.S. at 786 (“The more general

the rule, the more leeway courts have in reaching outcomes in case-by-case

determinations.”). The Court is certainly not persuaded that the Alabama

Supreme Court’s ruling “was so lacking in justification that there was an error well

understood and comprehended in existing law beyond any possibility for

fairminded disagreement.” Harrington, 131 S. Ct. at 786-87.

      For these reasons, Mills has failed to show that the state court’s decision was

objectively unreasonable.

             2.    The Ineffective Assistance of Counsel Claim


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      As stated, Mills also alleges that his trial counsel was ineffective for failing to

raise the claim either at trial or on direct appeal that the trial court erred in (1)

refusing to give the lesser-included-offenses instructions of felony murder and

assault and robbery and (2) requiring Mills to make the decision whether to give

them, rather than his counsel.

      Mills properly5 presented this ineffective assistance of counsel claim for the

first time during his Rule 32 proceedings, and the ACCA rejected this claim on the

merits in its review of the circuit court’s denial of Rule 32 relief. (Vol. 21, Tab #R-

64 at 28-43; Mills v. State, CR13-0724, Mem. Op. at 28-43 (Ala. Crim. App. Dec.

11, 2015)). The ACCA found that the claim was refuted by the record and by the

Alabama Supreme Court’s opinion on direct appeal and otherwise without merit.

(Id. at 30.) The ACCA first quoted a large portion of the Alabama Supreme Court’s

opinion on direct appeal that rejected Mills’ substantive claim that the jury should

have been instructed on lesser-included offenses. (Id. at 30-43; see also portion of

Alabama Supreme Court’s decision quoted supra, pages 42-60.) The ACCA then

stated:

      The Alabama Supreme Court extensively addressed the circumstances
      surrounding Mills’ decision not to request instructions as to voluntary
      intoxication or lesser-included offenses. Critically, given Mills’
      insistence that he was actually innocent and his trial counsel’s pursuit

5     See note 3, supra.
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       of that theory with supporting alibi witnesses and arguments that the
       crimes were likely committed by someone other than Mills, the
       instructions that Mills now says were warranted would have been
       inconsistent with his defense theory. The Alabama Supreme Court
       noted repeatedly that Mills received extensive counsel regarding the
       decision not to request those instructions and that there was no plain
       error in the circuit court’s handling of that issue. The opinion in Ex
       parte Mills refutes the claims made in Mills’ Rule 32 petition that his
       attorneys were ineffective in any of the issues related to instructions
       on voluntary intoxication or lesser-included offenses, the circuit
       court’s summary dismissal of this claim was appropriate.

(Id. at 43.)

       Mills has not established that the ACCA’s analysis was objectively

unreasonable based on the facts presented or contrary to or an unreasonable

application of clearly established Supreme Court precedent. See 28 U.S.C. §

2254(d)(1)-(2); Boyd, 592 F.3d at 1292. With regard to the deficient performance

prong of Strickland, the ACCA impliedly concluded that it was not met by noting

that Mills received extensive counsel regarding the decision not to request lesser-

included-offense instructions and that the decision to forego the instructions was a

reasonable strategic decision. Indeed, there was certainly a strategic reason to

decline to request the lesser-included offense instructions—they would have been

inconsistent with Mills’ testimony that he did not commit the murders and would

have implicitly suggested that Mills’ trial testimony was false. Mills’ counsel, the

State’s counsel, and the trial judge discussed this dilemma at length. Mills cannot


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establish constitutionally deficient performance based on such a strategic, nuanced

decision. Indeed, numerous courts have rejected ineffective assistance of counsel

claims premised on defense counsels’ decisions regarding requesting lesser-

included-offense instructions—in both cases where counsel requested one and in

cases where counsel declined to request one—because the matter is a

quintessential exercise of trial strategy. See Ex Parte Mills, 62 So. 3d at 589 n.9

(citing cases).

       Further, although the ACCA did not discuss prejudice, Mills cannot

establish that he was actually prejudiced pursuant to Strickland. 6 Mills contends

that, had his counsel more adequately communicated with him that they should

request lesser-included-offense instructions, there was a reasonable probability that

he would have requested the lesser-included-offense instructions, that the trial

court would have given them, and that Mills would not have been convicted for

capital murder and sentenced to death. However, Mills fails to point to any

evidence supporting such a conclusion outside of pure speculation. As an initial

matter, as noted by the Alabama Supreme Court on direct appeal, and quoted by

the ACCA in denying this claim, “it is not clear from the record that Mills’


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       Mills contends that this Court must consider prejudice de novo, citing Rompilla v. Beard,
545 U.S. 374, 390 (2005) (“Because the state courts found the representation adequate, they
never reached the issue of prejudice and so we examine this element of the Strickland claim de
novo.”). Under any standard, Mills has not established prejudice.
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attorneys would have [even] requested instructions on lesser-included offenses.”

Ex parte Mills, 62, So. 3d at 585. Indeed, although the trial court noted that Mills’

decision to instruct the jury only on first degree murder was “over [his] attorneys’

objection,” Mills’ defense counsel later advised Mills not to seek the voluntary-

intoxication instruction, which at least raises the question whether Mills’ counsel

also may have ultimately counseled against the assault and robbery instruction. See

id. at 584–86. Additionally, at the completion of the trial court’s instructions to the

jury, Mills’ attorneys stated that they had no objections to the jury charges as

given. See id. at 586. Moreover, Mills cannot establish with any actuality that, had

the jury had been instructed on voluntary intoxication and assault and robbery, that

the jury would have convicted Mills of something less than capital murder,

considering that Mills’ testimony was that he had no involvement in the murders,

and both the assault and robbery and voluntary intoxication instructions required a

finding that Mills did kill, or at least harm, the Hills.

       Because Mills has not established that he was actually prejudiced by his trial

counsel’s alleged failures, he is not entitled to relief on this claim.

       C.     Mills’ claim that he was denied effective assistance of counsel
              during the guilt phase of his trial

       Mills next argues that his defense counsel did not render reasonably effective

legal representation during the guilt phase of his trial and thereby denied him his

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rights under the Fifth, Sixth, Eighth, and Fourteenth Amendments to the United

States Constitution. Mills divides this claim into fourteen sub-claims, each of which

is addressed in turn.

             1.     Mills’ claim that his trial counsel failed to adequately advise
                    him with regard to whether to testify

      Mills asserts that his counsel failed to discuss this matter with him at all prior

to the start of trial, and that during the trial, his counsel simply told Mills that he

would need to decide if he wanted to testify and let them know.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition, holding that this claim was insufficiently pleaded. (Vol. 21, Tab

#R-64 at 19-20; Mills v. State, CR-13-0724, Mem. Op. at 19-20 (Ala. Crim. App.

Dec. 11, 2015)). The ACCA noted that Mills only alleged that he was “unable to

discuss the complicated strategic considerations involved in such a decision[.]” (Id.

at 20.) The ACCA held that “[t]his bare assertion of prejudice is insufficient to

meet Mills’ burden of pleading.” (Id.)

      Mills has not demonstrated that the ACCA’s decision was an unreasonable

determination of the facts or contrary to clearly established Supreme Court

precedent. He cites United States v. Hung Thien Ly, 646 F.3d 1307, 1313 (11th Cir.

2011), in which the Eleventh Circuit noted: “In cases where a defendant is

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represented by counsel, counsel is responsible for providing the advice needed to

render the defendant’s decision of whether to testify knowing and intelligent.”

Mills also cites the Alabama Rules of Professional Conduct and the American Bar

Association’s Standards for Criminal Justice for the general proposition that

counsel should discuss and advise the client on such matters. These general

statements, however, do not establish that Mills’ claim, as pleaded, entitles him to

relief. Mills merely raises the bare allegation that his counsel’s discussions with

him were insufficient. He fails to allege any facts concerning what aspects of his

decision to testify, or his testimony itself, would have been different, had counsel

discussed the issue with him more thoroughly. Mills has failed to demonstrate how

the ACCA’s decision that this claim was properly summarily dismissed was

objectively unreasonable, and thus, he is due no relief.

              2.    Mills’ claim that his trial counsel failed to adequately
                    advise him with regard to instructing the jury on lesser-
                    included offenses

      This allegation is essentially the same claim that Mills alleges in Part IV.B.2.,

supra, at pages 66-70. For the reasons stated in that section, Mills is due no relief on

this claim.

              3.    Mills’ claim that his trial counsel failed to investigate the
                    State’s case against him and failed to adequately investigate
                    and present any reasonable theory of defense


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      Mills’ claim is made up of seven sub-claims of alleged failure-to-investigate,

and each is addressed below. Mills raised each of these seven sub-claims for the

first time in his Rule 32 proceedings, and the ACCA rejected each on the merits in

its review of the circuit court’s denial of Mills’ Rule 32 petition. (Vol. 21, Tab #R-

64 at 19; Mills v. State, CR-13-0724, Mem. Op. at 19 (Ala. Crim. App. Dec. 11,

2015)). Mills argues that the ACCA’s conclusions with regard to each sub-claim

were unreasonable applications of the Supreme Court’s holdings in Wiggins v.

Smith, 539 U.S. 510, 521 (2003) (“[C]ounsel has a duty to make reasonable

investigations or to make a reasonable decision that makes particular investigations

unnecessary. In any ineffectiveness case, a particular decision not to investigate

must be directly assessed for reasonableness in all the circumstances, applying a

heavy measure of deference to counsel’s judgments.”) (quoting Strickland, 466

U.S. at 691); Rompilla v. Beard, 545 U.S. 374, 387 (2005) (“It is the duty of the

lawyer to conduct a prompt investigation of the circumstances of the case and to

explore all avenues leading to facts relevant to the merits of the case and the

penalty in the event of conviction.”) (quoting 1 ABA Standards for Criminal Justice

4–4.1 (2d ed. 1982 Supp.)); and Williams v. Taylor, 529 U.S. 362, 396 (2000)

(finding trial counsel ineffective where failure to uncover and present evidence




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could not be seen as a tactical decision because counsel had not “fulfill[ed] their

obligation to conduct a thorough investigation of the defendant’s background”).

      However, the Court wishes to note at the outset that counsel’s duty to

investigate “does not necessarily require counsel to investigate every evidentiary

lead.” Williams v. Allen, 542 F.3d 1326, 1337 (11th Cir. 2008). “Under Strickland,

strategic choices made after less than complete investigation are reasonable

precisely to the extent that reasonable professional judgments support the

limitations on investigation.” Id. (quotation marks and citations omitted). Compare

Strickland, 466 U.S. at 699 (stating that counsel’s “decision not to seek more

character or psychological evidence than was already in hand was . . . reasonable”),

with Porter v. McCollum, 558 U.S. 30, 39-40, (2009) (noting that counsel “failed to

uncover and present any evidence of Porter’s mental health or mental impairment,

his family background, or his military service,” and “[t]he decision not to

investigate did not reflect reasonable professional judgment”).

      “In assessing the reasonableness of an attorney’s investigation, . . . a court

must consider not only the quantum of evidence already known to counsel, but also

whether the known evidence would lead a reasonable attorney to investigate

further.” Wiggins, 539 U.S. at 527. Of course, “a complete failure to investigate

may constitute deficient performance of counsel.” Parker v. Sec’y for Dep’t of Corr.,


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331 F.3d 764, 787 (11th Cir. 2003); see also Housel v. Head, 238 F.3d 1289, 1294

(11th Cir. 2001) (explaining that “a failure to investigate can be deficient

performance in a capital case when counsel totally fails to inquire into the

defendant’s past or present behavior or life history”). That said, “no absolute duty

exists to investigate particular facts or a certain line of defense.” Chandler, 218 F.3d

at 1318. Finally, “[a] decision to limit investigation is ‘accorded a strong

presumption of reasonableness,’” Mills v. Singletary, 63 F.3d 999, 1021 (11th Cir.

1995) (internal quotation marks omitted), and “to be effective a lawyer is not

required to ‘pursue every path until it bears fruit or until all hope withers.’”

Williams v. Head, 185 F.3d 1223, 1237 (11th Cir. 1999) (quoting Foster v. Dugger,

823 F.2d 402, 405 (11th Cir. 1987)).

      The Court also notes that Wiggins, Rompilla, and Williams, on which Mills

relies, are specific applications of Strickland to materially different factual

circumstances from those present in this case. Counsel in Rompilla were held to

have conducted an inadequate investigation despite having interviewed the

defendant, five members of the defendant’s family, and three mental-health experts

because counsel failed to examine the defendant’s prior conviction for rape and

assault, a “readily available” public document located “at the very courthouse

where” the defendant’s trial would be held. See 545 U.S. at 381–84. Counsel’s


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failure to investigate the defendant’s prior conviction was unreasonable because

that conviction could serve as an “aggravator” under Pennsylvania’s death-penalty

law and counsel knew, as evidenced in a “plea letter” written by counsel, that

prosecutors planned to seek the death penalty on the basis of that conviction. Id. at

383–84; see also id. at 390 (“Other situations, where a defense lawyer is not charged

with knowledge that the prosecutor intends to use a prior conviction in this way,

might well warrant a different assessment.”).

      In Wiggins, defense counsel’s investigation into mitigating evidence drew

from three sources: reports prepared for the defense by a psychologist; a pre-

sentence report containing vague indications of Wiggins’ troubled background; and

Department of Social Service (“DSS”) records documenting Wiggins’ various

foster care placements. 539 U.S. at 523. Despite having this information, Wiggins’

counsel introduced no evidence concerning his life history during the sentencing

hearing. Id. at 515. During state post-conviction proceedings, Wiggins presented

testimony from a social worker who had prepared an elaborate social history report

on Wiggins’ background. Defense counsel had procured no such report, despite

admitting that doing so was standard among capital practitioners in Maryland at the

time and despite having funds available to do so. Id. at 523–25. The report

contained evidence that Wiggins suffered severe physical and sexual abuse at the


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hands of his mother and while in the care of a series of foster parents. Id. at 516-17.

The Supreme Court held that the decision of Wiggins’ trial counsel not to expand

the scope of their investigation into his background fell short of prevailing

professional standards, especially considering the “red flags” in Wiggins’ DSS

records that defense counsel had seen. Id. at 525.

      Similarly, counsel in Williams were held to have conducted an inadequate

investigation by failing to uncover extensive records graphically describing

Williams’ “nightmarish” childhood, including records indicating that his parents

had been imprisoned for the criminal neglect of Williams and his siblings, that

Williams had been severely and repeatedly beaten by his father, and that he had

been committed to the custody of the social services bureau for two years during

his parents’ incarceration (including one stint in an abusive foster home), and that

Williams was “borderline mentally retarded” and did not advance beyond sixth

grade in school. 529 U.S. at 395.

      Keeping these principles and case illustrations in mind, the Court turns to

Mills’ specific sub-claims.

                    i.    Mills’ claim that his trial counsel failed to adequately
                          communicate with him prior to trial




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      Mills asserts that his trial counsel held only three brief meetings with him

prior to trial, and that only two of those three meetings involved any substantive

discussion of the case.

      Mills raised this sub-claim for the first time in his Rule 32 proceedings, and

the ACCA rejected it on the merits in its review of the circuit court’s denial of

Mills’ Rule 32 petition. (Vol. 21, Tab #R-64 at 19; Mills v. State, CR-13-0724,

Mem. Op. at 19 (Ala. Crim. App. Dec. 11, 2015)). Specifically, the ACCA held that

Mills’ claim was insufficiently pleaded because his Rule 32 petition “does not

allege . . . any facts that trial counsel would have discovered through ‘meaningful

interviews,’ nor does the petition allege how such additional facts gleaned through

more interviews would have had a reasonable probability of affecting the outcome

of his trial.” (Id.) The court also cited Washington v. State, 95 So. 3d 26, 61-62 (Ala.

Crim. App. 2012) for the proposition that there is no Sixth Amendment right to a

meaningful relationship between client and counsel. (Id.)

      Mills has failed to establish how the ACCA’s decision was objectively

unreasonable. Indeed, the Supreme Court has rejected the substantive argument

Mills raised in his Rule 32 proceedings: “No court could possibly guarantee that a

defendant will develop . . . rapport with his attorney—privately retained or

provided by the public. . . . Accordingly, we reject the claim that the Sixth


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Amendment guarantees a ‘meaningful relationship’ between an accused and his

counsel.” Morris v. Slappy, 461 U.S. 1, 13-14 (1983). Thus, because the ACCA’s

holding that Mills’ claim was subject to summary dismissal was reasonable, Mills is

due no relief.

                   ii.    Mills’ claim that his trial counsel failed to investigate
                          the State’s key witness, JoAnn Mills, to find evidence
                          that would have supported Mills’ testimony and
                          impeached JoAnn’s testimony


      Mills contends that if his counsel had interviewed Mills’ father, Donnie

Mills; Mills’ siblings, Kim Mobley and Johnnie Mills; or other friends and

acquaintances, they would have learned that JoAnn had a long history of drug use;

that she was addicted to methamphetamine; that she and Mills were having marital

problems and she in fact was having an affair with Benji Howe at the time of the

murders; and that she and Howe used drugs together. Mills argues that had counsel

investigated and presented this evidence, he would have been able to impeach

JoAnn’s testimony, which was crucial to the State’s case against Mills. He also

suggests that evidence concerning infidelity, Howe, and marital problems between

JoAnn and Mills would have allowed the jury to draw the inference that JoAnn and

Howe had a motive to fabricate their stories and cover for each other to falsely

accuse Mills of murder.


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      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 22-23; Mills v. State, CR-13-0724, Mem.

Op. at 22-23 (Ala. Crim. App. Dec. 11, 2015)). The ACCA held that this claim was

insufficiently pleaded, without merit, and refuted by the record. (Id. at 22.) In

support, the court first listed specific examples of how “trial counsel questioned

JoAnn extensively on cross-examination,” which refuted Mills’ allegation that they

failed to investigate JoAnn and her potential testimony. (Id. at 23.) The court then

noted that the State presented witnesses at trial to corroborate Howe’s alibi, which

refuted Mills’ suggestion that Howe committed the murders. Finally, the court

found that “although the petition lists witnesses whom counsel should have

interviewed and states generally what the substance of those witnesses’ testimony

would have been concerning ‘JoAnn’s infidelities,’ it is not clear that any of that

testimony would have in fact been admissible at Mills’ trial.” (Id.)

      Mills has failed to show that the ACCA’s decision was objectively

unreasonable. The record indeed shows that Mills’ trial counsel specifically

questioned JoAnn about her methamphetamine and other drug use, her

relationship with Mills, and inconsistencies in statements she had given to the

police. JoAnn was questioned about the specific types of drugs she ingested around


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the time of the crime and even about her significant weight gain since the murders

due to the unavailability of drugs in jail. (Vol. 9, Tab #R-18, R. 724, 729.) JoAnn

also explained that she and Mills had an “on-again-off-again” relationship in which

they “would fight and break up and get back together.” (Id. at 771-72.) Mills also

testified about the length of their relationship, the nature of their marriage, and that

he and JoAnn had separated but got back together a month before the murders. (Id.

at 787.) JoAnn also gave detailed testimony about first having denied involvement

in the murders, but, three days later, confessing to law enforcement that Mills

committed the murders in her presence.

       Despite this, Mills presses that no evidence was presented at trial that JoAnn

was allegedly involved in a romantic affair with Howe, who was arrested as an

initial suspect in the murders. But the ACCA rejected this part of the claim as well,

impliedly finding that Mills’ counsel’s alleged failure to adequately investigate and

present “JoAnn’s infidelities” was not prejudicial to Mills for several reasons. As

noted, the ACCA reasoned that evidence had already been presented of JoAnn’s

rocky relationship history with Mills, thus implying that any additional evidence

about JoAnn’s infidelities would have been cumulative and unlikely to change the

outcome of the trial. The ACCA also noted that it was not clear that such evidence

about JoAnn’s “infidelities” would have been admissible at trial. Mills merely


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speculates that evidence that JoAnn was having an affair with Howe would have

been admissible as impeachment evidence of bias. But even assuming the trial court

would have allowed JoAnn to be cross-examined on her alleged affair with Howe,

the ACCA also found that Mills could not establish that the outcome of the trial

would have been different because Howe’s alibi was corroborated by two State

witnesses. Thus, it was unlikely that the jury would have inferred from the mere

fact that JoAnn and Howe were having an affair that Howe actually committed the

murders and JoAnn and Howe lied to implicate Mills. Although Mills’ contends

that these alibi witnesses’ testimony contradicted Howe’s testimony on some

points, he ignores the other overwhelming evidence against him, including JoAnn’s

eyewitness testimony, a second witness linking his vehicle to the crime scene, and

the clothing, murder weapons containing the victims’ DNA, and concrete block

found in his trunk. Given the overwhelming evidence of guilt, the admission of

testimony that JoAnn was having an affair with Howe would not have affected the

outcome of the trial.

      Mills simply cannot show that the state court’s resolution of this claim was

objectively unreasonable, particularly where he fails to cite any Supreme Court case

that conflicts with the state court’s decision. Thus, Mills is due no relief.

                    iii.   Mills’ claim that his trial counsel failed to investigate
                           a central suspect in the case, Benji Howe, to find

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                         evidence to support Mills’ testimony and impeach
                         Howe’s testimony

       Mills also asserts that trial counsel failed to adequately investigate Benji

Howe’s role in the crime and his story to the police. Mills points out the following

facts as relevant to this claim. The day after the murders, Howe was arrested with

$2,500 in cash and one of Vera Hill’s prescription pill bottles on his person. Floyd

Hill was known to carry a good deal of cash, and no significant amount of cash was

ever recovered from Mills or JoAnn. Howe told the police that Mills gave him the

pill bottle the night before, which would be the night of the murders. He also told

the police that Mills had sold him $100 worth of prescription pills. At trial, Howe

claimed that the $2,500 had been given to him by his brother after his brother sold

his truck. The police officers released Howe from custody immediately after he

provided his statement. Mills contends that had trial counsel conducted an

adequate investigation, they would have been able to challenge the story Howe told

the police and would have discovered that Howe had a criminal history of

convictions on drug-related charges, including distribution of prescription drugs.

They would have discovered that Howe had a reputation in the community as

being involved in drugs and other illegal activity, while Mills had never been

charged with any drug-related crimes and had only $14 to his name at the time of

his arrest.

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      Relatedly, Mills argues that his trial counsel were ineffective in failing to

interview Thomas Green and Melissa Bishop, who were both members of JoAnn’s,

Mills’, and Howe’s circle of friends and who testified at trial for the State.

According to Mills, they would have corroborated evidence that Howe and JoAnn

had reignited a romantic relationship shortly before the crime and that they were

using drugs together.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 23-24; Mills v. State, CR-13-0724, Mem.

Op. at 23-24 (Ala. Crim. App. Dec. 11, 2015)). The court held that the record

refuted Mills’ claim that his trial counsel did not adequately investigate Howe’s

potential role in the crime. (Id. at 24.) In particular, the court found that evidence

was already presented that Howe was a known user and dealer of drugs, that he had

previously been convicted of two felony drug convictions, and trial counsel had

specifically questioned Howe concerning the fact that he had received $2,500 from

his brother for selling a truck. (Id.) Moreover, the court noted that Mills’ claim that

his trial counsel should have presented testimony from witnesses Green and Bishop

to show that Howe and JoAnn were in a romantic relationship was refuted by the




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record, given that Green and Bishop did testify at trial, but that their testimony

supported of Howe’s testimony. (Id.)

      Mills has failed to establish that the ACCA’s rejection of this claim was

objectively unreasonable. Mills cannot demonstrate Strickland prejudice because

the very evidence that Mills alleged should have been presented was presented at

trial. Specifically, evidence was presented that Howe had criminal convictions and

a reputation for using and dealing drugs. (Vol. 7, Tab #R-17, R. 419, 422-23; Vol.

10, Tab #R-20, R. 870.) In any event, even assuming this evidence as true, simply

the fact that Howe had been involved in drug activity does not establish a

reasonable probability that the jury would have found reasonable doubt. Nor would

general evidence that Howe was involved in drug activity have any relevance to the

Hills’ murders.

      Mills takes issue with the ACCA’s conclusion that Green and Bishop would

not likely have testified that JoAnn and Howe were romantically involved because

their testimony generally supported Howe’s testimony. Mills is correct that this is

speculation, as counsel never cross-examined Green, Bishop or any witness about

JoAnn’s romantic relationship with Howe. Mills pleaded that, if asked, Green and

Bishop would have testified that JoAnn and Howe were romantically involved in

the months leading up to the crime. (Vol. 15, Tab #R-53, C. 21-22, ¶ 27.) But as


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discussed in the preceding section, evidence that JoAnn and Howe were having an

affair would not have changed the outcome of the trial, given the overwhelming

evidence of Mills’ guilt.

      Thus, Mills cannot show that the state court’s finding that this claim was

subject to summary dismissal was objectively unreasonable.

                    iv.     Mills’ claim that trial counsel failed to investigate his
                            cell phone records and evidence of tendonitis and/or
                            carpal tunnel syndrome in his right hand

      Mills asserts that trial counsel failed to obtain his cell phone records which

would have shown that he had been in contact with his father, Donnie Mills, via

cell phone several times between 4:00 and 7:00 p.m.—the time during which the

crime was committed. Mills contends that these conversations would have

corroborated his account of the day and contradicted JoAnn’s account, which did

not mention any calls to Donnie. Mills also argues that his counsel were ineffective

for failing to contact and interview Donnie, who would have corroborated these

facts and testified that he spoke with his son several times during this time. Mills

asserts that had his counsel adequately investigated this evidence, they would have

been able to present evidence corroborating Mills’ account and undermining

JoAnn’ s credibility.




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      Mills also contends that trial counsel failed to speak to doctors or nurses at

Northwest Medical Center who had treated him in the months prior to the crime

for tendonitis and/or carpal tunnel syndrome in his right hand. Mills asserts that

these medical witnesses could have confirmed the degree of weakness and

impairment in his right hand and offered opinions that the severity of Mills’ injury

would have prevented him from using his right hand to forcefully swing a ball-peen

hammer, machete, or tire tool. He contends that this evidence would have helped

corroborate the stressors on him that led to his heavy drug use around the time of

the crime, and testimony about the extent of the injuries would have supported his

counsel’s otherwise weak and conjectural suggestion to the jury that Mills was

physically unable to commit the crime.

      Mills raised these claims for the first time in his Rule 32 proceedings, and the

ACCA rejected them on the merits in its review of the circuit court’s denial of

Mills’ Rule 32 petition. (Vol. 21, Tab #R-64 at 20-22; Mills v. State, CR-13-0724,

Mem. Op. at 20-22 (Ala. Crim. App. Dec. 11, 2015)). The ACCA found that Mills’

claims were properly dismissed because they were insufficiently pleaded and

without merit. (Id. at 22.) First, the court found that Mills did present testimony

from Sherri Sanchez, who was the girlfriend of Mills’ father, Donnie, in order to

support Mills’ account of the crime. Specifically, the court noted that Sanchez


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testified that Donnie was on the phone with Mills at 7:00 pm during the evening

the crime occurred, that Mills and JoAnn came over to Donnie’s house later that

evening, and that Mills had carpal tunnel in his right hand and could not open his

cigarettes. (Id. at 21, citing Vol. 9, Tab #R-19, R. 779-84.) The ACCA also noted

that “[s]imply the fact that Mills called his father several times over a span of hours

does not lead to any probability, let alone a reasonable one, that the jury would have

had a reasonable doubt concerning guilt.” (Vol. 21, Tab #R-64 at 21.) The court

further noted that the fact that Mills had tendonitis or carpal tunnel in his right

hand, even if true, would not have established that he could not have committed

the murders. (Id. at 22.)

      Mills has failed to establish that the ACCA’s summary dismissal of this claim

was objectively unreasonable. Notably, Mills fails to cite any specific holding from

the United States Supreme Court that conflicts with the state court’s decision.

Thus, Mills is due no relief on this claim.

                    v.      Mills’ claim that trial counsel failed to investigate the
                            circumstances around the eyewitness testimony of
                            Jennifer Yaden

      Jennifer Yaden’s eyewitness testimony provided evidence that a white

vehicle was parked outside the Hill residence sometime during the afternoon on

June 24. Although she was unable to identify the make or model of the car, the


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State used her testimony to corroborate Mills’ presence at the crime scene, because

Mills drove a white car. Mills contends that trial counsel should have done more to

debunk the reliability of Yaden’s statements. Mills asserts that, had trial counsel

adequately investigated the scene of the crime, they would have discovered that

between Yaden’s house and the Hills’ home is a thick group of trees, which would

have been in full bloom in June and would have thus blocked the line of sight from

Yaden’s living room. If counsel had presented this information to the jury, Mills

contends, the jury would have understood Yaden’s testimony to be unreliable.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 24-25; Mills v. State, CR-13-0724, Mem.

Op. at 24-25 (Ala. Crim. App. Dec. 11, 2015)). The ACCA held that Mills’ claim

was subject to summary dismissal because, even assuming as true his allegation that

a thick group of trees would have blocked the line of site from Yaden’s living room

to the Hills’ home, “this fact is completely irrelevant and does not contradict

Yaden’s testimony in any way.” (Id. at 24.) The court noted that the record

established that Yaden testified she saw a white car while she was driving by the

Hills’ residence, not while she was in her own home. (Id.)




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      The record fully supports the reasonableness of the state court’s finding.

Specifically, Yaden saw the white car when she was driving by the victims’

residence, not when she was in her home. (Vol. 7, Tab #R-17, R. 429, 431.)

Moreover, the record indicates that Mills’ trial counsel extensively questioned

Yaden in an effort to weaken her testimony. (Id. at 430-35.) Finally, Mills failed to

plead or present any evidence in state court concerning what else trial counsel

could have done or what specific information counsel could have elicited to

challenge the reliability of Yaden’s testimony. Similarly, Mills has presented

nothing to demonstrate that the ACCA’s findings concerning this claim were

objectively unreasonable. Thus, Mills is due no relief.

                    vi.   Mills’ claim that trial counsel failed to investigate his
                          history of drug use and possible intoxication on the
                          day of the offense

      Mills names a host of individuals whom he says trial counsel should have

interviewed prior to trial: Donnie Mills, his father; his siblings Kim Mobley and

Johnny Mills; his former employers, co-workers and clients, including Ben

Hightower, Shane Lolley, Ferris Busby, or Marlon Wakefield; and Thomas Green

and Melissa Bishop, who testified at trial and knew Mills socially. Mills contends

that all of these witnesses would have told his trial counsel about his long history of

drug use; that he grew up in an environment where methamphetamine use was the


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norm; that both of his parents were addicted to methamphetamine and used drugs

throughout his childhood; that Mills used methamphetamine for the first time

when he was a teenager; that his father provided him with drugs and used drugs

with him; that Mills soon became dependent on methamphetamine and began to

use it almost every day; and that in the weeks prior to the offense, Mills had

relapsed and began using methamphetamine again after a period of abstinence.

Mills contends that this evidence would have supported a defense theory of

reduced culpability due to intoxication, citing an Alabama state court decision

recognizing that voluntary intoxication “can be a complete defense in cases where

an accused is charged with a crime requiring a specific intent, for the reason that if

specific intent is an essential element of a crime, and such specific intent is lacking

because of the incapacity of the accused to entertain specific intent, the crime has

not been committed. See Coon v. State, 494 So. 2d 184, 187 (Ala. Crim. App. 1986).

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 25-27; Mills v. State, CR-13-0724, Mem.

Op. at 25-27 (Ala. Crim. App. Dec. 11, 2015)). The ACCA noted that Mills’

contention that his trial counsel should have investigated his drug use and

intoxication at the time of the offense was “premised on a theory at odds with the


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preceding claims [in the Rule 32 petition] that Mills had no involvement with the

crimes.” (Id. at 25.) As the court noted, pursuing such contentions would have

assumed that Mills committed the crimes, in contrast to his testimony during trial.

(Id.) The court further found that the Alabama Supreme Court had noted on direct

appeal that there was an “inherent conflict” between Mills’ trial strategy of

showing that he was innocent and a strategy of attempting to emphasize that Mills

had extensive drug use and was intoxicated on the day of the offense to suggest that

he lacked the specific intent to commit murder. (Id. at 25-26, citing Ex parte Mills,

62 So. 3d at 585.) Based on this record, the ACCA held that Mills’ claim was

without merit and properly dismissed, as his allegations related solely to a matter of

trial strategy. (Id. at 27.)

       The record supports the reasonableness of the state court’s decision. During

the guilt phase, Mills chose to testify in his own defense, in which he stated that he

did not use drugs around the time of the crime. (Vol. 9, Tab #R-19, R. 791.) If his

trial counsel had presented evidence of Mills’ long history of drug use, this

evidence would have directly contradicted his own client’s testimony.

       Mills argues that the ACCA’s decision was contrary to Strickland and

objectively unreasonable because it characterized his trial counsel’s performance as

strategic, when in reality, his counsel failed to investigate at all. He contends that it


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was deficient performance for counsel to have failed to investigate other defense

theories before making the decision to present an all-or-nothing defense hinging on

Mills’ testimony denying involvement in the murders, which was contradicted. In

Mills’ view, if his counsel had investigated his history of drug abuse prior to trial,

they could have mounted an intoxication defense from the beginning and advised

Mills not to testify. In other words, according to Mills, counsel’s decision not to

pursue an intoxication defense was the result of ignorance, not investigation, and

thus not the kind of strategic decision that Strickland insulates from scrutiny.

      But as the Supreme Court noted in Strickland, “[t]he reasonableness of

counsel’s actions may be determined or substantially influenced by the defendant’s

own statements or actions.” 466 U.S. at 691 (“For example, when the facts that

support a certain potential line of defense are generally known to counsel because

of what the defendant has said, the need for further investigation may be

considerably diminished or eliminated altogether. And when a defendant has given

counsel reason to believe that pursuing certain investigations would be fruitless or

even harmful, counsel’s failure to pursue those investigations may not later be

challenged as unreasonable.”). See also e.g., Williams v. Head, 185 F.3d 1223, 1237

(11th Cir. 1999) (“An attorney does not render ineffective assistance by failing to

discover and develop evidence of childhood abuse that his client does not mention


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to him.”). Mills certainly does not contend that he pleaded with his defense

counsel to further investigate his longtime drug abuse so that they could pursue an

intoxication defense, but they refused. Rather, Mills asserts that there were two

“red flags” that should have alerted counsel to his drug use and the availability of a

voluntary intoxication defense: they knew that Donnie, Mills’ father, was

incarcerated at the time of the trial for possession of a baggie of what “appeared to

be methamphetamine” (Vol. 10, Tab #R-28, R. 984), and they knew that JoAnn

had told law enforcement about Mills’ substance abuse. The Court disagrees.

Based on the factual record, a fairminded jurist could easily conclude that Mills’

counsel’s investigation into his background constituted reasonable assistance of

counsel under the circumstances known to his counsel at the time. After all,

counsel met multiple times with Mills prior to trial, and there is no indication in the

record that Mills ever admitted to drug use or to committing the murders. Given

the benefit of hindsight, Mills pictures a different defense theory that may have

been more successful and thus asserts that his counsel’s actions were inadequate.

Although Mills’ counsel probably could have investigated Mills’ background

further than they did, as will always be true for any lawyer not blessed with

unlimited time and resources, the record shows that both the scope and content of

their investigation were the result of informed strategic decisions. See Mills, 63 F.3d


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at 1021 (“[a] decision to limit investigation is ‘accorded a strong presumption of

reasonableness’”).

      Additionally, the vast differences between this case and the facts of Rompilla,

Wiggins, and Williams, as discussed within the introduction section to Mills’

ineffective assistance claims based on failure-to-investigate, see pages 75-77, supra,

preclude those cases from being controlling here.

      Thus, Mills is due no relief on this claim.

                     vii.   Mills’ claim that his trial counsel failed to
                            investigate his mental state at the time of the offense

      Mills lists the same litany of individuals that he names in the previous

section, asserting that had his trial counsel contacted them, his counsel would have

learned that he had suffered multiple traumatic events in the period leading up to

the murders. Mills contends that all of these witnesses would have told trial

counsel that while Mills succeeded temporarily in going clean from drugs from

2003 to early 2004, he suffered a relapse in spring 2004, approximately a month

before the crime, due to multiple stressors in his life. He recounts these stressors to

include his mother’s massive aneurysm in October 2003 that left her unable to

speak or recognize loved ones; his father’s stroke and heart attack in December

2003 that resulted in long-term physical disability and emotional distress; his

separation from JoAnn and the discovery of her infidelities in the spring of 2004;

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and his affliction of tendonitis and/or carpal tunnel syndrome that caused him pain

and prevented him from working as a mechanic, leaving him destitute. Mills

contends that this evidence would have led his counsel to pursue a defense theory

of reduced culpability due to extreme emotional distress at the time of the murders.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 25-27; Mills v. State, CR-13-0724, Mem.

Op. at 25-27 (Ala. Crim. App. Dec. 11, 2015)). As with the claim discussed in the

preceding section, the ACCA rejected this claim since this allegation would have

been in “inherent conflict” with Mills’ trial strategy. (Id. at 25.) As noted above,

Mills testified at trial that he was not involved in the crime and did not murder the

Hills. (Vol. 9, Tab #R-19, R. 811-12.) As the ACCA correctly recognized,

investigating Mills’ mental health would have not been relevant where Mills denied

all involvement in the crime. Such evidence would only have been relevant if Mills

admitted to being involved in the murders but asserted that such evidence of his

mental state reduced his culpability for the crime. (Vol. 21, Tab #R-64 at 25.)

      Several reasons from the state-court record support the state court’s

decision. First, although Mills contends that his counsel should have investigated

his mental state at the time of the offense, he failed to specifically plead in his Rule


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32 petition how any of the allegedly traumatic events had any relationship to the

murders. Notably, Mills attacked and robbed the Hills on June 24, 2004. Many of

the alleged traumatic events Mills listed in his petition occurred in 2003 with the

most recent event occurring several months before the murders in March 2004.

Mills failed to plead any factual basis in the state court to show how these

temporally distant events affected his mental state at the time of the offense.

Second, Mills failed to identify in his Rule 32 petition any specific mental disease or

defect that he allegedly suffered from that would have made his mental state

relevant at the time of the offense, and general mental issues do not qualify as a

defense under Alabama law. See § 13A-3-1, Ala. Code 1975 (“Mental disease or

defect does not otherwise constitute a defense.”). Simply the fact that Mills may

have been upset by his parents’ medical issues does not qualify as a severe mental

illness. Nor does that fact that Mills had a pain in his right hand qualify as a severe

mental illness. Finally, for all of the reasons discussed in the previous section

addressing Mills’ longstanding drug use, Mills’ attempt to show that his counsel’s

failure to investigate these “stressors” was not strategic but was the result of

ignorance, fails.

             4.     Mills’ claim that his trial counsel was ineffective in failing to
                    object to DFS lab director Rodger Morrison’s testimony
                    that he had been able to exclude Benji Howe as the source
                    of DNA on the murder weapon handles

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      Mills argues that his trial counsel should have objected to Morrison’s

testimony on two grounds: (1) it violated Mills’ right to confront witnesses

pursuant to Crawford; and (2) it did not meet the heightened reliability standards

for expert testimony pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509

U.S. 579 (1993).

      The Crawford allegation is essentially the same claim that Mills alleges in

Part IV.A.2., supra, at pages 35-40. For the reasons stated in that section, Mills is

due no relief on this claim.

      With regard the Daubert claim, Mills argues that his trial counsel failed to

object to the fact that the State produced no evidence identifying or describing the

method of analysis underlying the comparison of Howe’s DNA profile to the

material recovered from the murder-weapon handles. The Supreme Court in

Daubert held that “under the [Federal] Rules [of Evidence] the trial judge must

ensure that any and all scientific testimony or evidence admitted is not only

relevant, but reliable.” 509 U.S. at 589. The Daubert Court noted that “many

factors will bear on the inquiry [into whether an expert’s reasoning or methodology

is reliable], and we do not presume to set out a definitive checklist or test.” Id. at

593. Nevertheless, the Court did identify certain factors that may be pertinent to

such an inquiry, including “whether [the theory or technique at issue] can be (and

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has been) tested”; whether it “has been subjected to peer review and publication”;

the “known or potential rate of error” of the technique, as well as the “existence

and maintenance of standards controlling [its] operation”; and the degree to which

the relevant scientific community accepts the theory or technique as reliable. Id. at

593–94.

      Mills raised this claim in his Rule 32 proceedings, arguing that Morrison’s

testimony was unreliable “because the State produced no evidence even identifying

or describing the method of analysis underlying the purported comparison of

Howe’s DNA profile to the material recovered from the murder-weapon handles,

let alone attesting to testing, peer review, error rate, or general acceptance.” (Vol.

21, Tab #R-64 at 46; Mills v. State, CR-13-0724, Mem. Op. at 46 (Ala. Crim. App.

Dec. 11, 2015) (quoting Mills’ brief at 50-51)). The ACCA rejected it on the merits

in its review of the circuit court’s denial of Mills’ Rule 32 petition. (Vol. 21, Tab

#R-64 at 45-47; Mills v. State, CR-13-0724, Mem. Op. at 45-47 (Ala. Crim. App.

Dec. 11, 2015)). The ACCA held: “As to the suggestion that the comparison of the

submitted evidence against the CODIS database and the profile of Howe was

unreliable, Mills pleaded no facts that actually question the reliability of those

matters.” (Id. at 47.)




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      Mills has failed to demonstrate that this decision was objectively

unreasonable. As the state court found, Mills failed to plead what specific

objections or argument his trial counsel should have made against Morrison’s

testimony or the reliability of the DNA evidence in general. Nor did he plead what

testimony would have actually been found to be inadmissible had his trial counsel

objected. Mills also failed to plead that Morrison would not have been able to

provide additional information had trial counsel objected. And even if Mills’ trial

counsel had objected on these grounds, “‘[t]he failure of testimony to name the

DNA method used goes to the weight of the evidence, not its admissibility.’”

Morris v. State, 60 So. 3d 326, 371 (Ala. Crim. App. 2010) (quoting Broadnax v.

State, 825 So. 2d 134, 174 (Ala. Crim. App. 2000)).

      Mills has failed to point to facts in the state-court record to demonstrate that

the state court findings were unreasonable. Thus, he is due no relief.

             5.    Mills’ claim that trial counsel failed to identify and consult
                   necessary expert witnesses

      Mills contends that his trial counsel should have retained an expert to testify

at trial regarding the cause of death of Vera Hill, an expert on eyewitness

identification to rebut Jennifer Yaden’s testimony that she saw a white car at the

Hillses’ residence at the time of the crime, a forensic expert to challenge

Morrison’s testimony about Howe’s DNA in the CODIS database, a mental health

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expert to provide an opinion as to Mills’ mental health, and a psychology expert to

testify     about    the   psychological   effects   of   chemical    dependency     on

methamphetamine.

          Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 27; Mills v. State, CR-13-0724, Mem. Op.

at 27 (Ala. Crim. App. Dec. 11, 2015)). The court found that the circuit court’s

summary dismissal of this claim was appropriate because Mills failed to identify by

name any expert who could have testified in his case or assisted with his defense.

(Id. at 27.) The court held that Mills’ claim was insufficiently pleaded and that it

“failed to comply with the full-fact pleading requirements of Rule 32.6(b), Ala. R.

Crim. P,” citing numerous decisions from the ACCA that affirmed the summary

dismissal of claims based on a Rule 32 petitioner’s failure to plead the name of an

expert in a Rule 32 petition. (Id.)

          Mills cannot establish that the ACCA’s decision was objectively

unreasonable. As noted above, the court cited caselaw holding that a Rule 32

petition is required to plead the name of an expert and that expert’s expected

testimony. (Id.; see, e.g., Lee v. State, 44 So. 3d 1145, 1166-67 (Ala. Crim. App.

2009) (“a petitioner fails to meet the specificity requirements of Rule 32.6(b), Ala.


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R. Crim. P., when the petitioner fails to identify an expert by name or plead the

contents of that expert’s expected testimony”). Mills has failed to identify any

holding from the Supreme Court that conflicts with this decision.

      Moreover, Mills failed to plead specific facts concerning what the unnamed

experts’ testimony would have been. For example, Mills alleged that his trial

counsel should have retained an expert regarding cause of death who could have

provided a “sound medical opinion” that Vera Hill died from COPD. Yet Mills

failed to plead any specific facts concerning what the unnamed expert’s “sound

medical opinion” would have been, nor did he plead that an expert had actually

concluded that Vera Hill had died from COPD. This pleading failure establishes

that the ACCA’s decision that this claim was insufficiently pleaded was not

unreasonable. See Lee v. Comm’r, Ala. Dep’t of Corrs., 726 F.3d 1172, 1196 (11th Cir.

2013) (“Further, despite his factual allegations that he may have suffered head

trauma in a car accident, Lee has never alleged that a physician, mental health

professional, or other expert has concluded that Lee actually sustained a head

injury or is otherwise mentally impaired or impacted from the accident.”). Finally,

other than bare allegations, Mills failed to specifically plead how he was prejudiced

under Strickland by the failure to retain these experts. For these reasons, Mills




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cannot establish that the ACCA’s decision that this claim was insufficiently

pleaded and subject to summary dismissal was objectively unreasonable.

            6.     Mills’ claim that trial counsel failed to object when the
                   prosecutor, according to Mills, argued in opening
                   statements that Mills was the “kind of person” who would
                   commit a crime and when a law enforcement officer testified
                   that Mills was a suspect based on the suspicions he
                   developed while working in law enforcement

      Mills alleges that that his trial counsel was ineffective for failing to object to

what he contends was prosecutorial misconduct. Mills argues that his trial counsel

should have objected when the prosecutor argued in opening statements that Mills

was a suspect in the murders because law enforcement officers believed that he was

the “kind of person” who would likely commit a crime. Mills also contends that his

trial counsel should have objected to testimony from a law enforcement officer that

Mills was identified as a suspect based on his personal suspicions about Mills that

he developed while working in law enforcement. Mills says this testimony’s illegal

purpose was to show that Mills was known to be a bad character and would be

readily identified as a suspect in a murder even in the absence of other evidence

tying him to the crime.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 43-45; Mills v. State, CR-13-0724, Mem.

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Op. at 43-45 (Ala. Crim. App. Dec. 11, 2015)). The court held that the

“prosecutor’s opening statement did not refer to Mills as the ‘kind of person’ who

would have committed the crimes.” (Id. at 44.) The court noted that “[i]nstead,

the prosecutor explained that Mills was developed as a suspect because a witness

stated that she had noticed a white car coming and going from the Hills’ house

around the time of the murders and that Mills was one of the people in the rural

area who owned a white car. (R. 374.)” (Id.) The court further found that the

testimony from the law enforcement officer did not tend to show evidence of bad

character but was admissible to show how Mills became a suspect. (Id.) The court

then held that Mills’ trial counsel was not ineffective for failing to object to every

possible instance because objections “are a matter of trial strategy.” (Id. at 44-45.)

      Mills has failed to plead how the ACCA’s decision that this claim was

subject to summary dismissal was objectively unreasonable. The state-court record

confirms that Officer Larry Webb (“Webb”) did not testify that Mills was

developed as a suspect based solely on Webb’s personal suspicions, but rather

based on the fact that, among other things, Mills owned a vehicle that matched the

description of the vehicle observed near the crime scene. (Vol. 7, Tab #R-17, R.

418-419.) Webb further testified that because the murders occurred in a small

community, the potential suspect would likely need to know this particular area,


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and Mills and his wife had been seen in this area before and had family in the area.

(Id. at 419-20.) Thus, Mills’ contention that this evidence was admitted to show

evidence of bad character is meritless and refuted by the record. Contrary to his

contention, this evidence was introduced to explain how Mills was developed as a

suspect based on the information provided and available to law enforcement.

Indeed, the argument and testimony of which Mills complains were introduced in

conjunction with other information regarding the way the investigation developed.

(Id. at 373-75, 516-19.) Because Mills cannot show that the ACCA’s decision was

objectively unreasonable or contrary to Supreme Court precedent, he is due no

relief.

                7.    Mills’ claim that trial counsel failed to object to DFS DNA
                      analyst and crime scene investigator Robert Bass’s
                      testimony concerning DNA testing of items found in Mills’
                      trunk

          Mills alleges that his trial counsel was ineffective for failing to object on

Daubert grounds to the testimony of Robert Bass, a DFS employee, concerning

DNA material obtained from items that were found in Mills’ car. Mills asserts that

Bass simply testified to his opinion that certain stains contained human DNA, and

that the DNA material in those stains “match[ed]” the DNA of the victims, but he

did not explain the process used in the purported tests, nor how he applied that

process to any particular comparison.

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       Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 45-47; Mills v. State, CR-13-0724, Mem.

Op. at 45-47 (Ala. Crim. App. Dec. 11, 2015)). Specifically, the court held the

following:

       The record indicates that Bass testified that he tested and obtained the
       DNA profiles from the submitted evidence and that he entered those
       DNA profiles into the database of convicted offenders, which database
       Bass identified as “CODIS.” (Trial R. 624-26.) Further, Mills did not
       plead any facts that would have shown that Bass’s testimony or the
       testing methods he used were actually unreliable. Indeed, in cross-
       examining Bass, Mills’ counsel emphasized that Bass’s testing
       revealed that Mills’ own DNA was not on any of the tested evidence;
       thus, attacking the reliability of Bass’s methods would not have
       necessarily benefitted Mills.

(Id. at 46-47.)

       Similar to Mills’ claim that his counsel should have objected on Daubert

grounds to Morrison’s testimony, Mills has failed here to produce any evidence

showing that this decision was objectively unreasonable. For the same reasons as

stated in the section on Morrison’s testimony, see Part IV.C.4., supra, at pages 98-

100, Mills is due no relief on this claim.

              8.    Mills’ claim that his trial counsel failed to object to the
                    introduction of bad character evidence concerning alleged
                    domestic violence by Mills against JoAnn and Mills’ marital
                    infidelity


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      Mills alleges that his trial counsel was ineffective for failing to object to the

prosecution’s reference to alleged domestic violence between Mills and JoAnn,

during the State’s cross-examination of Mills concerning a meeting the couple had

with an investigator. Mills points to a specific exchange during his cross-

examination, as follows:

      Q:     Now, back a few months before [Mills was arrested for the Hill
             killings] you testified that you and JoAnn had had some rough
             times?

      A:     Yes, sir.

      Q:     And in fact, both of y’all had come in to see Ken Mays, is that
             correct?

      A:     Yes, sir.

      Q:     Y’all had a falling out; he’s a domestic violence investigator, but
             he does protection orders and all that kind of stuff or assists
             people in getting it, and he kind of tried to negotiate a truce
             between y’all, didn’t he?

      A:     Yes, sir.

(R1. 823–24.) Mills contends that this questioning was irrelevant, violated the

prosecutor’s prior agreement not to raise the topic of domestic violence, and

impermissibly conveyed to the jury information about Mills’ reputation for

violence and a specific prior act of violence.




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        Mills also argues that his trial counsel were ineffective for failing to object

when the prosecutor questioned Mills about a married woman Mills had met in

December 2006 who had visited Mills in jail and had “since gotten divorced,” for

the purpose of suggesting that Mills had been unfaithful to JoAnn. (R1. 817.)

According to Mills, the error was compounded when the State ended its closing

argument by using this testimony to bolster JoAnn’s testimony, suggesting she was

more credible than Mills because she was “upset” by Mills’ infidelity while in jail.

(R1. 919–20.)

        Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 47-50; Mills v. State, CR-13-0724, Mem.

Op. at 47-50 (Ala. Crim. App. Dec. 11, 2015)). First, the ACCA rejected Mills’

claim that the prosecutor improperly cross-examined him on his reputation for

violence and a specific prior act of violence, explaining that when placed in context,

the questioning on cross-examination was in response to matters raised by Mills on

direct examination. The court further noted that the prosecutor did not elicit any

specific details or facts suggesting that Mills had a reputation for violence or had

engaged in any specific act of violence. The ACCA’s analysis is worth repeating

here:


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On direct examination, Mills had testified that he and JoAnn had had
an “on and off” relationship and had gotten back together about a
month before the crimes. (Trial R. 787.) Mills also testified that he was
not aware of JoAnn ever using drugs. (Id.) Further, he testified that
when he was told he was under arrest for capital murder, he said to
law enforcement, “You all know me better than this.” (Trial R. 807.)

On cross-examination, the following exchange occurred:

      “Q. And then you testified you talked to the officers and
      told them this wasn’t like--you said, ‘You know me. This
      ain’t nothing I’d do’?

      “A. Right. Mr. Webb and Ted Smith was there and
      Bryan McCraw.

      “Q. Now, back a few months before this happened you
      testified that you and JoAnn had had some rough times?

      “A. Yes, sir.

      “Q. And in fact, both of y’all had come in to see Ken Mays; is
      that correct?

      “A. Yes, sir.

      “Q. Y’all had a falling out; he’s a domestic violence
      investigator, but he does protection orders and all that kind of
      stuff or assists people in getting it, and he kind of tried to
      negotiate a truce between y’all, didn’t he?

      “A. Yes, sir.

      “Q. And he tried to sit both of y’all down and see, you know,
      can we just go ahead and divide up the property and y’all go
      your separate ways—

      “A. Yes, sir.

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      “Q. --for the time being?

      “A. Yes, sir.

      “Q. And in fact, in your statement to him you said that
      you had heard she was doing drugs?

      “A. Yes, sir.

      “Q. So you had--at least at that time you claimed she was
      doing drugs?

      “A. I heard that she was, yes, sir, but to my knowledge I
      had not seen it.

      “Q. And she accused you of doing drugs?

      “A. Yes, sir, she had.

      “Q. So both of y’all were pointing the finger at the other
      one for drug use?

      “A. Yes, sir.

      “Q. And this was back in what, April of that year?

      “A. Approximately, yes, sir.

      “Q. It was about three months before this happened?

      “A. Yes, sir. That’s what the argument was about.”

(Trial R. 823-25 (emphasis added).)

The specific questioning that Mills alleges was improper is
emphasized above. Placed in context, that questioning was merely in
response to matters raised by Mills testimony on direct examination

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       and was not improper. The prosecutor did not elicit any details that
       Mills had a reputation for violence or suggest that Mills had engaged
       in any specific act of violence. As the State notes, “[a] passing
       reference to an investigator’s job-title does not mean that the
       prosecutor introduced bad-character evidence against Mills. . . . The
       reference to Investigator Mays’s job-title was simply just a passing
       foundational comment to explain the circumstances that Mills talked
       with Mays.” (State’s brief, pp. 63-64.)

(Id. at 47-49).

       The ACCA also rejected Mills’ claim that the prosecutor improperly

questioned Mills about a married woman he had met in December 2006 to suggest

that he had been unfaithful to JoAnn. The court similarly held that “placed in

context, the prosecutor’s questioning and comments were not improper.” The

ACCA’s complete analysis on this sub-claim was as follows:

        As with the previous claim, placed in context the prosecutor’s
       questioning and comments were not improper. The record indicates
       that the prosecutor elicited testimony from Mills that while he was in
       jail he had sent letters addressed to Sherri Sanchez for her to deliver to
       JoAnn; those letters told JoAnn that Mills was still in love with her. It
       was after that testimony that the prosecutor asked about the woman
       who had visited Mills in December 2006 and had “since gotten
       divorced.” In closing, the prosecutor stated:

              “Ladies and gentlemen, JoAnn Mills told us what
              happened. The physical evidence in this case backs her
              up. They didn’t shake her. She was upset. Who wouldn’t
              be? She has to relive this every single day. I mean, that’s
              all she’s got to do. And of course, Jamie is sending her
              letters down at the jail, ‘I love you,’ and all this kind of
              stuff. You’ll read that. And he testified, ‘Well, yeah, I’ve
              got somebody else who’s been visiting me. She’s from

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              Walker County.’ So he’s playing both sides there, you
              know, trying to keep JoAnn in line and also getting set up
              so, ‘Hey, they cut me loose, I’m good to go.’”

       (Trial R. 919-20.)

       The circuit court did not err in summarily dismissing this claim.

(Id. at 49-50.)

       Mills has failed to show how the ACCA’s decision was objectively

unreasonable. The state court’s decision was strongly supported by the record.

First, the prosecutor never elicited details that Mills personally had a reputation for

violence, nor questioned Mills about a specific act of prior violence. Instead, the

prosecutor simply laid a foundation for additional questioning about a statement

Mills had made to Investigator Ken Mays (“Mays”), which Mills had opened the

door to on direct examination. The prosecution questioned Mills on the fact that

Mills and his wife had marital difficulties and that Mays visited the couple. (Vol. 9,

Tab #R-19, R. 823.) In a preference to his question, the prosecutor identified that

Mays’ profession was a domestic violence investigator and then questioned Mills

about his discussions with Mays and statements that he made to Mays during this

visit. (Id. at 823-25.) At no point did the prosecutor allude to or question Mills

about specific instances of violent conduct or domestic violence. The reference to

Mays’s job title was simply just a passing foundational comment to explain the


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circumstances that Mills talked with Mays. In fact, the questioning regarding Mills’

actual statement to Mays involved a completely different subject matter (JoAnn’s

use of drugs), and Mills failed to cite to another instance in the record where Mays’

job description was mentioned again.

      In any event, even accepting Mills’ allegations as true, Mills failed to plead a

sufficient factual basis that could overcome the presumption of reasonableness and

show that trial counsel was deficient given that objections are a matter of trial

strategy. Nor did Mills plead how he was prejudiced.

      Finally, Mills also failed to plead a specific factual basis for prejudice based

on his claim that his trial counsel failed to object when the prosecutor questioned

Mills about a woman who visited him in jail. Even assuming his contention that the

prosecutor’s comment was objectionable, Mills failed to plead any specific facts

other than a bare conclusory allegation that could show there was a reasonable

probability that jury would have found reasonable doubt in the absence of this

passing comment. For these reasons, Mills is due no relief.

             9.    Mills’ claim that his trial counsel failed to object to the
                   admissibility of Dr. Kenneth Snell’s testimony as to Vera
                   and Floyd Hills’ causes of death

      Mills alleges that his trial counsel was ineffective for failing to object to the

testimony of Dr. Kenneth Snell relating to the cause of death for Floyd and Vera


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Hill. Mills argues that Dr. Snell’s testimony concerning the cause of death was

unreliable and violated his Confrontation Clause rights, because Dr. Snell did not

perform the autopsies, was not present for the autopsies, and did not prepare the

autopsy reports upon which he based his opinion.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 50-51; Mills v. State, CR-13-0724, Mem.

Op. at 50-51 (Ala. Crim. App. Dec. 11, 2015)). The court held that the underlying

claim that Dr. Snell’s testimony was unreliable was without merit because the

ACCA and then the Alabama Supreme Court had both held on direct appeal that

Dr. Snell’s testimony was properly admitted, and that even if there was error, it

was harmless because Mills did not challenge Dr. Snell’s conclusions at trial as to

the causes of the victims’ deaths but instead relied upon the sole theory that Mills

did not commit the crimes. (Id. at 51, citing Mills v. State, 62 So. 3d 553 (Ala. Crim.

App. 2008) and Ex parte Mills, 62 So. 3d at 594.) The court also held that Mills’

underlying claim that the testimony of Dr. Snell violated the Confrontation Clause

was without merit. Specifically, the court noted that similar claims alleging a

violation of the Confrontation Clause had been rejected. (Id., citing Thompson v.

State, 153 So. 3d 127, 29 (Ala. Crim. App. 2012.)) Thus, the court concluded that


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because Mills’ underlying claims were meritless, his claim that trial counsel was

ineffective for not objecting also failed. (Id.)

       Mills has failed to establish that the ACCA’s decision was objectively

unreasonable or point to a specific holding from the Supreme Court that conflicts

with the state court’s decision. First, as the ACCA correctly noted in the Rule 32

proceedings, both the ACCA and the Alabama Supreme Court on direct review

discussed at length why Dr. Snell’s testimony was properly admitted. The Alabama

Supreme Court’s thorough discussion is worth repeating here:

             Mills argues next that the admission of testimony at trial from
       Dr. Kenneth Snell regarding Floyd’s and Vera’s causes of death was
       plain error. The Court of Criminal Appeals addressed this issue as
       follows:

              “[Mills] also argues that the trial court erroneously
              allowed Dr. Kenneth Snell of the Alabama Department of
              Forensic Sciences (‘DFS’) to testify about the causes of
              the victims’ deaths and also erroneously allowed the
              State to introduce the autopsy reports into evidence.
              Specifically, he contends that the trial court should have
              excluded Snell’s testimony and the autopsy report
              because they were both based on the notes and findings of
              Dr. Johnny Glenn, who allegedly ‘was so mentally
              incapacitated at the time of the autopsies that he was
              unable to do much of his work and was forced to retire
              shortly thereafter because of advanced [A]lzheimer’s
              disease.’ ([ Mills’] brief at p. 11.)

              “Glenn performed the autopsy on Floyd on June 25,
              2004, and performed the autopsy on Vera on September
              14, 2004. Sometime after he had performed the

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      autopsies, Glenn left DFS because he had been diagnosed
      with Alzheimer’s disease. Subsequently, James
      Lauridson prepared autopsy reports. At trial, Snell
      testified regarding the causes of the victims’ deaths.

      “Initially, we note that the autopsy reports were not
      admitted into evidence during [Mills’] trial. Rather, the
      defense admitted the reports as exhibits only for the
      hearing on the admissibility of Snell’s testimony.
      Therefore, [Mills’] argument regarding the autopsy
      reports is moot.

      “With regard to Snell’s testimony, during an off-the-
      record discussion, the defense stated that it expected the
      State to call a witness to testify as to the causes of death
      based on Glenn’s autopsy notes and based on the autopsy
      photographs; that Glenn was apparently incompetent at
      the time of the autopsies; and that it would object to the
      State witness drawing conclusions based on the notes of
      someone who was incompetent at the time he took the
      notes. The defense then stated that it would like to
      conduct a voir dire examination out of the presence of the
      jury to determine what information the witness intended
      to use to form his opinion. After the State qualified Snell
      as an expert, the defense conducted a voir dire
      examination of Snell. Thereafter, [Mills] did not argue
      that the trial court should exclude Snell’s testimony.
      Also, [Mills] did not object when Snell testified before
      the jury as to the causes of death. Therefore, we question
      whether he properly preserved this argument for our
      review.

      “Moreover,

            ‘[i]t is well settled that any challenge to the
            facts upon which an expert bases his opinion
            goes to the weight, rather than the


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            admissibility, of the evidence. Dyer v.
            Traeger, 357 So. 2d 328, 330 (Ala. 1978).’

      “Baker v. Edgar, 472 So.2d 968, 970 (Ala. 1985). During
      the discussion about Snell’s testimony, the district
      attorney informed the trial court that Glenn was no
      longer with DFS because he had developed Alzheimer’s
      disease; that he did not think that Alzheimer’s disease
      was an issue during Floyd’s autopsy; and that
      Alzheimer’s disease was possibly manifesting itself
      during Vera’s autopsy. Defense counsel asserted that he
      had read in the newspaper that Glenn had resigned in
      early Fall 2004 and that Glenn’s work was left in
      disarray.

      “Mathis Dyer testified that he had worked with DFS as a
      death investigator; that he was present during the
      autopsies of Floyd and Vera; that he probably made some
      of the photographs, but sometimes the medical examiner
      took some as well; and that he was present when the
      photographs from Floyd’s and Vera’s autopsies were
      made.

      “Gerald Howard testified that he was a forensic
      pathology technician at DFS; that he assisted the
      pathologist in all aspects of the autopsy; and that this
      included making photographs, helping with the
      identification, the evisceration, the cleanup, and
      maintaining the facilities used to do the autopsy. He also
      testified that he was present during the autopsies of Floyd
      and Vera; that he was involved in collecting evidence,
      evisceration, and processing the evidence that was
      collected during the autopsies; that Glenn supervised,
      dictated, and took notes; that, if there was something
      Glenn needed to look at closer, he would come in, look,
      and make sure it was noted and photographed; and that
      Glenn made sure they noted anything significant that
      happened during the autopsy.

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      “Snell testified that, in determining the cause of Floyd’s
      death, he relied on the autopsy report prepared by
      Lauridson and the autopsy photographs. In determining
      the cause of Vera’s death, he relied on her discharge
      summary from the University of Alabama Birmingham
      Hospital, which discussed her course of treatment while
      she was in the hospital; an autopsy report that had been
      prepared by Lauridson and that was based on Glenn’s
      notes; the autopsy photographs; and a diagram Glenn
      generated at the time of the autopsy. With regard to the
      autopsy reports, Snell testified that he relied strictly on
      the factual portions of the reports to form his opinions;
      that he did not initially read the opinion portions of the
      reports; that he made his determination as to the causes
      and manner of the victims’ deaths; and that he then
      compared his findings with Lauridson’s findings in the
      autopsy reports. He also testified that he reviewed a
      cause of death letter Glenn had written to the coroner
      regarding Floyd; that he did not actually rely on the letter
      to formulate his opinion as to the cause of death; that he
      simply reviewed the letter; and that, in his opinion, it was
      accurate. Finally, he testified that his opinion as to the
      causes of the victims’ deaths was in agreement with the
      opinions of Lauridson and Glenn; that the factual
      portions of the autopsy report comported with Glenn’s
      diagram of Vera; that the autopsy photographs and the
      autopsy reports were in agreement; and that, if he had
      had any disagreements with the opinions of Glenn and
      Lauridson, he would have had difficulty saying that he
      believed the reports to be true.

      “The State presented evidence that Dyer and Howard
      were present during the autopsy, that Howard assisted in
      all portions of the autopsy, and that the autopsy diagram
      and autopsy reports were consistent with the
      photographs. Also, there was not any evidence indicating
      that there were irregularities in the autopsies or that the

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      photographs from the autopsies were inaccurate.
      Therefore, Snell properly based his opinions on the
      photographs and autopsy reports. Furthermore, even if
      Glenn was incompetent at the time of either autopsy, any
      challenge to the facts that formed the basis for Snell’s
      opinion went to the weight the jury assigned to his
      testimony. Therefore, there was not any error, much less
      plain error, in the admission of Snell’s testimony
      regarding the causes of death. See Rule 45A, Ala. R. App.
      P.”

Mills I, 62 So. 3d at 567-69.

       In his materials to this Court, Mills contends that the admission
of Dr. Snell’s testimony was plain error under Ex parte Wesley, 575 So.
2d 127 (Ala. 1990), and Madison v. State, 620 So. 2d 62 (Ala. Crim.
App. 1992). In Ex parte Wesley, this Court held that the trial court
committed reversible error in admitting, over the repeated objections
of the defendant, the opinion testimony of a psychologist who testified
that the defendant could have appreciated the criminality of his
conduct on the date in question. This Court held that the opinion
testimony was inadmissible because it was based on certain
information in police reports and medical records that were not
themselves introduced into evidence. 575 So.2d at 130. In Madison, the
Court of Criminal Appeals considered the testimony of a psychologist
who gave an opinion regarding the defendant’s mental condition at the
time of the crime. 620 So. 2d at 68. The defendant contended on
appeal that the admission of that testimony constituted plain error
because it was substantially based on information not introduced into
evidence. The Court of Criminal Appeals agreed with the defendant.

      The Madison court noted that the following information, which
the psychologist relied upon in giving his opinion regarding the
defendant’s mental condition, was never introduced into evidence:
information received from the mother of the defendant’s child;
information received from the defendant’s girlfriend; information
received from the officer who arrested the defendant and took a
statement from him; information received from the chief jailer and his

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assistant regarding the defendant’s conduct while he was in jail;
information received from a state psychologist who had observed the
defendant weekly for five years while the defendant was imprisoned at
Holman Correctional Facility; “portions of the ‘police file’; records
from ‘the Atmore, Alabama vicinity,’ presumably the same as those
referred to as from Holman prison”; a taped statement the defendant
gave police after his arrest; and some court-proceeding transcripts.
620 So. 2d at 70. The prosecution made almost no attempt to
introduce any of that evidence, and yet “[f]rom his opening statement
to his final summation during the guilt phase of the trial, the
prosecutor urged the jury to give special weight and consideration to
[the psychologist’s] testimony.” 620 So. 2d at 71.

       Stating that it was “apparent” that the psychologist had
considered all the above information “as critical in arriving at his
opinion,” the Court of Criminal Appeals noted that “[t]he
inescapable conclusion is that [the psychologist’s] opinion was based
substantially on information not available for the jury’s consideration,
and thus, in accordance with the rule of evidence [stated in Ex parte
Wesley ], his testimony was inadmissible.” 620 So. 2d at 71. The Court
of Criminal Appeals held that, under the circumstances, the admission
of that testimony was plain error.

      In Mills’ case, the State argues that Dr. Snell’s testimony
regarding the Hills’ causes of death was not inadmissible under Ex
parte Wesley because, the State says, the facts Dr. Snell relied upon in
forming his opinion were in evidence. In this regard, the State notes
that Dr. Snell testified that he relied only on certain “factual”
portions of the items—such as the autopsy reports prepared by Dr.
James Lauridson based on Dr. Johnny Glenn’s notes or the diagram
prepared by Dr. Glenn—that were not in evidence. The State
contends, however, that the information in those “factual” portions of
the items not in evidence was in conformity with the autopsy
photographs that were introduced into evidence.

      The State also maintains that Dr. Snell’s testimony was
admissible under the exception noted in Ex parte Wesley “where the
expert is a deputy coroner who uses a toxicologist’s autopsy report as

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      part of the basis for his testimony.” 575 So. 2d at 129 (citing Jackson v.
      State, 412 So. 2d 302 (Ala. Crim. App. 1982), and Woodard v. State,
      401 So. 2d 300 (Ala. Crim. App. 1981)). In both Jackson and Woodard,
      the Court of Criminal Appeals held that a coroner who had personally
      observed the bodies could give an opinion about the cause of death
      even though the coroner’s opinion was also based on information in
      autopsy reports that the coroner had not prepared. Jackson, 412 So. 2d
      at 306; Woodard, 401 So. 2d at 303.

             Mills attempts to distinguish Jackson and Woodard by arguing
      that unlike the coroners who testified in those cases, Dr. Snell was not
      present when the autopsies were performed and did not personally
      observe the bodies of Floyd and Vera Hill. We find that distinction
      unavailing. In this case, Dr. Snell relied on the photographs from the
      autopsies, which were admitted into evidence. As noted in Mills I,
      there was an abundance of evidence indicating, among other things,
      that the photographs accurately depicted the bodies at the time the
      autopsies were performed and that the photographs were consistent
      with the factual information in the autopsy reports and the diagram.
      Mills asserts that “the idea that a set of photographs could convey all
      of the detailed information, including measurements and impressions,
      contained in a six-page narrative autopsy report . . . is unsupportable.”
      (Mills’ reply brief, p. 13.) But Mills has not offered any reason why Dr.
      Snell’s observation of the bodies by means of examining the autopsy
      photographs should not be considered the functional equivalent of the
      coroners’ personal observation of the bodies in Jackson and Woodard.
      Consequently, the State has shown that Dr. Snell’s testimony was
      admissible under the limited exception recognized in Jackson and
      Woodard. Moreover, even if there had been error in the admission of
      Dr. Snell’s testimony, the error would have been harmless. Mills did
      not challenge Dr. Snell’s conclusions at trial as to the causes of the
      victims’ deaths; rather, the sole theory Mills argued to the jury was
      that he did not have any involvement in the murders. Accordingly,
      there was no plain error in the admission of Dr. Snell’s testimony.

Ex parte Mills, 62 So. 3d at 590-94 (footnotes omitted). The record supports the

Alabama Supreme Court’s analysis of the underlying claim. Dr. Snell testified that

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he based his opinion on a discharge summary from the University of Alabama

Birmingham Hospital, an autopsy report prepared by Dr. Lauridson, and

photographs of the autopsy. (Vol. 8, Tab #R-18, R. 497.) The UAB medical

records as well as the autopsy photographs were admitted into evidence. While the

prosecution did not specifically introduce the autopsy report itself (Mills later

introduced the report in a hearing on the admissibility of Dr. Snell’s testimony),

Dr. Snell testified that he did not rely on the autopsy report as a whole or the

opinions in the report, but only the factual information in the report. (Id. at 502.)

Dr. Snell further explained that the factual information in the autopsy report was in

agreement with the photographs of the autopsy. (Id. at 503.) Thus, because Mills’

underlying claim that it was error for the trial court to admit Dr. Snell’s testimony

was meritless, it was reasonable for the ACCA to conclude that an ineffective

assistance of counsel claim based on that argument also fails.

      The ACCA’s other conclusion—that Mills’ ineffective assistance of counsel

claim based on failure to object on confrontation clause grounds was meritless—

was also reasonable. As the ACCA noted, an autopsy report is non-testimonial and

thus, does not violate the Confrontation Clause. See Thompson, 153 So. 3d at 127-29.

Indeed, the cases cited in Thompson make clear that, at the time of Mills’ trial in

2007, courts consistently held that “it was not a violation of the Confrontation


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Clause to admit an autopsy report without the medical examiner’s testimony or

testimony indicating that he or she was not available.” Id. at 128. Thus, trial

counsel was not unreasonable for failing to make such an objection where Alabama

courts held that such testimony did not violate Crawford. Further, contrary to

Mills’ contention, Dr. Snell did not base his testimony on out-of-court statements

by Dr. Glenn and Dr. Lauridson. As noted above, Dr. Snell specifically testified

that he did not base his opinion on the opinions of Dr. Glenn and Dr. Lauridson,

but only on the factual information included in the reports. (Vol. 8, Tab #R-18, R.

502-503.) And this factual information was already available through, and

consistent with, the autopsy photographs. (Id.) Moreover, a forensic technician and

a forensic investigator who were present during the Hills’ autopsies and who

confirmed that the factual information in the reports were consistent with the

photographs, testified during trial. Mills, 62 So. 3d at 568-69. Thus, Mills was not

denied his right of confrontation.

      Because Mills has failed to establish that the ACCA’s summary dismissal of

this claim was objectively unreasonable, he is due no relief.

                    10.   Mills’ claim that his trial counsel failed to object to
                          alleged bolstering of JoAnn Mills’ testimony and
                          improper vouching for the State’s investigation




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      Mills alleges that the State improperly bolstered JoAnn Mills’ testimony and

vouched for her credibility by eliciting testimony from Investigator Ken Mays that

he believed that JoAnn was lying in her initial statement to police, which she gave

the day after the murders and in which she exculpated Mills. Mills contends that

Mays’s testimony that he believed that JoAnn lied in her initial statement, thereby

implying that she told the truth in her second statement (which she gave three days

later and which inculpated Mills) and in her trial testimony, usurped the jury’s role

with respect to the central question for the jury: whether to believe JoAnn or Mills.

Mills also argues that the prosecutor went on to improperly vouch for JoAnn’s

testimony himself by claiming in closing argument that she “told the same story” at

trial and “didn’t vary a whole lot” from her second statement to police. (Vol. 10,

R. at 916.) Mills contends that his trial counsel was ineffective for failing to object

to any of the foregoing.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 51-53; Mills v. State, CR-13-0724, Mem.

Op. at 51-53 (Ala. Crim. App. Dec. 11, 2015)). The court held that Mills’

underlying claim was without merit, reasoning as follows:

      This underlying claim on which this ineffective assistance claim is
      based has no legal merit. See, e.g., Johnson v. State, 120 So. 3d 1130,

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        1210 (Ala. Crim. App. 2009) (“The testimony given by the
        investigator was made in response to questions concerning the
        investigator’s decisions concerning his course of investigation. See
        Mills v. State, 62 So. 3d 553 (Ala. Crim. App. 2008) (wherein officer
        believed that he had a better rapport with Mills’ wife so he had Mills
        picked up and gained consent to search from Mills’ wife). An officer
        clearly may testify to his evaluation of individuals involved in an
        investigation, including furtive gestures or suspicious circumstances
        or other matters of perceived credibility based on the officer’s
        expertise. See generally W.D.H. v. State, 16 So. 3d 121 (Ala. Crim. App.
        2008).”). Here, JoAnn gave two different statements to law
        enforcement, and the complained-of testimony and arguments were in
        response to Mills’ argument that JoAnn had initially told the truth and
        his suggesting that she had been pressured into implicating Mills.
        Finally, the prosecutor’s comments were legitimate comments based
        on the evidence, see, e.g., Johnson, 120 So. 3d at 1169-70; those
        comments urged the jury to believe that JoAnn was credible based on
        the evidence.

        Accordingly, this claim was properly summarily dismissed.


(Id.)

        Mills has failed to demonstrate that the ACCA’s decision was objectively

unreasonable. As the state court correctly noted, to explain the reasons an

investigation was conducted in a particular manner, a law enforcement officer may

testify regarding the truthfulness of the interviewee. See Johnson, 120 So. 3d at 1210

(“An officer clearly may testify to his evaluation of individuals involved in an

investigation, including . . . matters of perceived credibility based on the officer’s

expertise.”). Here, JoAnn provided statements to law enforcement on two


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different occasions, giving different versions of the events. (Vol. 9, Tab #R-19, R.

837, 848.) Mills’ defense counsel attempted to present evidence at trial that the law

enforcement officer who questioned JoAnn the first time on the day after the

murders, Ken Mays, pressured JoAnn to implicate Mills. For example, defense

counsel questioned Mays on the fact that he had told JoAnn during her first

questioning to “start telling the truth.” Mays was also questioned at length about

the fact that he told JoAnn that police had DNA evidence linking Mills to the

crime, when in actuality there was no DNA evidence linking Mills. (Id. at 839-43.)

In closing, Mills recalled this evidence to argue that “[law enforcement] decided it

was Jamie [Mills], and then they started setting up their case to convict Jamie

[Mills].” (Id. at 903-04.)

      To rebut this evidence and argument, after defense counsel questioned Mays

on this basis, the prosecutor elicited from Mays on cross-examination that, based

on his training and experience, it was Mays’ perception that JoAnn was initially

untruthful. (Id. at 846.) Placed in this context, the record demonstrates that the

purpose of the testimony was not to bolster JoAnn’s testimony, but was instead

presented to show why Mays interviewed JoAnn in this particular manner.

      Moreover, Mills presented no evidence to show that he was prejudiced. The

jury was already aware of the fact that Mays did not believe that JoAnn was telling


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the truth during her first statement to law enforcement. Prior to the testimony at

issue, defense counsel had questioned Mays on the fact that Mays told JoAnn that

he did not believe she was telling the truth. (Id. at 838-40.) Thus, Mills could not

be prejudiced by Mays simply restating what was already in the record.

Additionally, the prosecutor never argued that the jury should believe that JoAnn

was untruthful in her first statement because Mays believed she was untruthful.

Finally, the trial court instructed the jury that the jurors “are the judges of the

evidence and credibility of the witnesses,” and the jury was solely responsible for

weighing the testimony of the witnesses. (Vol. 10, R. 935, 937.)

      The record also supports the ACCA’s rejection of Mills’ allegation that the

prosecutor himself vouched for JoAnn’s credibility in closing argument. Here, the

prosecutor’s comments that JoAnn Mills told the “same story” at trial that she

told police in her second statement was a legitimate comment based on the

evidence. See Harris v. State, 2 So. 3d 880, 921 (Ala. Crim. App. 2007) (holding

that a prosecutor “may argue every legitimate inference from the evidence and may

examine, collate, sift, and treat the evidence in his own way”) (citations omitted).

Notably, during her cross-examination, Mills’ defense counsel elicited the fact that

JoAnn’s trial testimony was essentially the same story she told police after she was

arrested. (Vol. 9, Tab #R-18, R. 776.) Thus, there was a legitimate basis for the


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prosecutor’s argument. Furthermore, the prosecutor never argued that the jury

should believe JoAnn’s testimony because he personally believed she was credible.

He instead gave several reasons to find her credible, namely that she did not have

to review her prior statement to law enforcement to refresh her memory for

testifying at trial, and that Mills’ defense counsel was only able to show that her

trial testimony differed from her second statement to police on minor issues, like

whether the clothes and murder weapons were placed in a garbage bag or blue

duffel bag. (Id. at 915-917.)

       Accordingly, because there was no merit to Mills’ underlying claim that the

State improperly bolstered JoAnn’s testimony to his detriment, the ACCA’s

decision that Mills’ counsel was not constitutionally ineffective for failing to object

on that ground was reasonable. Thus, Mills is due no relief.

              11.    Mills’ claim that his trial counsel failed to object when the
                     prosecutor implied during closing argument that Mills bore
                     a burden and saved most of his summation for rebuttal
                     closing

       Mills alleges that his trial counsel was ineffective for failing to object to the

prosecutor’s closing argument in which he contends that the prosecution shifted

the burden of proof to Mills. The specific argument to which Mills complains was

as follows:



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      I have to convince 12 of you beyond a reasonable doubt . . . . Mr. Wiley
      has to reach one person, and that’s it, to hang the jury and all’s for
      naught; we have to do this over again. All he’s got to do is reach one
      and put a little idea in their head, give them something, and that’s it.
      He calls that a victory. I wouldn’t in this case if I was him. That would
      probably be a defendant’s worst nightmare.


(Vol. 10, R. at 910.) Mills also complains that the prosecutor complained in closing

that Mills did not test and offer his own forensic evidence, but merely “jab[bed] at

the State” and “poke[d] holes.” (Id. at 909, 918–19.) Additionally, Mills argues

that at both stages of the trial, the prosecutor improperly deferred most of his

summation to rebuttal, where it could not be challenged. Mills contends that trial

counsel’s failure to object to the prosecutor’s misconduct was unreasonable and

that the State’s closing argument undermined Mills’ rights to a fair trial and the

presumption of innocence.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 53-54; Mills v. State, CR-13-0724, Mem.

Op. at 53-54 (Ala. Crim. App. Dec. 11, 2015)). Specifically, the court held that

Mills’ claim was subject to summary dismissal because he failed to meet his burden

of pleading pursuant to Rule 32.3, which provides that “[t]he petitioner shall have

the burden of pleading and proving by a preponderance of the evidence the facts


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necessary to entitle the petitioner to relief.” (Id. at 54.) Further, the court held that

Mills’ claim was without merit because “the prosecutor did not suggest that the

defendant had the burden of proof,” but rather simply reinforced that the

prosecution, not the defense, bore the burden of proof. (Id.)

      Mills has not established that the ACCA’s decision finding that this claim

was insufficiently pleaded and subject to dismissal was objectively unreasonable or

contrary to Supreme Court precedent. See Borden v. Allen, 646 F.3d 785, 812 (11th

Cir. 2011) (“A ruling by an Alabama court under Rule 32.6(b) is . . . a ruling on the

merits.”). First, the record supports the ACCA’s decision. Contrary to Mills’

claim, the record establishes that the prosecutor simply reminded the jury that “I

have to convince 12 of you beyond a reasonable doubt for you to find somebody

guilty.” (Vol. 10, Tab #R-23, R. 910.) The prosecutor then mentioned that defense

counsel could suggest a “little” idea in only one juror’s mind and that could cause

the jury not to find guilt beyond a reasonable doubt. (Id.) The prosecutor never

stated that the defense was required to present anything. Nor did the prosecutor

suggest that the defense bore any burden of proof during the guilt phase of the trial.

      Second, although Mills cites In re Winship, 397 U.S. 358 (1970), that case

reaffirmed the general proposition that the due process clause protects the accused

against conviction except upon proof beyond a reasonable doubt. Id. at 364. The


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Court in Winship had to decide whether juveniles, like adults, are constitutionally

entitled to proof beyond a reasonable doubt when they are charged with a violation

of criminal law. Id. at 365. The ACCA’s determination the Mills’ counsel was not

constitutionally ineffective for failing to object to the prosecutor’s closing argument

is not contrary to or an unreasonable application of In re Winship.

      Further, trial counsel was not unreasonable in not objecting to the

prosecutor’s closing arguments because often such objections can either alienate

the jury by interrupting proceedings or draw attention to an unfavorable fact. The

Eleventh Circuit has explained:

      Decisions about whether to object—and when, and in what form—are
      tactical choices consigned by Strickland to a lawyer’s reasoned
      professional judgment. Good lawyers, knowing that judges and juries
      have limited time and limited patience, serve their clients best when
      they are judicious in making objections. In any trial, a lawyer will leave
      some objections on the table. Some of those objections might even be
      meritorious, but the competent lawyer nonetheless leaves them
      unmade because he considers them distractive or incompatible with
      his trial strategy.

Bates v. Sec’y, Fla. Dep’t of Corr., 768 F.3d 1278, 1295 (11th Cir. 2014).

      Finally, as the ACCA correctly found, Mills failed to specifically plead how

he was prejudiced under Strickland based on these isolated comments. Indeed, after

closing arguments, the trial judge instructed the jury on the State’s burden of




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proof, the fact that Mills “has no burden of proof whatsoever,” and the concept of

reasonable doubt. (Vol. 10, R. at 939.) Thus, Mills is due no relief on this claim.

             12.    Mills’ claim that his trial counsel failed to conduct an
                    adequate voir dire, challenge for cause biased jurors, and
                    object to the removal of jurors for cause

      Mills contends that his trial counsel conducted an inadequate voir dire by

failing to strike biased jurors. Specifically, he asserts that trial counsel were

ineffective in (1) failing to object when the trial court removed venire members J.H.

and S.W.; (2) failing to make a for-cause challenge against venire members D.B.

and B.T. because each of these potential jurors had a relationship with one or both

of the victims which, according to Mills, rendered them biased against him; and (3)

failing to move to strike venire members H.P. and D.B., who initially indicated that

they would vote for the death penalty in all cases.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 56-59; Mills v. State, CR-13-0724, Mem.

Op. at 56-59 (Ala. Crim. App. Dec. 11, 2015)). The court held that Mills’ claim was

due to be dismissed because it was insufficiently pleaded, he pleaded only

conclusory allegations of prejudice, and it was contradicted by the record. (Id.)

      The ACCA’s analysis was as follows:


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As to the allegation that counsel should have objected to the circuit
court’s removal of potential jurors J.H. and S.W., Mills alleged no
factual basis for this claim. [Footnote] 6 Accordingly, this claim was
insufficiently pleaded.

             [Footnote] 6. It appears that Mills may be
             referring to the trial court’s removal of
             potential jurors S.W. and J.H. for cause
             because both potential jurors indicated they
             could not impose the death penalty. (Trial R.
             171-75, 198.) If indeed that is the case, Mills
             would not be entitled to any relief on his
             claim that trial counsel should have objected
             to their removal for cause.

As to the allegation regarding jurors D.B. and B.T., the record
indicates that both jurors stated they could be fair and would base their
decisions on the evidence. Specifically, the following exchange with
D.B. occurred during voir dire:

      “[Defense counsel]: . . . [D.B.], tell me a little bit more
      about--your wife is a social worker?

      “[D.B.]: Yeah.

      “[Defense counsel]: She cared for Mrs. Hill? Was that
      the—

      “[D.B.]: Yeah.

      “[Defense counsel]: And did she come home and tell you
      about Ms. Hill and her condition and so forth and so on?

      “[D.B.]: No, I never did hear anything about her
      condition until after we got back from vacation.

      “[Defense counsel]: Well, the question’s the same to
      you. Is your wife’s relationship with Ms. Hill such that it

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      would influence your ability negatively to sit on this jury
      and fairly determine whether or not Jamie is guilty or not
      guilty based solely on the evidence?

      “[D.B.]: I don’t believe so. I think I could make a fair
      assumption.

      “[Defense counsel]: Very well. Thank you very much.”

(Trial R. 225-26.) The following exchange occurred with B.T.:

      “[Defense counsel]: Okay. ... Yes, sir, [B.T.]?

      “[B.T.]: Yeah, I knew Floyd and Vera Hill all my life. I
      first met them when I was probably four or five year old
      because my daddy was friends with them. I remember
      going to their house when I was just a small kid. And
      Floyd, of course, he was a block mason. He built two
      houses for Daddy, and he’s done a lot of work for me, you
      know, block laying, and we was just good friends. I mean,
      I knew the people all my life. They were pretty close
      friends.

      “[Defense counsel]: I know you can anticipate my
      question, which is because of that relationship would you
      be able to--would that relationship color your ability to sit
      as a juror in this case and be fair and make a decision only
      on the evidence you heard in the case?

      “[B.T.]: I would be fair. I would base mine on the
      evidence. I would be fair with that. I would base it solely
      on the evidence.

      “[Defense counsel]: And your relationship with the Hills
      would not enter into it at all?

      “[B.T.]: No. Huh-uh.


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              “[Defense counsel]: Thank you very much.”

        (Trial R. 303-04.) As the State points out in its brief on appeal, the
        record indicates no legal basis to remove these jurors for cause. See,
        e.g., Burgess v. State, 827 So. 2d 134, 147-48 (Ala. Crim. App. 1998),
        aff’d, 827 So. 2d 193 (Ala. 2000).

        Finally, as to potential jurors H.P. and D.P., both initially indicated
        they would vote only for the death penalty, but both jurors
        subsequently stated they would follow the court’s instructions and
        would not exclude as an appropriate sentence life imprisonment
        without the possibility of parole. (Trial R. 323-24, 332-34.)

        Summary dismissal of these claims was appropriate.

(Id.)

        Mills’ task is to demonstrate that the ACCA’s decision was objectively

unreasonable or contrary to Supreme Court precedent. The Court’s analysis with

regard to each set of jurors is addressed below.

                    i.     Jurors J.H. and S.W.

        Regarding Mills’ first sub-claim, as to jurors J.H. and S.W., the ACCA was

correct in holding that Mills failed to plead any specific factual basis for this claim.

For instance, Mills failed to specifically plead what objection his trial counsel

should have made, how the trial court erred in removing these jurors for cause, any

facts concerning the reasons these jurors were struck, or even the basis for their

removal. The ACCA assumed that Mills was contending that the trial court

improperly removed them for cause on the ground that they stated in their juror

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questionnaires that they could not impose the death penalty. The ACCA concluded

that this underlying claim was facially meritless and thus, there was no legitimate

basis for an objection on that ground. (Vol. 6, Tab #R-11, R. 172-174, 198.)

      Mills contends that the ACCA’s decision was contrary to, or an

unreasonable application of, Uttecht v. Brown, 1551 U.S. 1, 9 (2007) (“[A] criminal

defendant has the right to an impartial jury drawn from a venire that has not been

tilted in favor of capital punishment. . . .”), and Wainwright v. Witt, 469 U.S. 412,

424 n.5 (1985), asserting that “the removal of these jurors for cause was improper

as they never ‘expressed views that would “prevent or substantially impair the

performance of their duties in accordance with their instructions or their oaths.”‘“

      The precursor to these two cases was Witherspoon v. Illinois, in which the

trial court had excused half the venire—every juror with conscientious objections

to capital punishment. 391 U.S. 510 (1968.) The Supreme Court held that “a

sentence of death cannot be carried out if the jury that imposed it was chosen by

excluding potential jurors for cause simply because they voiced general objections

to the death penalty or expressed conscientious or religious scruples against its

infliction.” Id. at 522. As the Court explained:

      The most that can be demanded of a venireman in this regard is that
      he be willing to consider all of the penalties provided by state law, and
      that he not be irrevocably committed, before the trial has begun, to


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       vote against the penalty of death regardless of the facts and
       circumstances that might emerge in the course of the proceedings.

Id. at 522 n.21.

       This legal standard was later clarified in Witt, as follows:

       We therefore take this opportunity to clarify our decision in
       Witherspoon, and to reaffirm the above-quoted standard from Adams
       [v. Texas, 448 U.S. 38, 45, 100 S. Ct. 2521, 65 L.Ed.2d 581 (1980) ] as
       the proper standard for determining when a prospective juror may be
       excluded for cause because of his or her views on capital punishment.
       That standard is whether the juror’s views would “prevent or
       substantially impair the performance of his duties as a juror in
       accordance with his instructions and his oath.” We note that, in
       addition to dispensing with Witherspoon’s reference to “automatic”
       decisionmaking, this standard likewise does not require that a juror’s
       bias be proved with “unmistakable clarity.” This is because
       determinations of juror bias cannot be reduced to question-and-answer
       sessions which obtain results in the manner of a catechism. What
       common sense should have realized experience has proved: many
       veniremen simply cannot be asked enough questions to reach the point
       where their bias has been made “unmistakably clear”; these
       veniremen may not know how they will react when faced with
       imposing the death sentence, or may be unable to articulate, or may
       wish to hide their true feelings. Despite this lack of clarity in the
       printed record, however, there will be situations where the trial judge
       is left with the definite impression that a prospective juror would be
       unable to faithfully and impartially apply the law. . . . [T]his is why
       deference must be paid to the trial judge who sees and hears the juror.

Witt, 469 U.S. at 424-26 (footnotes omitted).

       In Uttecht, the Court then reviewed its Witherspoon-Witt line of opinions and

identified “four principles of relevance”:



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      First, a criminal defendant has the right to an impartial jury drawn
      from a venire that has not been tilted in favor of capital punishment by
      selective prosecutorial challenges for cause. Witherspoon, 391 U.S. at
      521, 88 S. Ct. 1770. Second, the State has a strong interest in having
      jurors who are able to apply capital punishment within the framework
      state law prescribes. Witt, 469 U.S. at 416, 105 S. Ct. 844. Third, to
      balance these interests, a juror who is substantially impaired in his or
      her ability to impose the death penalty under the state-law framework
      can be excused for cause; but if the juror is not substantially impaired,
      removal for cause is impermissible. Id., at 424, 105 S. Ct. 844. Fourth,
      in determining whether the removal of a potential juror would
      vindicate the State’s interest without violating the defendant’s right,
      the trial court makes a judgment based in part on the demeanor of the
      juror, a judgment owed deference by reviewing courts. Id., at 424-434,
      105 S. Ct. 844.

551 U.S. at 9. In short, the juror must be “substantially impaired in his or her ability

to impose the death penalty” in order to properly be excused for cause. See id.

      In applying this standard, reviewing courts owe deference to a trial court’s

ruling on whether to strike a particular juror regardless of whether the trial court

engages in an explicit analysis regarding substantial impairment. Indeed, even the

granting of a motion to excuse for cause constitutes an implicit finding of bias.

Uttecht, 551 U.S. at 7. “The judgment as to ‘whether a venireman is biased . . . is

based upon determinations of demeanor and credibility that are peculiarly within a

trial judge’s province. Such determinations [are] entitled to deference even on

direct review; the respect paid such findings in a habeas proceeding certainly

should be no less.’” Id. (quoting Witt, 469 U.S. at 428). A trial court’s “finding


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may be upheld even in the absence of clear statements from the juror that he or she

is impaired.” Id.

         Here, the trial record shows that the judge questioned J.H. individually, at

length, about his statement on his juror questionnaire that he could not return a

verdict of death. (Vol. 6, R. at 171-75.) The trial judge, who was in the best position

to judge J.H.’s demeanor, apparently believed that his statements and demeanor

warranted excusing him from the venire from which Mills’ jury was chosen. A

fairminded jurist could conclude that the trial court was fair in exercising its broad

discretion in deciding to excuse J.H. J.H’s statements were ambiguous as to

whether he would be able to give appropriate consideration in a case which

involved the potential for imposition of the death penalty. Because there was

“ambiguity in the prospective juror’s statements,” the trial court was “entitled to

resolve it in favor of the State.” Uttecht, 551 U.S. at 7, (quoting Witt, 469 U.S. at

434). Thus, the ACCA’s finding that J.H. was properly excused was neither

contrary to nor an unreasonable application of the Witherspoon-Witt-Uttecht line of

cases.

         The same is true for S.W. The trial judge questioned her individually, at

length, about her statement in her jury questionnaire that she did not want to be

responsible for sentencing an individual to death. (Vol. 6, R. at 195-98.) Her


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statements were also ambiguous, and the court was entitled to resolve that

ambiguity in favor of the State and remove her for cause. See Uttecht, 551 U.S. at 7.

The ACCA reasonably found that because Mills’ underlying claim that S.W. was

improperly removed for cause was without merit, an ineffective assistance claim

premised on failure to object on that ground was similarly so.

                   ii.    Jurors D.B. and B.T.

      Regarding Mills’ second sub-claim, that his counsel was ineffective for

failing to make a for-cause challenge against venire members D.B. and B.T. because

each had a relationship with one or both of the victims which rendered them biased

against Mills, the ACCA reasonably noted that under Alabama law, no legal basis

existed for striking those jurors, and thus Mills’ counsel’s failure to move to strike

them was not deficient. While D.B. and B.T. knew the Hills before the start of trial

(D.B.’s wife was a social worker who had cared for Vera Hill and B.T. had known

Floyd Hill well since childhood), both jurors agreed that they could be fair and

would base their decisions on the evidence. (Vol. 6, R. at 225-26, 303-04.) The

ACCA appropriately relied upon Alabama law in holding that there was no basis to

remove them:

      Ultimately, the test to be applied is whether the juror can set aside
      [his] opinions and try the case fairly and impartially, according to the
      law and the evidence. This determination again is to be based on the
      juror’s answers and demeanor and is within the discretion of the trial

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      judge. Thus, a prospective juror should not be disqualified for
      prejudices or biases if it appears from his or her answers and demeanor
      that the influence of those prejudices and biases can be eliminated and
      a verdict rendered according to the evidence.

Burgess v. State, 827 So. 2d 134, 148–49 (Ala. Crim. App. 1998), aff’d sub nom. Ex

parte Burgess, 827 So. 2d 193 (Ala. 2000).

      Additionally, contrary to Mills’ contention, this case is nothing like the cases

in which the Supreme Court has previously found that defendants were denied a

fair trial by an impartial jury because of pretrial publicity or pervasive community

prejudice. Mills cites Irvin v. Dowd, 366 U.S. 717, 728 (1961), but Irvin is clearly

distinguishable on its facts. In that case, “the rural, Indiana community of 30,000

where the defendant was tried was subjected to a barrage of inflammatory publicity

immediately before trial, including information on the defendant’s prior

convictions, his confession to 24 burglaries and six murders, including the one for

which he was tried, and his unaccepted offer to plead guilty in order to avoid the

death sentence.” United States v. Campa, 459 F.3d 1121, 1149 (11th Cir. 2006). The

Supreme Court ruled that the defendant was entitled to a change of venue because

the prejudice against him was “clear and convincing,” as reflected by the fact that

eight of the twelve jurors had formed an opinion that he was guilty before the trial

began. Id. The record reflects that the pretrial community atmosphere in this case

was unlike that which existed in Irvin.

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                   iii.   Jurors H.P and D.B.

      Finally, Mills contends that his counsel was ineffective for failing to move to

strike potential jurors H.P and D.B. for cause because they both initially indicated

they would vote for the death penalty in a capital proceeding. However, both jurors

later stated that they could follow the court’s instructions and consider both life

without parole and the death penalty. (Vol. 6, R. at 323-24, 332-34.) Because these

jurors indicated they could impartially base their decisions on the facts and the law,

the ACCA reasonably held that Mills’ trial counsel had no legal basis for raising a

for-cause challenge.

      Mills has failed to present any evidence to demonstrate that the ACCA’s

decision was objectively unreasonable. Thus, he is due no relief.

             13.   Mills’ claim that his trial counsel failed to object to the
                   alleged breaks in the chain of custody of items removed from
                   the trunk of his vehicle

      Mills contends that his trial counsel failed to object to alleged breaks in the

chain of custody of the murder weapons—a tire tool, a ball-peen hammer, and a

machete—as well as several items of clothing found in the trunk of Mills’ car. Mills

argues that there was no evidence presented concerning how these items were

presented to DFS or how these items were preserved and handled while at DFS.




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      In support of this claim, Mills recounts the following trial testimony.

Following a search of Mills’ car trunk, Guin Police Chief Brian McCraw

(“McCraw”) took custody of the three murder weapons and several items of

clothing. (R1. 548–49, 553–55.) McCraw testified that he inventoried these and

other items, put them in “brown paper bags,” and transported them in his patrol

car to DFS in Huntsville on June 25, 2004. (R1. 549.) When he arrived, he released

the evidence to a “tall guy” at DFS, who “logged all of it and gave [McCraw] a

receipt.” (R1. 550.) DFS DNA analyst and crime scene investigator Robert Bass

testified that he performed testing on these items, and that DNA material

recovered from the items “match[ed]” DNA samples from victims Floyd and Vera

Hill. (R1. 609, 612.) Investigator Ken Mays testified that he retrieved the items

from DFS on May 9, 2006, and returned them to the Marion County Sheriff’s

Department, where they were held in an evidence locker until trial. (R1. 566–67,

574–75.)

      Mills contends that as the proponent of the evidence, the State carried the

burden of establishing the chain of custody, and that the chain of custody

evaporated for almost two years—the time between receipt of the items from

Mills’ car trunk by a “tall guy” at DFS and the recovery of those items from DFS




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by Mays. Mills contends that the State presented no evidence that, during that two-

year gap, the evidence was properly safeguarded, handled, and preserved.

      In addition, Mills argues that Bass should not have been allowed to testify to

the results of tests performed on the items recovered from Mills’ trunk. According

to Mills, because the State did not show that the evidence was in substantially the

same condition when it was tested as at the commencement of the chain, the trial

court erred both in admitting the evidence itself and in admitting Bass’s testimony.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 59; Mills v. State, CR-13-0724, Mem. Op.

at 59 (Ala. Crim. App. Dec. 11, 2015)). The ACCA noted that the Alabama

Supreme Court reviewed the underlying substantive claim on direct appeal and

held that there was no plain error in the admission of this evidence. (Id.) Moreover,

the court held that Mills’ claim was insufficiently pleaded because he failed to

plead sufficient facts to show that had counsel objected, this evidence would not

have been admitted, and that there was a reasonable probability the outcome of his

trial would have been different. (Id.)

      Mills has failed to point to any evidence in the state-court record to establish

that this decision was objectively unreasonable. As the ACCA noted, the Alabama


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Supreme Court had already rejected Mills’ substantive allegation that the evidence

should not have been admitted due to breaks in the chain of custody. The Alabama

Supreme Court’s thorough analysis is repeated here:

             Mills next contends that plain error occurred in the admission
      of several items seized from the trunk of his vehicle as well as the
      admission of forensic-testing results related to those items. On the
      date Mills was stopped and arrested, JoAnn consented to a search of
      the Millses’ vehicle. Investigator Ted Smith discovered a blue duffel
      bag in the trunk of the Millses’ vehicle, and Officer Bryan McCraw,
      chief of the Guin Police Department, obtained a search warrant to
      examine the duffel bag and its contents. McCraw testified at trial that
      he recovered a machete, a tire iron, a hammer, and various clothes
      from the duffel bag. McCraw testified that he made an inventory of all
      the evidence, placed the evidence in brown paper bags, and then
      transported the evidence on June 24, 2004, to the Department of
      Forensic Sciences (“DFS”) lab located in Huntsville. The record
      reflects that the bags were labeled with descriptions of their contents,
      but the record does not indicate whether the bags were sealed.
      McCraw stated that he took the physical evidence into the DFS office
      and gave it to a DFS employee who logged the evidence and gave
      McCraw an evidence receipt. At trial, McCraw identified each item of
      evidence that he had secured from the trunk of the Millses’ vehicle
      and delivered to DFS.

             Robert Bass, a DNA analyst for DFS, testified about his
      examination and testing of the evidence. Bass gave a general
      description of the protocols used to test items at DFS, such as opening
      the bags, inventorying, and looking for stains. Bass was not questioned
      about who delivered the items to him or whether the items were in
      sealed bags when they were submitted to him. He identified the items
      submitted in the blue duffel bag, and he testified that he examined
      each item of evidence for any DNA evidence to compare to the DNA
      profiles of Floyd, Vera, Mills, and JoAnn. Bass found DNA profiles
      matching Vera’s DNA profile on blood found on the black t-shirt, the
      hammer, and the tire iron. He also detected a DNA profile from blood

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located on the blue work pants and the machete and a secondary
profile on the tire iron; those profiles matched Floyd’s DNA profile.
None of the DNA profiles matched Mills’ DNA profile.

       McCraw did not identify the name of the DFS employee to
whom he submitted the evidence when he relinquished control of it to
DFS, and Mills contends that there is no evidence regarding the
receipt, disposition, or handling of this evidence during the almost two
years it was in DFS’s custody. Citing Ex parte Holton, 590 So. 2d 918
(Ala. 1991), Birge v. State, 973 So. 2d 1085 (Ala. Crim. App. 2007), and
Ex parte Cook, 624 So. 2d 511 (Ala. 1993), Mills contends that there
were missing links in the chain of custody for that evidence and that
the admission of the evidence was plain error.

      In Ex parte Holton, this Court stated:

      “[T]he State must establish a chain of custody without
      breaks in order to lay a sufficient predicate for admission
      of evidence. Ex parte Williams, 548 So. 2d 518, 520 (Ala.
      1989). Proof of this unbroken chain of custody is required
      in order to establish sufficient identification of the item
      and continuity of possession, so as to assure the
      authenticity of the item. Id. In order to establish a proper
      chain, the State must show to a ‘reasonable probability
      that the object is in the same condition as, and not
      substantially different from, its condition at the
      commencement of the chain.’ McCray v. State, 548 So.
      2d 573, 576 (Ala. Crim. App. 1988). Because the
      proponent of the item of demonstrative evidence has the
      burden of showing this reasonable probability, we require
      that the proof be shown on the record with regard to the
      various elements discussed below.

      “The chain of custody is composed of ‘links.’ A ‘link’ is
      anyone who handled the item. The State must identify
      each link from the time the item was seized. In order to
      show a proper chain of custody, the record must show
      each link and also the following with regard to each link’s

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      possession of the item: ‘(1) [the] receipt of the item; (2)
      [the] ultimate disposition of the item, i.e., transfer,
      destruction, or retention; and (3) [the] safeguarding and
      handling of the item between receipt and disposition.’
      Imwinklereid, The Identification of Original, Real Evidence,
      61 Mil. L. Rev. 145, 159 (1973).

      “If the State, or any other proponent of demonstrative
      evidence, fails to identify a link or fails to show for the
      record any one of the three criteria as to each link, the
      result is a ‘missing’ link, and the item is inadmissible. If,
      however, the State has shown each link and has shown all
      three criteria as to each link, but has done so with
      circumstantial evidence, as opposed to the direct
      testimony of the ‘link,’ as to one or more criteria or as to
      one or more links, the result is a ‘weak’ link. When the
      link is ‘weak,’ a question of credibility and weight is
      presented, not one of admissibility.”

590 So. 2d at 919–20.

       In Ex parte Cook, supra, the defendant, who had been convicted
of murder, contended that the trial court committed reversible error in
admitting, over the defendant’s objection, several items of physical
evidence—specifically, cigarette butts, a knife scabbard, blood-soaked
gauze, socks, and jeans. This Court held that the cigarette butts,
scabbard, gauze, and socks should not have been admitted over the
defendant’s objection. 624 So. 2d at 512–14. In particular, this Court
stated:

      “A link was also missing in the chain of custody of the
      cigarette butts, scabbard, gauze, and socks. Although
      [Officer] Weldon testified that she directed and observed
      the collection, the State did not establish when these
      items were sealed or how they were handled or
      safeguarded from the time they were seized until
      Rowland [, a forensic serologist,] received them [and


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      tested them]. This evidence was inadmissible under [Ex
      parte] Holton [, 590 So. 2d 918 (1991)].

      “The cigarette butts were prejudicial to [the defendant],
      because they established that someone with her blood
      type was in [the victim’s] house. Likewise, the socks
      found in [the defendant’s] mobile home were prejudicial,
      because they were stained with blood that matched [the
      victim’s] type. The erroneous admission of these items
      probably injuriously affected [the defendant’s] substantial
      rights, and she is entitled to a new trial. See Rule 45, Ala.
      R. App. P.”

624 So. 2d at 514.

      In Birge, supra, the victim was thought to have died of natural
causes and had been transported to Indiana for burial. 973 So. 2d at
1087. However, after law enforcement began to investigate, the
victim’s body was exhumed, and an autopsy was performed in Indiana.
At trial, there was testimony that the victim had died from an
overdose of prescription drugs. That cause-of-death testimony was
based on the results of testing of samples taken from the victim’s body
during the autopsy. 973 So. 2d at 1088–89.

        Citing missing links in the chain of custody, the defendant in
Birge objected to the introduction of the toxicology results and the
cause-of-death testimony based on those results. The doctor who
performed the autopsy testified at trial and stated that he had watched
his assistant place the samples in a locked refrigerator. The doctor
testified that the next day his assistant would have delivered the
samples to a courier, who then would have delivered them to an
independent lab for testing. However, neither the doctor’s assistant
who secured the samples, nor the courier who transported the samples
to the lab, nor the analyst who tested the samples testified at trial. The
doctor also testified that there may have been several people who had
handled the specimens during that time. Additionally, there were
significant discrepancies between the doctor’s notes about the
specimens in his autopsy report and the description of those

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specimens in the toxicology report from the independent lab that had
tested them. The Court of Criminal Appeals ultimately concluded that
there were numerous missing links in the chain of custody and that,
because those missing links related to the crux of the case against the
defendant, the trial court had committed reversible error in admitting
the evidence over the defendant’s objection. 973 So. 2d at 1094–95,
1105.

       In contrast to Ex parte Cook and Birge, however, the State here
offered sufficient evidence on each link in the chain of custody of the
evidence Mills complains of. Investigator Smith first discovered the
evidence in the trunk. Officer McCraw recovered the evidence
pursuant to a search warrant, inventoried it, bagged it, secured it, and
delivered it to the custody of the DFS employee who logged the
evidence and gave McCraw a receipt for it. Bass, who examined and
tested the evidence at DFS, testified generally about the protocols
used to test items at DFS, and he testified specifically about the
testing he performed on the evidence.

      Although the “tall” DFS employee to whom McCraw
submitted the items was never identified and did not testify at trial,
McCraw’s testimony was sufficient direct evidence indicating that the
items were secured until they were delivered to DFS. As to whether
there was sufficient circumstantial evidence indicating that the items
remained secure until Bass tested them, the State cites Lee v. State,
898 So. 2d 790, 847–48 (Ala. Crim. App. 2001), in which the Court of
Criminal Appeals stated:

      The purpose for requiring that the chain of custody be
      shown is to establish to a reasonable probability that there
      has been no tampering with the evidence. . . .

      Tangible evidence of crime is admissible when shown to
      be ‘in substantially the same condition as when the crime
      was committed.’ And it is to be presumed that the integrity
      of evidence routinely handled by governmental officials was
      suitably preserved [unless the accused makes] a minimal
      showing of ill will, bad faith, evil motivation, or some evidence

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      of tampering. If, however, that condition is met, the
      Government must establish that acceptable precautions
      were taken to maintain the evidence in its original state.

      The undertaking on that score need not rule out every
      conceivable chance that somehow the [identity] or
      character of the evidence underwent change. [T]he
      possibility of misidentification and adulteration must be
      eliminated, we have said, not absolutely, but as a matter
      of reasonable probability. So long as the court is
      persuaded that as a matter of normal likelihood the
      evidence has been adequately safeguarded, the jury
      should be permitted to consider and assess it in the light
      of surrounding circumstances.

(Emphasis added.)

       As noted above, Mills did not challenge the chain of custody as
to any of the now-challenged items at trial. Unlike Birge, in which
evidence indicated that several different unidentified individuals could
have handled the specimens and there were discrepancies in the
records about the specimens, nothing in the present case indicates that
the items were tampered with or altered in any manner from the time
McCraw relinquished custody of them to DFS until the time Bass
tested them at DFS. Mills also has made no “showing of ill will, bad
faith, evil motivation, or some evidence of tampering” while the items
were at DFS. Lee, 898 So.2d at 847. Thus, this link, at worst, is a
“weak” link rather than a “missing” link in the chain of custody. See
Ex parte Holton, 590 So. 2d at 920 (“If, however, the State has shown
each link and has shown all three criteria as to each link, but has done
so with circumstantial evidence, as opposed to the direct testimony of
the ‘link,’ as to one or more criteria or as to one or more links, the
result is a ‘weak’ link. When the link is ‘weak,’ a question of
credibility and weight is presented, not one of admissibility.”).

      Both Ex parte Cook and Birge are distinguishable from the
present case in additional respects as well. Unlike Ex parte Cook, in
which the officer who supervised the collection of the items did not

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      maintain custody of them from the time they were seized until they
      were submitted for testing, 624 So.2d at 513, the officer who seized the
      physical evidence at issue in Mills’ case, Officer McCraw, testified
      that he collected the evidence, secured it, and maintained custody of it
      until he transported it to DFS. In contrast to Birge, there was
      testimony in Mills’ case from the officer, Officer McCraw, who
      secured and transported the evidence to the lab for testing. There also
      was testimony from Bass, the person who performed the forensic tests
      on the evidence submitted to DFS. Finally, the forensic evidence at
      issue, although certainly damaging to Mills, was not the “crux” of the
      State’s case against Mills; JoAnn’s testimony was crucial evidence in
      the State’s case against Mills, as was the fact that the items, even apart
      from forensic testing of those items, were found in Mills’ car the day
      after the murders. Accordingly, no plain error occurred as to this
      issue.

Ex parte Mills, 62 So. 3d at 597-98 (footnotes and some citations omitted).

      The record supports the Alabama Supreme Court’s disposition of Mills’

underlying chain of custody claim. As the Alabama Supreme Court noted, each of

the items of evidence at issue was tagged when they were collected by law

enforcement, and the collecting officer identified each of the items at trial. (Vol. 8,

Tab #R-18, R. 552-54.) The officer who collected the evidence also bagged and

labeled the items before personally delivering the items to DFS, where a DFS

employee logged the items and provided a receipt to the officer. (Id. at 548-50.) At

trial, the DFS analyst who tested the items discussed the procedures he used for

cataloging and testing the items. (Id. at 606-07.) Consequently, evidence existed

regarding each link’s receipt, disposition, and handling of the items.


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      Further, Mills does not identify a holding of the Supreme Court that is in

conflict with the ACCA’s decision. Because the underlying claim lacked merit, so

did the ineffective assistance of counsel claim. Accordingly, Mills is due no relief.

             14.    Mills’ claim that his trial counsel failed to adequately
                    litigate the motion for new trial

      Mills argues that his trial counsel was ineffective in litigating his motion for a

new trial by not presenting sufficient evidence in support of his claims. By way of

background, JoAnn testified at trial that she had not made any deals in exchange for

her testimony. Mills thoroughly cross-examined her regarding whether she had

made any deals in exchange for her testimony. The prosecutor stated that the State

had not made any promises to JoAnn; that the State had not suggested that a

promise might be made after she testified truthfully; and that there was not any

inducement whatsoever for JoAnn’s testimony. In an unverified motion for a new

trial, Mills’ defense counsel asserted:

      The co-defendant Jo Ann Mills whose self-serving testimony
      constituted the sole direct evidence against the defendant perjured
      herself by declaring that her testimony was given neither in an attempt
      to procure leniency for herself, nor pursuant to an expressed or
      implied plea bargain agreement or arrangement, nor as a result of an
      expresses or implied offer of leniency. Charged with three counts of
      capital murder she in fact pleaded guilty to murder and was sentenced
      to life in prison thirty days after the verdict in this case.




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(C.R. 120.) The motion for a new trial did not include any evidence to indicate that

JoAnn had in fact made a deal with the State at the time of trial. Rather, the motion

was based on counsel’s bare assertions that JoAnn had committed perjury and that

she had subsequently pled guilty to a lesser included offense.

      The trial court denied Mills’ motion for a new trial. The ACCA affirmed the

denial on direct appeal, reasoning that there is no error in a trial court’s denial of a

motion for a new trial where no evidence is offered in support of that motion. Mills,

62 So. 3d at 571.

      Mills now contends that his trial counsel’s failure to provide evidence or

move the court for discovery or an evidentiary hearing at which to produce

evidence in support of the claim in the motion for new trial was constitutionally

deficient.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 81-82; Mills v. State, CR-13-0724, Mem.

Op. at 81-82 (Ala. Crim. App. Dec. 11, 2015)). The state court held that the claim

was insufficiently pleaded. (Id. at 82.) Specifically, the court held that “Mills did

not plead any facts that could have been discovered and presented at the hearing on

the motion for new trial.” (Id.)


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      Mills must demonstrate that the ACCA’s conclusion was unreasonable or

contrary to law. See Borden, 646 F.3d at 812 (“A ruling by an Alabama court under

Rule 32.6(b) is . . . a ruling on the merits.”). However, Mills still fails to allege what

specific evidence or arguments his trial counsel could have presented during the

motion for new trial to show that JoAnn lied on the stand and was in fact testifying

against Mills in exchange for a lesser sentence. Mills’ failure to state any facts

supporting this claim dooms his claim. See Mayle, 545 U.S. at 655 (“[T]he petition

must ‘specify all the grounds for relief available to the petitioner’ and ‘state the

facts supporting each ground.’”) (quoting Rule 2(c) of the Rules Governing § 2254

Cases in the U.S. District Courts).

      Mills argues that if it was true that JoAnn perjured herself and the State failed to

disclose this, Mills would have a claim under Brady, 373 U.S. at 87; Giglio, 405 U.S.

at 154-55 (finding due process violation where key state witness’s credibility was

“an important issue in the case, and evidence of any understanding or agreement as

to a future prosecution would be relevant to his credibility and the jury was entitled

to know of it”); and Napue, 360 U.S. at 269 (holding that “conviction obtained

through use of false evidence, known to be such by representatives of the State”

violates Fourteenth Amendment), and that he would have been entitled to a new

trial. Such speculation does not meet Mills’ burden of pleading facts in support of


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his claim. Because Mills cannot point to any reason that the ACCA’s decision

holding that this claim was insufficiently pleaded was objectively unreasonable, he

is due no relief.

       D.     Mills’ claim that he was denied effective assistance of counsel
              during the penalty phase of his trial
       Mills argues that his defense counsel did not render reasonably effective legal

representation during the penalty phase of his trial and thereby denied him his

rights under the Fifth, Sixth, Eighth, and Fourteenth Amendments to the United

States Constitution. Mills divides this claim into six sub-claims, each of which is

addressed in turn.

              1.     Mills’ claim that his trial counsel failed to conduct a
                     mitigation investigation or prepare for the penalty phase of
                     trial

       Mills raises six sub-claims in support of his contention that his trial counsel

failed to conduct an adequate mitigation investigation in preparation for the penalty

phase of his trial. Mills raised each of these six sub-claims for the first time in his

Rule 32 proceedings, and the ACCA rejected each on the merits in its review of the

circuit court’s denial of Mills’ Rule 32 petition. (Vol. 21, Tab #R-64 at 19; Mills v.

State, CR-13-0724, Mem. Op. at 19 (Ala. Crim. App. Dec. 11, 2015)).

       The Court notes that in assessing Strickland prejudice flowing from

counsel’s performance in this context, courts are required to “evaluate the totality

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of the available mitigation evidence—both that adduced at trial, and the evidence

adduced in the habeas proceeding—in re-weighing it against the evidence in

aggravation.” Williams, 529 U.S. at 397-98. “That same standard applies—and will

necessarily require a court to ‘speculate’ as to the effect of the new evidence—

regardless of how much or how little mitigation evidence was presented during the

initial penalty phase.” Sears v. Upton, 561 U.S. 945, 955 (2010). Where a petitioner

challenges a death sentence, “the question is whether there is a reasonable

probability that, absent the errors, the sentencer . . . would have concluded that the

balance of aggravating and mitigating circumstances did not warrant death.”

Strickland, 466 U.S. at 695, 104 S. Ct. at 2069.

      Thus, before addressing each sub-claim individually, the Court notes that at

the sentencing hearing before the jury, the State presented argument and evidence

on the following aggravating circumstances: (1) the murders occurred during the

course of a robbery, (2) the murders were committed by a person under sentence of

imprisonment, (3) the murders were especially heinous, atrocious or cruel

compared to other capital offenses, and (4) Mills intentionally caused the death of

two or more persons. Mills offered as mitigating circumstances that he had no

significant history of prior violent criminal activity, that at the time of the murders,

he was under the influence of an extreme mental or emotional disturbance, and that


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he has been rehabilitated in prison. Mills called his sister, Kim Mobley, and his

father’s girlfriend, Sherri Sanchez, to testify in further mitigation.

                    i.     Mills’ claim that his trial counsel failed to investigate
                           the evidence of the impact on Mills of his parents’
                           lifelong methamphetamine addiction

      Mills alleges that his trial counsel failed to investigate readily available

evidence that his parents used, abused, dealt, and were addicted to

methamphetamines throughout his life. Some of the facts that Mills contends his

trial counsel would have discovered, if they had conducted an adequate mitigation

investigation, are as follows. Donnie Mills, Mills’ father, used and sold

methamphetamine throughout Mills’ childhood and young adulthood. Donnie was

arrested and convicted for methamphetamine possession in 1995 and again in 2004.

During most of Mills’ childhood, Donnie drove a truck for a living, and Mills

accompanied him often. Donnie regularly used and sold methamphetamine to

other truckers during this period of his career, including when Mills accompanied

him on the road. Donnie lost his license because of his drug use and dealing.

Donnie opened a diesel repair shop in Haleyville when Mills was about fifteen years

old. Donnie sold methamphetamine out of the shop, and Donnie and his employees

regularly   used    methamphetamine.        Donnie     encouraged        Mills   to   use

methamphetamine. Diane, Mills’ mother, began using methamphetamine when


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Mills was a young child and regularly used methamphetamine until October 2003,

when she suffered a massive aneurysm that eventually ended her life. Diane was

routinely high in front of Mills and her other children. In 1995, Donnie and Diane

were arrested at Donnie’s shop for possession of methamphetamine and drug

paraphernalia. They were eventually convicted of the possession charges and

sentenced to ten years in prison, later modified to five years of probation. Donnie

was forced to close his shop, and Donnie and Diane began to sell

methamphetamine from their home on a full-time basis. Donnie later opened a new

diesel repair shop in 1998, from which he and Diane continued to deal and use

methamphetamine. Mills worked for his father at the shop off-and-on from 2000 to

early 2003.

      According to Mills, had his counsel presented this mitigating evidence to the

trial court at sentencing, he would have been sentenced to life imprisonment rather

than death.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 70-73; Mills v. State, CR-13-0724, Mem.

Op. at 70-73 (Ala. Crim. App. Dec. 11, 2015)). The court first noted that Mills’

claim was insufficiently pleaded concerning the prejudice prong of Strickland. (Id.


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at 70.) The court held that Mills’ bare assertion that there was a reasonable

likelihood of a different outcome was insufficient given the strong evidence of

aggravation concerning Mills’ crime, which the trial court noted was “cold,

calculated, rehearsed, and unremorseful.” (Id. at 71.) The court further found that

Mills’ allegations concerning his parents’ drug use were not compelling, noting

that evidence of a difficult childhood is characterized as a “double-edged sword.”

(Id. at 72, citing McWhorter v. State, 142 So. 3d 1195, 1248-49 (Ala. Crim. App.

2011)). Finally, the court noted that some evidence of Mills’ family history of drug

use was presented at trial. (Id. at 72-73.)

      Mills has not demonstrated that the ACCA’s decision holding that this claim

was properly summarily dismissed was objectively unreasonable or contrary to

clearly established Supreme Court precedent. First, the record establishes that trial

counsel did present some evidence about Mills’ family’s drug use during the

penalty phase of his trial. Sherri Sanchez, Donnie’s girlfriend, testified that Mills’

father went to prison after being convicted of possession of methamphetamine.

(Vol. 10, Tab #R-28, R. 982, 984.) Even assuming that trial counsel had presented

additional evidence that Mills’ parents used drugs throughout his life, this evidence

would not have added any significant mitigating evidence and would have been

merely cumulative.


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      Moreover, the ACCA was correct that Mills’ allegations concerning his

parents’ drug use were not compelling evidence, particularly in light of the heavy

evidence of aggravating circumstances in his case. The majority of Mills’

allegations concerning his parents’ drug use consisted of general assertions that his

parents simply used or sold methamphetamines, most of which occurred when

Mills was already a teenager. Mills failed to plead any specific facts concerning his

early childhood other than the generic allegation that his parents simply used drugs.

Notably, the allegations concerning the alleged drug use by Mills’ parents related

mainly to his parents, not Mills himself.

      Mills contends that his case is similar to Johnson v. Secretary, Department of

Corrections, 643 F.3d 907, 930 (11th Cir. 2011), where the Eleventh Circuit granted

habeas relief based on ineffective assistance of counsel where trial counsel failed to

adequately investigate and uncover information about a defendant’s family that

would have contradicted the more positive image presented at the penalty phase of

trial. In that case, trial counsel brought forward evidence that the petitioner’s

parents were “cold and uncaring, something in the nature of the ‘American

Gothic’ couple.” Id. at 936. The jury heard testimony from four witnesses that the

defendant’s father had been a “weekend drinker,” that his mother would also

drink, that the defendant spent several months in an orphanage, that he was an


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alcoholic, and that his mother and brother died before his arrest for capital murder.

Id. at 912-13. In fact, as revealed at the habeas evidentiary hearing, they were raging

alcoholics; the petitioner was put into an orphanage when his father went on a

three-month drinking binge in another state; the petitioner’s mother attacked his

father with a butcher’s knife; and the petitioner was singled out for particularly

severe beatings. Id. at 936-37. The jury never heard anything about the petitioner’s

mother’s repeated suicide attempts—one of them discovered by the petitioner

when he was a child. Id. It did not know anything about how the petitioner later

found his mother, dead of an overdose, clutching a photograph of his dead brother,

who also died of an overdose. Id. at 937. The jury also heard that the petitioner’s

grandparents “were caring and nurturing people,” whereas later-introduced

habeas evidence showed them to have inflicted horrifying physical, emotional, and

psychological abuse on the petitioner. Id.

      Here, the facts about his parents’ drug use that Mills contends his counsel

should have offered during the penalty phase simply do not compare with the

horrifying acts that the petitioner in Johnson suffered during his childhood. Mills

contends that, like the witnesses did in Johnson, his sister, Kim Mobley, painted a

falsely positive picture of the Mills family during the penalty phase, describing

Donnie and Dianne Mills as “very good parents” and testifying she and Mills grew


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up in a “good home.” (Vol. 10, Tab #R-28, R. 975.) She also testified that Donnie

was “a good dad” and “a good provider.” (Id. at 976.) But far from hiding

something far more sinister, these characterizations actually echo the statements

Mills makes in other parts of his habeas petition that he adored his mother, as

evidenced by his driving one hour each way after work to spend the night with her

when she was ill, and that he idolized his father, whom he also cared for

emotionally and financially. It thus appears that while they certainly had their

issues with drug abuse, Mills’ family was close knit.

      Mills also contends that his case is similar to Cone v. Bell, 556 U.S. 449

(2009), but Cone is also distinguishable on its facts. In Cone, the State’s strategy

had been “to present Mr. Cone as a calculating, intelligent criminal who was fully

in control of his decision and actions at the time of the crimes. A key component of

that strategy involved discrediting Cone’s claims of drug use.” Id. at 1174. To that

end, the State presented expert and lay witnesses to establish that he was not

addicted to drugs, including a former heroin addict with whom he had spent time a

few months before the murders who testified that she no longer used drugs, stayed

away from people who did, had never seen Cone use drugs and had never seen him

show signs of paranoia. After his conviction for murder, Cone learned about

evidence that the State possessed but had not disclosed, including statements by


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witnesses that he appeared “drunk or high,” “acted real weird,” and “looked wild

eyed” in the two days before the murders; statements of police officials that he was

a serious drug user; and undisclosed notes of a police interview with the former

heroin addict showing discrepancies between her initial statement and her trial

testimony. Id. at 1783–84. The Supreme Court remanded for a hearing where

evidence of Cone’s drug addiction “may have persuaded the jury [at the

sentencing phase of Cone’s trial] that Cone had a far more serious drug problem

than the prosecution was prepared to acknowledge, and that Cone’s drug use

played a mitigating, though not exculpating, role in the crimes he committed.” Id.

      In obvious contrast to Cone, the State put on testimony that Mills’ abused

drugs and even use it as an aggravating circumstance in closing argument, stating:

“JoAnn Mills gave you a reason for this brutality in one word, methamphetamine,

‘We were smoking meth.’ . . . They were geeked out. That is why you have the

brutality of this attack.” (Vol. 10, Tab #R-23, R. 913).

      In any event, evidence of his parents’ drug use may have damaged Mills’

mitigation efforts. As the Eleventh Circuit has “repeatedly recognized, evidence of

drug and alcohol use is often a two-edged sword that provides an independent basis

for moral judgment by the jury.” Brooks v. Commissioner, Ala. Dept. of Corrs., 719

F.3d 1292, 1304 (11th Cir. 2013). Given that his drug use near the time of the


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murders was offered at trial, more evidence of his parents’ drug use could have

further emphasized Mills’ culpability and suggested to the jury that he was

perpetuating a history of illegal activity.

      Even accepting Mills’ allegations as true and considering all the additional

mitigating evidence alleged along with the mitigating evidence presented at trial,

Mills failed to plead a claim that could show that there was a reasonable probability

that his sentence would have been different. Thus, Mills is due not relief.

                    ii.    Mills’ claim that his trial counsel failed to investigate
                           Mills’ own extended history of methamphetamine
                           abuse and addiction

      Mills also alleges that his trial counsel was ineffective for failing to adequately

investigate and inform the jury of evidence that he abused methamphetamines for

13 years, spanning from his teenage years to the time of the crime. Mills contends

that his counsel could have obtained this information from Donnie Mills, Kim

Mobley, Johnny Mills, Danny Mills, Marlon Wakefield, and other friends, family

members, and co-workers. Some facts that Mills contends his counsel would have

discovered are as follows. Mills obtained a trucking license when he turned 21, and

shortly thereafter his father supplied him directly with methamphetamine so that

he could stay awake on the road. He used methamphetamine daily for almost two

years to stay awake and deliver his loads on time. Donnie and Mills also used


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methamphetamine together in order to work long hours on truck-repair projects.

Donnie occasionally asked Mills to pick up drugs for Donnie in California while he

was on the road, and Mills complied. Mills met and became involved with JoAnn

Greene while he was on the road in 1997. JoAnn worked as his truck escort for

“wide-load” trucks, and she and Mills continued their romantic relationship off-

and-on until Mills’ arrest in 2004. JoAnn had used methamphetamine before she

met Mills. Mills asserts that had his trial counsel investigated and presented this

evidence in mitigation, he would not have been sentenced to death.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 73; Mills v. State, CR-13-0724, Mem. Op.

at 73 (Ala. Crim. App. Dec. 11, 2015)). Similar to Mills’ claim concerning his

parents’ drug use, the ACCA held that Mills failed to plead a sufficiently specific

claim of prejudice under Strickland, noting that his claim consisted of only a bare

allegation. (Id.) The court also rejected Mills’ underlying claim, noting that “there

was evidence of Mills’ extensive drug use—which Mills insistently denied

throughout the proceedings—before the circuit court.” (Id.)

      Mills has failed to demonstrate how the state court’s finding was objectively

unreasonable. First, additional evidence of Mills’ drug use would have been


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cumulative to what was presented at trial. Both the trial court and the jury already

heard testimony about Mills’ drug use, as JoAnn testified that she and Mills had

stayed up for over 24 hours using meth prior to murdering the Hills. (Vol. 9, Tab

#R-19, R. 690-91.) Other evidence was also presented that Mills had used meth

before on multiple occasions. (Id. at 885.) Based on this evidence, Mills’ trial

counsel argued during the penalty phase that the jury had “heard all kind of

evidence about the use of methamphetamine” and further argued that this

evidence showed that Mills was under the influence of methamphetamines at the

time of the offense. (Id. at 991.) As a result, the trial court found the statutory

mitigating circumstance contained in § 13A–5–51(2), Ala. Code 1975, to exist, i.e.,

that Mills committed the capital offenses while he was under the influence of

extreme mental or emotional disturbance. See Mills, 62 So. 3d at 573. Thus, given

the fact that evidence about Mills’ drug use was already presented during the guilt

phase and such evidence was found to be a mitigating factor at the penalty phase,

even accepting Mills’ additional allegations as true, he failed to plead a claim that

could show a reasonable probability that his sentence would have been different.

      Moreover, Mills failed to plead facts that could show how there was a

reasonable probability that the aggravating circumstances would not have

outweighed the mitigating circumstances given the strength of the aggravating


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circumstances and the weak nature of the mitigating evidence. The extent of the

additional evidence Mills claims his counsel should have presented was that he

began using methamphetamines as a teenager and that he used drugs while he

worked as a truck driver. None of this evidence would have been compelling, even

when considered with all the mitigating evidence presented at trial, in the face of

the strong evidence in aggravation.

       Indeed, the cases upon which Mills relies involve a defendant’s drug use as a

child, among several other distinguishing facts. For example, in Cooper v. Secretary,

Department of Corrections, 646 F.3d 1328, 1355 n.20 (11th Cir. 2011), the Eleventh

Circuit granted habeas relief on a claim of ineffective assistance of counsel for

failure to investigate, holding that evidence of the defendant’s drug abuse at young

age was mitigating because it served as a means of escaping his childhood. The

evidence showed that the defendant’s father and older brother severely abused him

throughout his childhood and teenage years; he was abandoned by his mother for

long periods of time; he began using drugs and alcohol at age eleven to escape his

family and the abuse; this drug use included the use of inhalants, which, according

to the psychological expert at the post-conviction evidentiary hearing, could have

contributed to neurological deficits; and his IQ put him functioning at a borderline

level of intelligence.


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      Additionally, as in the previous section, the additional evidence likely would

have been damaging to Mills, as evidence of the defendant’s drug use is often a

double-edged sword. See Brooks, 719 F.3d at 1304. Notably, some of the evidence

Mills contended his counsel should have presented, such as the fact that Mills

picked up drugs for his father while in California, would not have painted Mills as a

sympathetic figure, but likely would have caused the jury to view Mills simply as a

typical drug dealer who routinely broke the law. Thus, given the danger of

presenting more evidence of drug use to a jury, even accepting these allegations as

true, the ACCA was correct in holding that Mills failed to plead a facially

meritorious claim.

      Because Mills failed to establish that this decision was objectively

unreasonable, he is due no relief.

                     iii.   Mills’ claim that his trial counsel failed to investigate
                            evidence that Mills was a loving, generous, and well-
                            liked brother, son, co-worker, and friend

      Mills alleges that his trial counsel failed to investigate and inform the jury

that was well-liked by his friends and family and went out of his way to do kind

things for people. He cites as examples that he would repair friends’ vehicles for

free or for a discount, that he often gave money to his father, and that he routinely

drove an hour to spend each night with his mother after she became terminally ill in


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2003. According to Mills, if his trial counsel had discovered and presented this

evidence in mitigation, he would not have been sentenced to death.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 73-74; Mills v. State, CR-13-0724, Mem.

Op. at 73-74 (Ala. Crim. App. Dec. 11, 2015)). The ACCA held that this claim was

insufficiently pleaded, “particularly as to Mills’ bare assertion that if counsel had

done what Mills contends counsel should have, there is a likelihood that the result

of the proceeding would have been different.” (Id. at 73.) Further, the court held

that Mills’ claim was meritless because Mills’ trial counsel did attempt to present

evidence that he had two sons and was a positive influence in their lives, but that

such evidence was undermined by the fact that Mills was in arrears on child-

support payments. (Id. at 73-74.)

      Mills has not shown that the ACCA’s finding that this claim was

insufficiently pleaded and subject to dismissal was objectively unreasonable. As an

initial matter, “counsel has no absolute duty to present mitigating character

evidence.” Mitchell v. Kemp, 762 F.2d 886, 889 (11th Cir. 1985). In any event, as

the trial court noted in its sentencing order, Mills’ trial counsel presented evidence

that Mills had two sons and that Mills could be a positive influence in their lives.


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See Mills, 62 So. 3d at 573. Moreover, Mills’ sister, Kim Mobley, testified before

the jury during the sentencing phase that Mills was a good brother, that he saw her

children and that he was a good uncle, and that he also visited his mother regularly

after she entered a nursing home. (Vol. 10, Tab #R-28, R. 974-975, 979.) Thus, the

additional general character evidence Mills claims should have been presented

would have been cumulative and would not have led to a reasonable probability of a

different sentence.

      Moreover, additional evidence of Mills’ kindness was not compelling or

significant given the evidence presented that suggested that Mills was not a positive

influence in his children’s lives. The pre-sentence report indicated that Mills had

been charged for nonsupport of his two children and was $10,318.67 in arrears on

his child support payments. Mills, 62 So. 3d at 573. The trial court found that this

fact undermined the strength of the mitigating circumstance concerning the

positive impact Mills had on his children, see id., and such evidence would likewise

undermine the strength of any mitigating effect relating to additional evidence

concerning his kindness. Further, this generally weak evidence would have been

further undermined if presented in concert with other evidence Mills now alleges

should have been presented—such as his history of drug abuse—which would have

been odds with evidence of his supposed good character.


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       Finally, the evidence Mills contends should have been presented merely

consists of generic acts of kindness such as the fact that he would work on a

friend’s truck for a discounted rate or that he gave money to his father. None of

this evidence would have had a significant effect on the balance of aggravating and

mitigating circumstances. Thus, he is due no relief.

                     iv.    Mills’ claim that his trial counsel failed to investigate
                            evidence that Mills was a skilled worker with a strong
                            work ethic

       Mills alleges that his trial counsel failed to present evidence that he was hard

working, had a strong work ethic, and worked diligently as a skilled mechanic and

trucker for most of his life.

       Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 74; Mills v. State, CR-13-0724, Mem. Op.

at 74 (Ala. Crim. App. Dec. 11, 2015)). The ACCA held that Mills did not plead a

sufficient allegation of prejudice under Strickland. (Id.) Further, the state court

found that trial counsel did present evidence of Mills’ work ethic, but that this

evidence was undermined by other evidence presented at trial. (Id.)

       Mills has failed to demonstrate how this decision was objectively

unreasonable. Trial counsel did present such information and this evidence was


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considered by the trial court as mitigating evidence in its sentencing order.

Specifically, evidence was presented during trial that Mills worked as a truck driver

and a mechanic starting in the eleventh grade and was described as “no trouble”

and a “hard worker.” Mills, 62 So. 3d at 574. In fact, this evidence was found to be

a non-statutory mitigating circumstance. Id. Any additional evidence concerning

his strong work ethic would have been cumulative of the evidence presented during

trial.

         Further, general evidence that Mills worked long hours and charged

customers a fair price are simply examples of generic information that should be

expected of any normal, good employee. Mills failed to plead how this non-specific,

routine information, even accepted as true, would have led to a reasonable

probability of a different sentence, particularly when, together with all other

mitigating evidence, it is weighed with the heinous nature of Mills’ crime and the

strength of the aggravating circumstances in this case. For these reasons, Mills is

due no relief.

                     v.     Mills’ claim that his trial counsel failed to investigate
                            and present evidence that Mills was under the
                            influence of multiple, extreme stressors, at the time of
                            the offense

         Mills alleges that his trial counsel was ineffective for failing to adequately

investigate and present mitigation evidence that he was under extreme stress as a

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result of overlapping factors in the months leading up to the murders. He describes

these “stressors” as the fact that his mother was ill, his father had poor health, he

suffered from tendonitis and/or carpal tunnel syndrome in his right hand, which

caused him to stop working and led to him having very little money, and he and

JoAnn had marital difficulties.

       Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 74-76; Mills v. State, CR-13-0724, Mem.

Op. at 74-76 (Ala. Crim. App. Dec. 11, 2015)). Specifically, the state court held that

Mills’ claim was properly dismissed because he failed to plead a specific claim of

prejudice under Strickland, and because his claim was refuted by the record. (Id. at

75.)

       Mills has not demonstrated the ACCA’s decision was unreasonable or

contrary to Supreme Court precedent. Indeed, Mills’ claim is both refuted by the

record and without merit because his trial counsel presented this information

during trial. Trial counsel argued during penalty phase closing arguments that the

offense occurred when Mills was “under a heck of a lot of pressure,” and that Mills

acted when “he was under extreme, extreme emotional distress and pressure




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because of the things that were stacking up against him in his life.” (Vol. 10, Tab

#R-30, R. 990-91.) Specifically, his trial counsel argued that:

      [A]ll of a sudden things start crashing down around him. His mom is
      near death; his dad gets sick, has a heart attack and stroke and starts
      getting depressed. He’s out of work. He can’t work because of the
      hand. The place where he lives belongs to his employer, who he can’t
      work for. He’s going to have to find a new place to live. His ex-wife is
      on him, trying to put him in jail for back child support.

(Id. at 990.) Furthermore, the trial court considered the fact that Mills had to quit

work based on the tendonitis in his hand as mitigating evidence. See Mills, 62 So. 3d

at 574. Thus, because trial counsel did present the same type of information that

Mills now alleges his trial counsel was ineffective for failing to present, Mills failed

to plead facts that would show that there was a reasonable probability that the

balance of aggravating and mitigating circumstance did not warrant death. See

Strickland, 466 U.S. at 695.

      Further, additional information on this subject matter would not have been

compelling or significant, and its mitigating effect would have been weak at best,

when weighed and considered with all the evidence presented during the penalty

phase. Indeed, the trial court stated in its sentencing order: “Giving the defendant

the benefit of any doubt the court does find that the defendant was faced with

emotional challenges due to the medical problems experienced by his parents, his

divorce, and loss of his job. But to experience these within a ten year period hardly

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qualifies the defendant as being under the influence of an extreme mental or

emotional disturbance.” (Vol. 1, Tab #R-3, C. 134). Mills failed to plead how

evidence that his parents were sick would have led to a reasonable probability of a

different sentence when balanced against four strong aggravating circumstances

stemming from a horrific, barbaric crime.

      Therefore, he is due no relief.

                    vi.   Mills’ claim that his trial counsel failed to investigate
                          and present evidence that Mills functioned well
                          during the three years he spent in pre-trial detention

      Mills contends that his trial counsel should have presented evidence that he

got along well in jail pending his trial and did not have any disciplinary problems.

       Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 76; Mills v. State, CR-13-0724, Mem. Op.

at 76 (Ala. Crim. App. Dec. 11, 2015)).

      The state court properly held that this claim was insufficiently pleaded. (Id.)

In particular, the court found that Mills failed to identify the name of any witness

who could have testified in support of this claim and raised only a bare allegation of

prejudice under Strickland. (Id.) Mills offers absolutely no basis to challenge the

reasonableness of the state court’s decision. He cites no Supreme Court case, nor


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points to any findings that he contends were based on an unreasonable

determination of the facts.

      Even considering the aforementioned six areas of evidence together, see

Porter, 558 U.S. at 41 (reviewing court must consider “the totality” of the available

mitigating evidence) (quoting Williams, 529 U.S. at 397-98)), and weighing them

against the aggravating factors, the Court is convinced that the ACCA’s rejection

of the claim was not unreasonable because the evidence would not have changed

the outcome. Therefore, he is due no relief.

             2.     Mills’ claim that his trial counsel failed to procure the
                    necessary expert assistance to effectively challenge the
                    State’s case during the penalty phase


      Mills alleges that his trial counsel were ineffective for failing to obtain expert

assistance to help prepare for the penalty phase, such as an independent

psychologist, a social worker, or a mitigation expert.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 76-77; Mills v. State, CR-13-0724, Mem.

Op. at 76-77 (Ala. Crim. App. Dec. 11, 2015)). The court determined that this claim

was insufficiently pleaded under Rule 32.6(b) of the Alabama Rules of Criminal

Procedure for two reasons. First, the court found that Mills failed to comply with

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Rule 32.6(b)’s pleading requirements by failing to identify an expert by name and

the expert’s expected testimony. (Id.) Second, the court found that Mills made

only a bare allegation of prejudice concerning this claim. (Id.)

      Mills has failed to demonstrate how the ACCA’s decision was objectively

unreasonable. See Borden, 646 F.3d at 812. Mills’ claim was nothing but a list of the

type of the experts he contended should have been called. Under Alabama law, his

claim failed because he “fail[ed] to identify an expert by name or plead the contents

of that expert’s expected testimony.” Lee, 44 So. 3d at 1166-67. Mills failed to

identify any holding from the Supreme Court that conflicts with the ACCA’s

proper application of this well-established line of Alabama caselaw concerning the

requirement that a Rule 32 petitioner plead the name of an expert and that expert’s

testimony. Thus, Mills is due no relief.

             3.     Mills’ claim that his trial counsel did not adequately
                    prepare the two mitigation witnesses they did present at the
                    penalty phase

      Mills alleges that his trial counsel failed to adequately prepare defense and

mitigation witnesses Kim Mobley and Sherri Sanchez to testify during the penalty

phase of trial. Mills contends that if his counsel had properly prepared Mobley,

Mills’ sister, her testimony would have included information about her parents’

lifelong methamphetamine addictions, Mills’ devotion to his mother, Mills’


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father’s illness, Mills’ right hand injury and struggles with methamphetamine

addiction, the fact that Mills was a loving and caring brother, uncle, and son, and

the fact that Mills had a strong work ethic.

       Mills contends that had his trial counsel adequately interviewed Sanchez,

Donnie’s wife, prior to putting her on the stand, Sanchez would have told the jury

how Mills provided emotional and financial support to his father during his illness

and how Mills cared for his terminally ill mother.

       Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 77; Mills v. State, CR-13-0724, Mem. Op.

at 77 (Ala. Crim. App. Dec. 11, 2015)). Specifically, the court held that Mills’ claim

was insufficiently pleaded as he only raised a bare allegation of prejudice under

Strickland. (Id.) Further, the court held that the additional evidence that Mills

claimed should have been presented was cumulative to what was presented during

trial. (Id.)

       Consistent with the state court’s finding, an examination of the claim that

Mills presented to the state courts reveals that he failed to allege any new facts

within this claim. Instead, Mills merely re-summarized the same allegations he

asserted in his claim that trial counsel failed to conduct an adequate mitigation


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investigation. For the same reasons as stated in Part IV.D.1.i-vi, supra at pages 155-

76, Mills has failed to show how the ACCA’s decision affirming the summary

dismissal of this claim was objectively unreasonable. Thus, he is due no relief.

             4.     Mills’ claim that trial counsel did not investigate mitigating
                    circumstances, prepare adequately, or offer available
                    mitigation at the sentencing hearing before the judge

      Mills also contends that his trial counsel was also ineffective for failing to

present additional witnesses and evidence during the sentencing hearing before the

trial judge, after the jury had a returned a sentencing verdict recommending a

sentence of death. In a capital proceeding, the defendant has the right to present

mitigating evidence to the sentencing authority. Lockett v. Ohio, 438 U.S. 586, 604

(1978); § 13A-5-45(g), Ala. Code (1975). At the judicial sentencing hearing, Mills’

counsel offered no additional evidence and called no additional witnesses. Mills

contends that had trial counsel called available witnesses to testify at the sentencing

hearing, their testimony would have provided the trial judge with critical mitigating

evidence and provided a substantial basis for sentencing Mills to life imprisonment

without parole.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 79-80; Mills v. State, CR-13-0724, Mem.


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Op. at 79-80 (Ala. Crim. App. Dec. 11, 2015)). The state court held that this claim

was insufficiently pleaded, finding that this claim was nothing but a bare allegation.

(Id. at 80.) In particular, the court found that Mills simply reasserted that his trial

counsel should have presented the same evidence during the sentencing hearing

before the judge that he contends should have been presented at the penalty phase

before the jury. (Id.)

        Mills presents nothing in his habeas petition to challenge the state court’s

determination of this claim, and he failed to establish that the decision was

objectively unreasonable. Mills cites no relevant Supreme Court case concerning

trial counsel’s performance, nor does he identify any specific facts in the state-

court record to show that the state court decision was unreasonable.

        For the same reasons as stated in Part IV.D.1.i-vi, supra at pages 155-76,

Mills has failed to show how the ACCA’s decision affirming the summary dismissal

of this claim was objectively unreasonable. Thus, he is due no relief.

                5.      Mills’ claim that his trial counsel was ineffective for failing
                        to object to the trial court’s sentencing order

        Mills contends that his trial counsel was ineffective for failing to object to

various aspects of the trial court’s sentencing order. First, Mills contends that the

trial   court        improperly   considered       several   “non-statutory   aggravating

circumstances”: (1) the pain of the victims and their inability to “retaliate and

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commit a criminal offense against Jamie Mills,” (2) the need to “send . . . [a]

message,” (3) Mills’ “lack of remorse,” and (4) “the necessity for every person

being morally responsible for his or her own actions.” (Vol. 1, Tab #3, 134, 136.)

       Second, Mills contends that the trial court should have assigned greater

weight to the statutory mitigating circumstance that Mills committed the murders

while under the influence of an extreme mental or emotional disturbance. Mills

reads the trial court’s order to have expressly disparaged this factor. (See Vol. 1,

Tab #3, C. 133 (rejecting idea that “when an individual faces trials and tribulations

in their life, that fact should in some way mitigate . . . [a violent crime]”).)

       Third, Mills contends that the trial court erroneously failed to consider the

non-statutory mitigating circumstance that Mills had a possibility of moral and

spiritual rehabilitation.

       Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 80-81; Mills v. State, CR-13-0724, Mem.

Op. at 80-81 (Ala. Crim. App. Dec. 11, 2015)). The ACCA held that Mills’ claim

was insufficiently pleaded, finding that he made only a bare allegation that, had his

trial counsel objected, there was a reasonable probability of a different result. (Id. at

81.)


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      Mills has failed to establish that the ACCA’s decision was unreasonable or

contrary to Supreme Court precedent. Regarding Mills’ first challenge to the trial

court’s order, his reading of it is not correct. The trial court did not consider the

pain of the victims, their inability to retaliate against Mills, or Mills’ lack of

remorse as “non-statutory aggravating circumstances.” Instead, these were merely

passing comments in an extended section of the order in which the trial judge was

discussing why he was giving little weight to the mitigating circumstance that Mills

committed the murders while under the influence of an extreme mental or

emotional disturbance. (Vol. 1, Tab #3, C. 132-34.) In proper context, the trial

court’s statement was not made in the process of considering non-statutory

aggravating circumstances, and it was a relatively minor point in an otherwise

lengthy discussion of a mitigating circumstance.

      Mills cites Espinosa v. Florida, 505 U.S. 1079 (1992), for the assertion that

“[t]his consideration of these non-statutory aggravating circumstances was

reversible error.” However, Espinosa’s holding is that consideration of an “invalid

aggravating circumstance” violates the Eighth Amendment. Id. at 1081. The

Supreme Court defined an aggravating circumstance as “invalid” if “its

description is so vague as to leave the sentencer without sufficient guidance for

determining the presence or absence of the factor.” Id. The petitioner in Espinosa


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argued that the Florida aggravating factor that “the murder . . . was especially

wicked, evil, atrocious or cruel” was vague and therefore left the jury with

insufficient guidance as to when to find its existence. Id. at 1080. Unlike in

Espinosa, Mills nowhere argues that any of the aggravating factors in his case was

vague.

      Regarding Mills’ second challenge, that the trial court failed to give

sufficient weight to the circumstance that he committed the murders while under

the influence of an extreme mental or emotional disturbance, Mills fails to point to

any Supreme Court holding standing for the proposition that a trial court errs in

assigning what weight it thinks is appropriate based on the evidence to a mitigating

circumstance. Under Alabama law, “although consideration of all mitigating

circumstances is required, the decision of whether a particular mitigating

circumstance is proven and the weight to be given it rests with the sentencer.”

Spencer v. State, 58 So. 3d 215, 255 (Ala. Crim. App. 2008). Though Mills argues

that the trial court’s order suggested that it gave this circumstance no

consideration at all, the trial court expressly stated, “The court does find this to be

a mitigator in this case but assigns little weight to it in comparison to the

aggravating circumstances of this offense.” (Vol. 1, Tab #3, C. 134.)




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      Regarding Mills’ third challenge, that the trial court failed to consider the

possibility of his moral and spiritual rehabilitation, Mills fails to point to any

evidence in the record that the trial court affirmatively refused to consider such

evidence. Further, to the extent Mills’ argument is premised on the fact that the

trial court did not specifically list this proposed mitigating evidence in an itemized

fashion in its sentencing order, that argument is meritless. See Ex parte Lewis, 24

So. 3d 540, 652-53 (Ala. 2009) (“Although the trial court did not list and make

findings as to the existence or nonexistence of each nonstatutory mitigating

circumstance offered by [the appellant], as noted above, such a listing is not

required, and the trial court’s not making such findings indicates only that the trial

court found the offered evidence not to be mitigating, not that the trial court did

not consider this evidence.”).

      Given the fact that Mills’ substantive challenges to the trial court’s

sentencing order are meritless, Mills’ counsel could not have been ineffective in

failing to raise these challenges. Mills has failed to show that the ACCA’s rejection

of this claim was objectively unreasonable. Thus, he is due no relief.

             6.    Mills’ claim that his trial counsel failed to object to the trial
                   court’s alleged inaccurate instruction on the burden of proof
                   during the penalty phase




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      Mills alleges that the trial court was required to instruct the jurors that they

did not have to agree unanimously on the existence of any mitigating circumstance

before that circumstance or evidence could be considered. Mills also contends that

the trial court compounded this alleged error by referring to the jury as a unit—by

referring to the jury as “you” or “your” or “the jury”—during the instructions

about aggravating and mitigating circumstances, which he says increased the

likelihood that the jury interpreted the instructions to require unanimity on any

mitigating circumstances. When the trial court did not instruct the jury that they

need not be unanimous to find mitigation, Mills’ counsel’s failure to object,

according to Mills, was constitutionally deficient.

      Mills also alleges that, pursuant to Ex parte McNabb, 887 So. 2d 998, 1006

(Ala. 2004), the trial court was required to instruct the jurors that aggravating

circumstances must be found unanimously, and that his counsel’s failure to object

when the trial court failed to do so also deprived him of constitutionally adequate

representation.

       Finally, Mills points to the fact that the trial court instructed the jury that if

it found that “the defendant has overcome with the mitigating circumstances, that

they outweigh the aggravating circumstances” then its verdict would be life

imprisonment without parole. (R1. 1010.) Mills contends that this instruction led


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the jury to believe that it must return a verdict of death if it found that the

aggravating and mitigating circumstances were equally balanced, even though,

under Alabama law, this scenario dictates a verdict of life imprisonment without

parole, citing Ala. Code § 13A-5-46 (1975); Ex parte Bryant, 951 So. 2d 724, 730

(Ala. 2002). Mills contends that his trial counsel’s failure to object to these alleged

errors was deficient.

      Mills raised this claim for the first time in his Rule 32 proceedings, and the

ACCA rejected it on the merits in its review of the circuit court’s denial of Mills’

Rule 32 petition. (Vol. 21, Tab #R-64 at 77-79; Mills v. State, CR-13-0724, Mem.

Op. at 77-79 (Ala. Crim. App. Dec. 11, 2015)). Regarding Mills’ first claim

premised on counsel’s failure to object when the trial court did not instruct the

jurors that they need not be unanimous in finding mitigation, the ACCA found that

Mills’ underlying claims were without merit, stating as follows:

      Notably, Mills

             “does not assert that the jury was improperly instructed
             that it could not consider a mitigating factor unless the
             entire jury agreed upon its existence; rather, he argues
             that the circuit court led the jury to believe it had to be
             unanimous because the circuit court failed to instruct the
             jury otherwise.”

      Wilson v. State, 142 So. 3d 732, 797 (Ala. Crim. App. 2010). As noted
      in Wilson, a trial court is not “required to affirmatively instruct the
      jury that it need not be unanimous in finding mitigation.” Id. at 798.

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       Rather, “as long as there is no reasonable likelihood or probability that
       the jurors believed that they were required to agree unanimously on
       the existence of any particular mitigating circumstances, there is no
       error in the trial court’s instruction on mitigating circumstances.”

              Furthermore, this Court has rejected the argument that the trial
       court’s use of “you” and “your” to refer to the jury was reasonably
       likely to require unanimous agreement regarding the existence of
       mitigating circumstances. See, e.g., Hall v. State, 979 So. 2d 125, 167
       (Ala. Crim. App. 2007) (“‘Use of the word “you,” without more, in
       relationship to a jury charge on mitigating evidence does not imply
       that the finding of a mitigating circumstance must be unanimous.’”
       (quoting Hall v. State, 820 So. 2d 144, 146 (Ala. Crim. App. 1999)).

               Summary dismissal of this claim was proper.

(Id. at 78.)

       Contrary to Mills’ assertion, the ACCA’s decision on this point is not

contrary to Mills v. Maryland, 486 U.S. 367, 384 (1987). In Wilson, cited by the

ACCA above, the ACCA said: “The appellate courts of this state have consistently

held, since the United States Supreme Court’s decision in Mills [v. Maryland, 486

U.S. 367 (1988)], that as long as there is no ‘reasonable likelihood or probability

that the jurors believed that they were required to agree unanimously on the

existence of any particular mitigating circumstances,’ there is no error in the trial

court’s instruction on mitigating circumstances.” 142 So. 3d at 797-98.

       Further, Mills’ claim that the trial court failed to properly instruct the jury

that it must be unanimous in finding aggravating circumstances was meritless


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because, as noted by the ACCA, the jury had already found the existence of two

aggravating circumstances beyond a reasonable doubt by virtue of the guilty verdict

and thus, Mills was already properly eligible for the death penalty.

      Finally, Mills’ claim that the trial court’s instructions misled the jury on

whether a death sentence was proper if the aggravating and mitigating

circumstances were of equal weight is facially meritless. As noted by the ACCA, on

direct appeal the Alabama Supreme Court rejected this precise substantive claim.

The Alabama Supreme Court’s analysis on direct appeal was as follows:

            Finally, Mills contends that the trial court committed plain
      error in instructing the jury as to aggravating circumstances and
      mitigating circumstances. Mills first cites the following instruction
      from the trial court:

             “Now, ladies and gentlemen of the jury, if after a full and
             fair consideration of all the evidence in this case and all
             reasonable inferences therefrom you are convinced that
             the aggravating circumstances of capital murder during
             the course of robbery in the first degree and the capital
             murder of two or more people and any other of the
             aggravating circumstances which you determine the State
             of Alabama has proved to you beyond a reasonable doubt
             in today’s proceeding, if those outweigh the mitigating
             circumstances which have been presented by the defense,
             your verdict would be, ‘We, the jury, recommend the
             defendant Jamie Mills be sentenced to death.’ . . . Or
             after a full and fair consideration of the evidence in this
             case and all reasonable inferences therefrom you are
             convinced that the defendant has overcome with the
             mitigating circumstances, that they outweigh the
             aggravating circumstances proven by the State beyond a

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      reasonable doubt, then the form of your verdict would be,
      ‘We, the jury, recommend the defendant Jamie Ray Mills
      be punished by life imprisonment without parole. The
      vote is as follows,’ and there’s a blank for life without
      parole and a blank for death, and it must be signed by the
      foreperson and dated today’s date.”

(Emphasis added.)

       Mills, based on the language emphasized above, argues that this
instruction constitutes plain error under Ex parte Bryant, 951 So. 2d
724 (Ala. 2002). The State, citing Ex parte McNabb, 887 So. 2d 998
(Ala. 2004), and Ex parte Walker, 972 So. 2d 737 (Ala. 2007), argues
that Bryant is distinguishable and that no plain error occurred. We
agree with the State.

       In Bryant, the trial court’s instructions to the jury suggested
that the jury could recommend the death sentence if the mitigating
circumstances did not outweigh the aggravating circumstances. In
other words, the instructions suggested that the jury could
recommend the death sentence if the aggravating circumstances and
the mitigating circumstances were of equal weight. 951 So. 2d at 730.
Even more significant to the plain-error analysis in Bryant, however,
was that the trial court’s instructions invited the jury to recommend a
sentence of death without finding the existence of any aggravating
circumstance. 951 So.2d at 730.

      In McNabb, the sentencing instructions included the following:

      “Now, ladies and gentlemen, if, after a full and fair
      consideration of all of the evidence in the case, you are
      convinced beyond a reasonable doubt that at least one
      aggravating circumstance does exist and you are
      convinced that the aggravating circumstance outweighs
      the mitigating circumstances, then your verdict would be:
      ‘We, the jury, recommend that the defendant be
      punished by death, and the vote is as follows. . . .’
      However, if after a full and fair consideration of all of the

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      evidence in the case, you determine that the mitigating
      circumstances outweigh any aggravating circumstance or
      circumstances that exist, or you are not convinced
      beyond a reasonable doubt that at least one aggravating
      circumstance does exist, your verdict should be to
      recommend the punishment of life imprisonment without
      parole. . . . “

887 So. 2d at 1001 (emphasis added in McNabb). This Court in
McNabb concluded that these instructions did not constitute plain
error because the trial court had not taken the additional step of
inviting the jury to recommend a death sentence without finding the
existence of any aggravating circumstance. Specifically, this Court
stated in McNabb:

      “The charge in this case was not infected with the
      peculiar error present in [Ex parte] Bryant[, 951 So. 2d
      724 (Ala. 2002) ], that is, the jury in this case was not
      invited to recommend a sentence of death without finding
      any aggravating circumstance. It was that invitation in
      Bryant that caused the error in that case to rise to the
      level of plain error, rather than error reversible only by a
      proper objection. Thus, in this case, although the court
      did not specifically instruct the jury what to do if it found
      the mitigating and aggravating circumstances equally
      balanced, we cannot conclude, considering the charge in
      its entirety, that the error ‘seriously affect[ed] the
      fairness, integrity or public reputation of [these] judicial
      proceedings,’ Ex parte Davis, 718 So. 2d [1166,] at 1173–
      74 [ (Ala. 1998) ], so as to require a reversal of the
      sentence.”

887 So. 2d at 1004.

      Similarly, in Walker, which involved instructions regarding the
balancing of the aggravating circumstances and the mitigating
circumstances that were identical to the instructions in McNabb, this
Court held that no plain error occurred in the sentencing instructions

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      because “the trial court did not invite the jury in Walker’s case to
      recommend a sentence of death without finding any aggravating
      circumstance.” 972 So. 2d at 743.

             In Mills’s case, the trial court’s instructions, taken as a whole,
      clearly informed the jury that the only way it could recommend a
      sentence of death was if the jury determined that aggravating
      circumstances existed and that those aggravating circumstances
      outweighed the mitigating circumstances. The trial court instructed
      the jury initially that “the law also provides that the punishment
      which should be imposed upon the defendant depends on whether any
      aggravating circumstances exist beyond a reasonable doubt, and if so,
      whether the aggravating circumstances outweigh any mitigating
      circumstances.” (Emphasis added.) Even in the above-quoted portion
      of the instructions on which Mills relies for his argument, the trial
      court stated:

             “[I]f after a full and fair consideration of all the evidence
             in this case and all reasonable inferences therefrom you
             are convinced that the aggravating circumstances . . .
             which you determine the State of Alabama has proved to
             you beyond a reasonable doubt in today’s proceeding, if
             those outweigh the mitigating circumstances which have
             been presented by the defense, your verdict would be,
             ‘We, the jury, recommend the defendant Jamie Mills be
             sentenced to death.’ “

      (Emphasis added.) Accordingly, we hold that there was no plain error
      in the trial court’s instructions regarding the weighing of the
      aggravating circumstances and the mitigating circumstances.


Ex parte Mills, 62 So. 3d at 599-601. The ACCA held that Mills has not pleaded

facts indicating that his case is “one of the rare instances in which the plain error

standard and the prejudice standard of Strickland would result in different


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outcomes.” Mills has failed to demonstrate how the ACCA’s rejection of his claim

was objectively unreasonable. Thus, he is due no relief.

      E.     Mills’ claim that he was deprived of his right to a fair trial when
             jurors failed to answer questions accurately during voir dire

      Mills alleges that three jurors failed to answer voir dire questions accurately

which deprived him of the right to a fair trial. Specifically, Mills alleges that 1) L.H.

failed to disclose that she had been the victim of a crime, namely a fraudulent use of

a debit card, and that her son had been arrested for a crime, misdemeanor domestic

violence against his wife, 2) V.N. failed to disclose that V.N. knew Guin Police

Chief Bryan McCraw and Officer Larry Webb who were police officers and

witnesses during trial, and 3) R.F. failed to disclose that he knew Mills’ father and

that R.F. had been the victim of a crime when an armed individual assaulted him on

his property. Mills relies upon Irvin, 366 U.S. at 722 (the Sixth Amendment

guarantees a criminal defendant a fair trial by a panel of impartial, indifferent

jurors), and McDonough Power Equipment v. Greenwood, 464 U.S. 548, 556 (1984)

(this right is violated and a new trial is required when a juror deliberately deceives

the court about a matter which, if fully explored, would constitute a valid basis for a

challenge for cause against that juror).         Mills raised this claim for the first

time in his Rule 32 proceedings, and the circuit court rejected the claim in a

detailed order after conducting an evidentiary hearing. (C. 422-29.) The ACCA

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then affirmed the circuit court’s decision on the merits. (Vol. 21, Tab #R-64 at 83-

90; Mills v. State, CR-13-0724, Mem. Op. at 83-90 (Ala. Crim. App. Dec. 11,

2015)). The ACCA first noted the governing law, from Ex parte Dobyne, 805 So. 2d

763 (Ala. 2001), was that there are five factors that have been used to determine

whether probable prejudice existed as a result of a juror’s failure to disclose

information: “(1) the temporal remoteness of the matter inquired about; (2) the

ambiguity of the question propounded; (3) the prospective juror’s inadvertence or

willfulness in falsifying or failing to answer; (4) the failure of the juror to recollect;

and (5) the materiality of the matter inquired about.” (Id. at 84.) The ACCA then

noted that Mills failed to offer any evidence that he would have struck the jurors in

question had they responded in the manner he contends they should have. (Id. at

84.) The ACCA then determined that the record supported the denial of relief, and

that the circuit court did not abuse its discretion in denying Mills’ claims of juror

misconduct concerning V.B., R.F., and V.N. (Id. at 84-90.)

      The record supports the circuit court and the ACCA’s findings.

             1.     Juror L.H.

      Regarding juror L.H., the record shows that L.H. failed to answer either

affirmatively or negatively to a question on her questionnaire relating to whether a

family member had ever been charged or convicted of a crime. (Id. at 427-28; Rule


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32 Supp. C. 115.) The circuit court noted that many of the prospective jurors

submitted incomplete questionnaires; in some instances failing to complete entire

sections. (Id. at 428.) At the evidentiary hearing, L.H. testified that she did not

even know whether her son had been convicted of the misdemeanor and only heard

about the incident from her son. (Vol. 17, Tab #R-59, R. 50.) L.H. further testified

that she simply “did not think about” the incident with her son at the time of

Mills’ trial. (Id. at 61.) Thus, the circuit court properly concluded that L.H.’s

failure to answer the questionnaire was “nothing but oversight” and that L.H.

attempted to answer all questions “truthfully and forthrightly.” (Vol. 16, Tab #R-

55, C. 428.)

      The circuit court also found that the substance of the undisclosed matter was

not material. (Id. at 428-29.) L.H. testified that her son was arrested in 2001 for a

misdemeanor domestic violence charge. (Id. at 428.) But L.H. did not find out

about the charge until her son told her a year later and L.H. did not know if he had

even been convicted. (Id.)

      The circuit court further found that Mills failed to prove he might have been

prejudiced by L.H.’s failure to disclose in her questionnaire that she and her

husband had been the victim of a debit card fraud after returning from a cruise in

2006 because the nondisclosure was not willful and involved matters that were not


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material. (Id. at 429.) L.H. testified that “I did not even think about that at the time

that I was filling out the questionnaire. It wasn’t because I neglected to–I mean

refused to. It was because I didn’t even think about it.” (Id., quoting Vol. 17, Tab

#R-59, R. 61.) L.H. also testified that the debit card fraud was not fresh on her mind

when she filled out her questionnaire as this incident “was totally different” than

the crime for which Mills was charged. (Id. at 53, 54.)

      The circuit court’s findings were not unreasonable because the matters

inquired about were minor and not material to Mills’ trial or voir dire. Notably, at

least two other jurors disclosed that either themselves or their family members had

been victims of crime (including juror J.M., whose half-sister was murdered) and

were not struck. (Vol. 18, Tab #R-41, C. 42-46, 62-66.) Likewise, at least two other

jurors were not struck who disclosed that they had family members who were

charged with crimes. (Id. at 72-75; 52-55.) Thus, Mills simply cannot prove that

L.H.’s failure to disclose these relatively minor facts had an obvious tendency of

bias or would have prompted a challenge where similarly situated jurors were not

struck.

             2.     Juror V.N.

      Regarding juror V.N., the circuit court properly denied Mills’ claim that

V.N. committed misconduct by failing to disclose in voir dire that he knew


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McCraw and Webb, who testified during trial. The circuit court found that the

specific question posed by the prosecutor during voir dire was whether any juror

knew McCraw and Webb “better than just in passing.” (Vol. 16, Tab #R-55, C.

426.) The circuit court then noted V.N.’s testimony that he was not close friends

with McCraw and Webb, but knew them only in the professional context, limited to

an occasional Friday night football game. (Id. at 427.) Specifically, the circuit court

noted that V.N., who was the principal of the local high school, testified that

McCraw would occasionally escort him to the bank at halftime to deposit the gate

proceeds and that Webb may have provided the same service, but V.N. was not

sure. Given this testimony, the circuit court found that “in no way” was Mills

prejudiced and that the prosecutor’s question was at best ambiguous and that

V.N.’s silence “hardly constitutes anything but an honest response.” (Id. at 427.)

      The circuit court’s findings were not unreasonable. The record of voir dire

reveals that, although the prosecutor began the questioning of V.N.’s panel with a

broad definition of whether jurors “knew” people associated with the case, because

of the large response from the panel of jurors who knew McCraw and Webb, the

prosecutor narrowed his question concerning these two officers. (Vol. 6, Tab #R-

12, R. 281-87.) Specifically, after first asking jurors to raise their hands in response

to the question “how many folks know Bryan,” the prosecutor refined his question


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and asked the following: How many folks of the ones—since he’s chief, everybody

knows who the chief is usually—would count him as a personal friend—or let me

rephrase that. It’s been a long day. How many folks would say they know Bryan

better than just in passing? (Id. at 287.) The prosecutor repeated the same narrow

questioning concerning Webb by asking “Again, the folks that know him, who

would say they know him better than just in passing; you see him in a car and say,

‘That’s Larry Webb?’” (Id.) But as V.N. explained, he was not personal friends

with either McCraw or Webb and knew them only in the professional context. (Vol.

17, Tab #R-59, R. 95.) In fact, Mills failed to prove that V.N.’s knowledge of

McCraw and Webb was any different than the large number of jurors who indicated

during voir dire that they generally knew these officers. Thus, the circuit court’s

finding that V.N. gave an honest response was correct. And given that the

prosecutor initially asked broad-based questions concerning whether jurors knew

certain people, but then narrowed his questioning as to whether they knew

McCraw and Webb “better than just in passing” (Vol. 6, Tab #R-12, R. 287), the

circuit court’s finding that the prosecutor’s questioning on this subject was

“ambiguous” was equally correct. (Vol. 16, Tab #R-55, C. 427.)

      In addition to the ambiguity of the question, Mills also failed to establish that

the failure to respond by V.N. was willful or that the matter inquired about was


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material. Indeed, the record does not indicate that defense counsel spent any

significant time following up with the many jurors who indicated that they knew of

McCraw or Webb. Defense counsel’s actions, or lack thereof, demonstrated that

knowing either McCraw or Webb was not material. Notably, defense counsel did

not strike at least one juror, W.B. who indicated in voir dire that he knew both

Webb and McCraw. (Vol. 6, Tab #R-12, R. 215.)

      Finally, Mills failed to present either testimony from trial counsel that V.N.

would have been struck had this additional information been known, or evidence

that suggested the fact that V.N., like many other Marion County residents, knew

police officers like McCraw and Webb, had any obvious tendency to bias V.N.

             3.    Juror R.F.

      Finally, regarding juror R.F., the circuit court properly denied Mills’ claim

that R.F. committed misconduct by failing to disclose in his questionnaire that he

had been the victim of an assault. The circuit court found that in 1979 or 1980, R.F.

got into a fight with a drunk individual. (Vol. 16, Tab #R-55, C. 425.) The circuit

court noted R.F.’s testimony that the man initially slapped him, but that R.F. then

“whipped him.” (Id.) Based on this testimony, the circuit court found that R.F. did

not consider himself to be a victim and that any failure to recall this incident was

due to the fact that the incident had occurred over thirty years before trial. (Id. at


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425-426.) Thus, the circuit court concluded that Mills failed to prove probable

prejudice. (Id. at 429.)

      The circuit court’s findings are correct. Initially, Mills failed to establish that

R.F. was untruthful in failing to respond affirmatively that he had been the victim

of a crime. R.F. testified that he had never been a crime victim and “[n]ever called

the police in my life.” (Vol. 17, Tab #R-59, R. 76.) In the very least, R.F.’s

expressed belief about the circumstances of this altercation, as well as his testimony

that he tried to answer all questions during voir dire honestly (id. at 77), confirm

the circuit court’s conclusion that any failure to disclose this information was

inadvertent. Moreover, Mills failed to establish that he might have been prejudiced.

This temporally remote incident occurred in 1979 or 1980, nearly thirty years

before Mills’ trial. And as the circuit court noted, the remoteness of this event

contributed to R.F’s failure to recollect this event during voir dire.

      Finally, this incident was not material to any issue in Mills’ trial. As the

circuit court found, R.F’s incident involved an old-fashioned “fisticuffs” between

two men. (Vol. 16, Tab #R-55, C. 425.) That incident bore no resemblance to the

crime for which Mills was charged in which Mills brutally beat to death an elderly

couple in their home with a machete, tire tool, and ball-peen hammer.




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      In sum, the Alabama state courts properly rejected this claim and Mills has

failed to establish how those decisions were objectively unreasonable. Thus, he is

due no relief.

      F.     Mills’ claim that the State withheld evidence in violation of
             Brady, Giglio, and Napue

      Mills asserts that JoAnn received an undisclosed plea deal in return for her

testimony against him at trial and that the State did not provide this information to

the defense, despite Mills’ trial counsel’s request for such information.

      Mills also contends that JoAnn offered perjured testimony at his trial when

she testified that she was merely a bystander during the murders, or, at most,

participated in an after-the-fact coverup. Mills contends that this testimony was

perjured because it is not sufficient to convict her as a principal to murder under

Alabama law, see Ala. Code § 13A-6-2 (1975); id. § 13A-2-23 (complicity statute);

cf. id. § 13A-10-43 (hindering prosecution in the first degree), yet after Mills’ trial,

on September 24, 2007, JoAnn pled guilty to one count of murder under Ala. Code

§ 13A-6-2 (1975) and was sentenced to life with the possibility of parole. Mills

contends that during the plea colloquy, JoAnn admitted, under oath, that she

committed the elements of murder, but that that statement was irreconcilable with

her testimony at Mills’ trial. He further contends that the State knew that she was

offering perjured testimony yet failed to disclose this.

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      Mills contends that the State’s suppression of this evidence violated his

rights under the Fifth, Sixth, Eighth, and Fourteenth Amendments of the United

States Constitution as espoused in Brady, 373 U.S. at 87 (“[T]he suppression by

the prosecution of evidence favorable to an accused upon request violates due

process where the evidence is material either to guilt or to punishment, irrespective

of the good faith or bad faith of the prosecution.”); Giglio, 405 U.S. at 154

(evidence favorable to the defense includes evidence that would affect the jury’s

determination of the credibility of the witnesses); and Napue, 360 U.S. at 269

(holding that “conviction obtained through use of false evidence, known to be such

by representatives of the State” violates Fourteenth Amendment).

      This claim is procedurally defaulted from federal habeas review because it

was procedurally defaulted in state court because of Mills’ failure to comply with

state procedural rules. Specifically, the ACCA held that the circuit court properly

held that this claim was procedurally barred under Rule 32.2(a)(3) and (a)(5)

because it could have been raised at trial or on appeal. (Vol. 21, Tab #R-64 at 90-

92; Mills v. State, CR-13-0724, Mem. Op. at 90-92 (Ala. Crim. App. Dec. 11,

2015)).

      The state court’s finding was correct. Rule 32.2(a) of the Alabama Rules of

Criminal Procedure provides that “[a] petitioner will not be given relief under this


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rule based upon any ground” that “was raised or addressed at trial” (Rule

32.2(a)(2)), “could have been but was not raised at trial,” (Rule 32.2(a)(3)), “was

raised or addressed on appeal,” (Rule 32.2(a)(4)), or “could have been but was not

raised on appeal.” (Rule 32.2(a)(5)).

      Regarding Mills’ contention that JoAnn received an undisclosed plea deal in

exchange for her testimony, Mills’ trial counsel did in fact raise this argument in his

motion for a new trial, which was denied by the trial court. (Vol. 1, Tab #R-2, C.

120.) Yet Mills did not appeal the denial of this claim to the ACCA on direct

appeal. Thus, the ACCA was correct in finding this claim defaulted because Mills

could have raised this claim on appeal, but he did not.

      Mills argues that he can establish cause for the default: his trial counsel’s

failure to provide any evidence in support of the motion for a new trial. Mills is

correct that ineffective assistance of counsel can constitute cause. See McCleskey,

499 U.S. at 494. However, this Court rejected this specific ineffective assistance of

counsel claim in Part IV.C.14, supra, at pages 152-55, because Mills still fails to

allege what specific evidence or arguments his trial counsel could have presented

during the motion for new trial to show that JoAnn lied on the stand and was in fact

testifying against Mills in exchange for a lesser sentence. In other words, he offers

no evidence, other than pure speculation, to suggest that an undisclosed Brady


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violation actually occurred in this case. As such, this part of this claim is

procedurally defaulted.

      Regarding Mills’ other contention that JoAnn offered perjured testimony at

trial by stating that she was merely a bystander during the murders, the ACCA was

also correct in noting that it could have been, but was not, raised at trial or on direct

appeal, so it was barred by Ala. R. Crim. P. 32.2(a)(3) and (a)(5). As Mills

acknowledges, JoAnn pled guilty to murder on September 24, 2007, before Mills

even filed a motion for new trial (on October 2, 2007) or a direct appeal. (Rule 32

C. 93; C. 120-121.) Thus, on the face of the record, this claim certainly could have

been raised at trial or on appeal. Alternatively, Mills has never pleaded any specific

facts that, if true, would show that JoAnn’s trial testimony actually constituted

perjury. Accordingly, if Mills is arguing that his default on this claim is excused by

his trial counsel’s failure to raise this specific claim in his motion for new trial, that

ineffective assistance of counsel claim would be subject to rejection for the same

reason as noted above.

      G.      Mills’ claim that his sentence is unconstitutional

      Mills argues that his death sentence is unconstitutional because (1) the jury

did not unanimously agree that the aggravating circumstances, if any, outweighed

the mitigating circumstances, in violation of Ring v. Arizona, 536 U.S. 584 (2002);


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(2) the jury was misinformed about the significance of its role in the sentencing

process, in violation of Caldwell v. Mississippi, 472 U.S. 320, 328-29 (1985), and (3)

double counting the aggravating circumstances failed to narrow the class of cases

eligible for the death penalty, resulting in the arbitrary imposition of the death

penalty, see, e.g., Gregg v. Georgia, 428 U.S. 153 (1976); Zant v. Stephens, 462 U.S.

862, 877 (1983), and subjected Mills to two punishments as a result of being

convicted of a single criminal charge. See North Carolina v. Pearce, 395 U.S. 711, 717

(1969). (Vol. 15, Tab #R-53, C. 94-98, ¶¶ 183-90.)

      This claim is procedurally defaulted from federal habeas review because it

was procedurally defaulted in state court due to Mills’ failure to comply with state

procedural rules. Specifically, the ACCA held that the circuit court properly

dismissed this claim as procedurally barred under Rule 32.2 because it could have

been raised at trial or on appeal, but it was not. (Vol. 21, Tab #R-64 at 90-92; Mills

v. State, CR-13-0724, Mem. Op. at 90-92 (Ala. Crim. App. Dec. 11, 2015).

      Mills makes no argument to the contrary suggesting that he could not have

raised this claim on appeal. Nor does he argue that there is any cause to excuse his

default. Thus, because the last state court to review his claim held it was

procedurally barred under state procedural rules, he is procedurally defaulted from

habeas review.


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      Alternatively, Mills’ claim is meritless. The Eleventh Circuit has rejected

the argument that Alabama’s capital murder statute violates Ring. Lee, 726 F.3d at

1197-98. Like Mills, the defendant in Lee was convicted of capital murder during

the course of a robbery. Id. at 1197. The Eleventh Circuit held that “[t]he holding

of Ring is narrow: the Sixth Amendment’s guarantee of jury trials requires that the

finding of an aggravating circumstance that is necessary to imposition of the death

penalty must be found by a jury. That occurred in Lee’s case by virtue of the jury’s

capital robbery-murder verdict.” Id. at 1198. Thus, Mills’ Ring claim is meritless.

      Finally, the Alabama Supreme Court has recently reaffirmed that Alabama’s

capital sentencing system is constitutional and does not violate the Sixth

Amendment in light of Ring and Hurst v. Florida. Ex parte Bohannon, 222 So. 3d

525, 532 (Ala. 2016) (“Our reading of Apprendi, Ring, and Hurst leads us to the

conclusion that Alabama’s capital-sentencing scheme is consistent with the Sixth

Amendment.”).

      In his reply brief, Mills acknowledges that the United States Supreme Court

has not yet found, in addressing Alabama’s capital sentencing scheme, that his

arguments are meritorious or retroactive. Accordingly, Mills is entitled to no relief

on this claim.

V.    CONCLUSION


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      For all of the reasons set forth herein, Mills’ petition for writ of habeas

corpus is due to be dismissed, or in the alternative denied.

      Rule 11(a) of the Rules Governing Section 2254 Cases requires the district

court to issue or deny a certificate of appealability when it enters a final order

adverse to the applicant. This Court may issue a certificate of appealability “only if

the applicant has a made a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2). To make such a showing, a “petitioner must

demonstrate that reasonable jurist would find the district court’s assessment of the

constitutional claims debatable and wrong,” Slack v. McDaniel, 529 U.S. 473, 484,

120 S. Ct. 1595, 1604 (2000), or that “the issues presented were adequate to

deserve encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322,

336, 123 S. Ct. 1029, 1039 (2003) (internal quotations omitted). This Court finds

Mills’ claims do not satisfy either standard. Accordingly, a motion for a certificate

of appealability is due to be denied.

      A separate order in accordance with this opinion will be issued.

      DONE and ORDERED on November 30, 2020.


                                               _____________________________
                                                     L. Scott Coogler
                                                United States District Judge
                                                                                 160704




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